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                         EXHIBIT A



             Monthly Statement for the Fee Period

                          (attached)
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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Official Committee of Unsecured Creditors of FTX                        January 23, 2024
Trading
C/O FTX Trading Ltd.                                                    Please Refer to
                                                                        Invoice Number: 2386079

Attn: John J. Ray III/ Owl Hill Advisor, LLC                            PH LLP Tax ID No. XX-XXXXXXX


                                                SUMMARY SHEET

Case Administration - FTX Trading chapter 11 cases
PH LLP Client/Matter # 51281-00002
Kris Hansen

Legal fees for professional services
for the period ending November 30, 2023                                                                    $2,182,070.00
                            Costs incurred and advanced                                                         90,464.25
                            Current Fees and Costs Due                                                     $2,272,534.25
                            Total Balance Due - Due Upon Receipt                                           $2,272,534.25




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
strongly encourage clients to confirm any change in wiring instructions by contacting Teri Goffredo @
213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
confirmation.

Wiring and ACH Instructions:          Remittance Address:          Pay by Tranch:
Citibank                              Paul Hastings LLP            You can now pay your invoices online via
ABA # 322271724                       Lockbox 4803                 real-time bank payments, credit cards or
SWIFT Address: CITIUS33               PO Box 894803                in installments:
787 W. 5th Street                     Los Angeles, CA              https://paywithtranch.com/paulhastings
Los Angeles, CA 90071                 90189-4803
Account Number: 206628380
Account Name: Paul Hastings LLP


For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
mailbox
Please refer all questions to billing@paulhastings.com
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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Official Committee of Unsecured Creditors of FTX                        January 23, 2024
Trading
C/O FTX Trading Ltd.                                                    Please Refer to
                                                                        Invoice Number: 2386079

Attn: John J. Ray III/ Owl Hill Advisor, LLC                            PH LLP Tax ID No. XX-XXXXXXX


                                              REMITTANCE COPY

Case Administration - FTX Trading chapter 11 cases
PH LLP Client/Matter # 51281-00002
Kris Hansen

Legal fees for professional services
for the period ending November 30, 2023                                                                    $2,182,070.00
                            Costs incurred and advanced                                                         90,464.25
                            Current Fees and Costs Due                                                     $2,272,534.25
                            Total Balance Due - Due Upon Receipt                                           $2,272,534.25




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Citibank                              Paul Hastings LLP            You can now pay your invoices online via
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mailbox
Please refer all questions to billing@paulhastings.com
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                                                 PAUL HASTINGS LLP
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                                                 t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Official Committee of Unsecured Creditors of FTX               January 23, 2024
Trading
C/O FTX Trading Ltd.                                           Please Refer to
                                                               Invoice Number: 2386079

Attn: John J. Ray III/ Owl Hill Advisor, LLC                   PH LLP Tax ID No. XX-XXXXXXX


FOR PROFESSIONAL SERVICES RENDERED
for the period ending November 30, 2023


Case Administration - FTX Trading chapter 11 cases                                              $2,182,070.00




Date          Initials   Description                                        Hours           Rate        Amount

B110   Case Administration
11/01/2023    JI2        Correspond with G. Sasson re committee                0.20    1,160.00           232.00
                         member resignation
11/01/2023    LK19       Email Jefferies and FTI regarding working             0.30      855.00           256.50
                         group list and UCC member holdings (0.1);
                         update working group list and UCC
                         member holdings chart (0.2)
11/01/2023    ML30       Monitor pending dockets in DE, SDNY,                  1.90      540.00         1,026.00
                         NY, DNJ (1.5); review recent filings and
                         prepare end of day summary for working
                         group (.4)
11/02/2023    CX3        Review recent VDR updates (.1);                       0.20      940.00           188.00
                         correspond with L. Koch, B. Levine on
                         same (.1)
11/02/2023    ML30       Monitor pending dockets in DE, SDNY,                  2.00      540.00         1,080.00
                         NY, DNJ (1.5); review recent filings and
                         prepare end of day summary for working
                         group (.3); update case calendars (.2)
11/03/2023    CX3        Review recently uploaded documents to                 2.40      940.00         2,256.00
                         Debtors' VDR (2.2); correspond with L.
                         Koch and B. Levine on same (.2)
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Date          Initials   Description                                     Hours        Rate    Amount
11/03/2023    ML30       Monitor pending dockets in DE, SDNY,               2.10    540.00    1,134.00
                         NY, DNJ (1.5); review recent filings and
                         prepare end of day summary for working
                         group (.6)
11/04/2023    CX3        Review recently uploaded VDR documents             0.20    940.00     188.00
                         (.1); correspond with L. Koch and B.
                         Levine on same (.1)
11/06/2023    CX3        Review recently uploaded documents to the          0.50    940.00     470.00
                         VDR (.4); correspond with L. Koch and B.
                         Levine on same (.1)
11/06/2023    ML30       Monitor pending dockets in DE, SDNY,               2.60    540.00    1,404.00
                         NY, DNJ (1.5); review recent filings and
                         prepare end of day summary for working
                         group (.7); update case calendars (.4)
11/07/2023    CX3        Review recently uploaded documents to              0.30    940.00     282.00
                         Debtors' VDR
11/07/2023    ML30       Monitor pending dockets in DE, SDNY,               2.00    540.00    1,080.00
                         NY, DNJ (1.5); review recent filings and
                         prepare end of day summary for working
                         group (.5)
11/08/2023    CX3        Review recently uploaded documents to the          0.20    940.00     188.00
                         Debtors' VDR
11/08/2023    CX3        Review recent filings and additional               0.30    940.00     282.00
                         documents uploaded to the VDR (.2);
                         correspond with L. Koch and B. Levine on
                         same (.1)
11/08/2023    ML30       Monitor pending dockets in DE, SDNY,               2.50    540.00    1,350.00
                         NY, DNJ (1.5); review recent filings and
                         prepare end of day summary for working
                         group (.8); update case calendars (.2)
11/09/2023    JI2        Update issues/task list (.4); correspond with      0.50   1,160.00    580.00
                         L. Koch re same (.1)
11/09/2023    LK19       Correspond with B. Levine, I. Sasson, J.           0.40    855.00     342.00
                         Iaffaldano regarding open issues/task list
                         (0.1); review documents in UCC dataroom
                         for conflicts (0.2); emails with S. Carri
                         (Jefferies) and G. Sasson regarding same
                         (0.1)
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Date          Initials   Description                                    Hours         Rate    Amount
11/09/2023    ML30       Monitor pending dockets in DE, SDNY,               2.20    540.00    1,188.00
                         NY, DNJ (1.5); review recent filings and
                         prepare end of day summary for working
                         group (.5); update Committee and advisor
                         distribution lists (.2)
11/10/2023    CX3        Review new uploads to Debtors’ VDR                 0.30    940.00     282.00
                         (0.1); summarize same for B. Kelly and B.
                         Levine (0.2)
11/10/2023    KH18       Review upcoming case matters and related           1.00   2,135.00   2,135.00
                         action items
11/10/2023    ML30       Monitor pending dockets in DE, SDNY,               2.30    540.00    1,242.00
                         NY, DNJ (1.6); review recent filings and
                         prepare end of day summary for working
                         group (.6); further update Committee and
                         advisor distribution lists (.1)
11/12/2023    CX3        Review new documents in Debtors' VDR               0.10    940.00      94.00
                         and summarize same for B. Kelly and B.
                         Levine
11/12/2023    ML30       Review recent filings and update working           0.40    540.00     216.00
                         group re same
11/13/2023    CX3        Correspond with L. Koch and B. Levine on           0.20    940.00     188.00
                         recent uploads to Debtors' VDR
11/13/2023    CX3        Review recent uploads to Debtors'                  0.20    940.00     188.00
                         VDR(0.1); summarize same for B. Kelly and
                         B. Levine (0.1)
11/13/2023    JI2        Update case issues/task list                       0.50   1,160.00    580.00
11/13/2023    ML30       Monitor pending dockets in DE, SDNY,               2.70    540.00    1,458.00
                         NY, DNJ (1.6); review recent filings and
                         prepare end of day summary for working
                         group re same (.9); update case calendars
                         (.2)
11/14/2023    JI2        Review and revise case issues/task list            0.10   1,160.00    116.00
11/14/2023    LK19       Review proposed order regarding AHC rule           0.30    855.00     256.50
                         2019 statement (0.2); correspond with K.
                         Pasquale regarding same (0.1)
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Date          Initials   Description                                    Hours        Rate    Amount
11/14/2023    ML30       Monitor pending dockets in DE, SDNY,              3.90    540.00    2,106.00
                         NY, DNJ (1.6); review recent filings and
                         prepare end of day summary for working
                         group re same (1.1); update case calendars
                         (.9); correspond with I. Sasson re certain
                         sealed pleadings (.1); review and handle
                         issue re sealed pleadings (.1); correspond
                         with K. Pasquale, I. Sasson, L. Koch re case
                         calendaring (.1)
11/15/2023    CX3        Review VDR uploads (.5); correspond with          0.60    940.00     564.00
                         L. Koch and B. Levine on same (.1)
11/15/2023    KH18       Review and consider AHC rule 2019                 0.30   2,135.00    640.50
                         statement
11/15/2023    ML30       Monitor pending dockets in DE, SDNY,              2.60    540.00    1,404.00
                         NY, DNJ (1.6); review recent filings and
                         prepare end of day summary for working
                         group re same (.8); update case calendars
                         (.2)
11/16/2023    CX3        Review recently uploaded documents to             0.20    940.00     188.00
                         debtors' VDR (0.1); summarize same for B.
                         Kelly and B. Levine (0.1)
11/16/2023    ML30       Monitor pending dockets in DE, SDNY,              2.20    540.00    1,188.00
                         NY, DNJ (1.6); review recent filings and
                         prepare end of day summary for working
                         group re same (.4); correspond with C. Xu
                         re distribution list updates (.1); complete
                         same (.1)
11/17/2023    CX3        Review recent uploads to the VDR and              0.10    940.00      94.00
                         summarize same for B. Kelly and B. Levine
11/18/2023    ML30       Monitor pending dockets in DE, SDNY,              2.40    540.00    1,296.00
                         NY, DNJ (1.6); review recent filings and
                         prepare end of day summary for working
                         group re same (.6); update case calendars
                         (.2)
11/20/2023    ML30       Monitor pending dockets in DE, SDNY,              2.50    540.00    1,350.00
                         NY, DNJ (1.6); review recent filings and
                         prepare end of day summary for working
                         group re same (.7); update case calendars
                         (.2)
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Date          Initials   Description                                    Hours      Rate     Amount
11/21/2023    ML30       Monitor pending dockets in DE, SDNY,              2.50   540.00    1,350.00
                         NY, DNJ (1.6); review recent filings and
                         prepare end of day summary for working
                         group re same (.9)
11/22/2023    ML30       Monitor pending dockets in DE, SDNY,              2.20   540.00    1,188.00
                         NY, DNJ (1.6); review recent filings and
                         prepare end of day summary for working
                         group re same (.5); update case calendars re
                         same (.1)
11/27/2023    ML30       Monitor pending dockets in DE, SDNY,              2.80   540.00    1,512.00
                         NY, DNJ (1.6); review recent filings and
                         prepare end of day summary for working
                         group re same (.8); update case calendars re
                         same (.2); correspond with L. Koch re case
                         documents needed (.1); research re same
                         (.1)
11/28/2023    CX3        Review recent uploads to VDR (0.1);               0.20   940.00     188.00
                         summarize same for B. Kelly and B. Levine
                         (0.1)
11/28/2023    ML30       Monitor pending dockets in DE, SDNY,              2.80   540.00    1,512.00
                         NY, DNJ (1.6); review recent filings and
                         prepare end of day summary for working
                         group re same (.7); update case calendars re
                         same (.3); prepare documents and
                         conference lines for 11.29.23 hearing (.2)
11/29/2023    ML30       Monitor pending dockets in DE, SDNY,              3.50   540.00    1,890.00
                         NY, DNJ (1.6); review recent filings and
                         prepare end of day summary for working
                         group re same (1.1); update case calendars
                         re same (.2); review notice of new FTX 2.0
                         dataroom documents (.1); review new
                         dataroom documents and related index (.4);
                         update working group re same (.1)
11/30/2023    CX3        Review recent uploads to VDR (0.1);               0.20   940.00     188.00
                         summarize same for B. Kelly and B. Levine
                         (0.1)
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Date          Initials   Description                                     Hours         Rate     Amount
11/30/2023    ML30       Monitor pending dockets in DE, SDNY,                2.40    540.00     1,296.00
                         NY, DNJ (1.6); review recent filings and
                         prepare end of day summary for working
                         group re same (.7); update case calendars re
                         same (.1)
              Subtotal: B110 Case Administration                         60.30                 38,236.50




B112   General Creditor Inquiries
11/09/2023    JI2        Call with individual creditor re case inquiry       0.30   1,160.00     348.00
11/17/2023    EG18       Telephone conference with creditor                  1.10   1,930.00    2,123.00
                         regarding case inquiry
11/28/2023    JI2        Correspond with individual creditor re              0.80   1,160.00     928.00
                         claims issues
11/29/2023    IS6        Call with creditor re case questions and            0.30   1,330.00     399.00
                         upcoming matters
11/29/2023    JI2        Call with individual creditor re case               0.70   1,160.00     812.00
                         inquiries (.5); correspond with G. Sasson
                         and I. Sasson re same (.2)
              Subtotal: B112 General Creditor Inquiries                      3.20               4,610.00




B113   Case Analysis/Pleading Analysis
11/03/2023    IS6        Review recent motion to dismiss pleadings           0.30   1,330.00     399.00
11/06/2023    IS6        Review recent filings with respect to               0.40   1,330.00     532.00
                         Committee interests
11/13/2023    JI2        Review order dismissing chapter 11 cases            0.30   1,160.00     348.00
                         (.1); review motion to dismiss chapter 11
                         cases (.2)
11/14/2023    JI2        Review pro se motion re customer property           0.40   1,160.00     464.00
                         issues
11/20/2023    JI2        Review motion to dismiss FTX EU chapter             0.80   1,160.00     928.00
                         11 case (.5); correspond with K. Catalano re
                         summary of same (.3)
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Date         Initials   Description                                    Hours        Rate    Amount
11/20/2023   KC27       Review motion to dismiss FTX Europe's             1.30    940.00    1,222.00
                        bankruptcy case (.6); summarize same (.6);
                        correspond with J. Iaffaldano regarding
                        same (.1)
11/28/2023   LM20       Review FLSD MDL docket for certain                0.40    855.00     342.00
                        pleadings
             Subtotal: B113 Case Analysis/Pleading Analysis               3.90              4,235.00




B115   Meetings and Communications with Debtors
11/01/2023   EG18       Telephone conference with S&C, K.                 1.00   1,930.00   1,930.00
                        Pasquale, I. Sasson regarding pending and
                        upcoming case matters and litigation
11/01/2023   IS6        Call with Debtors, K. Pasquale and E. Gilad       1.00   1,330.00   1,330.00
                        regarding pending and upcoming case
                        matters
11/01/2023   KP17       Call with S&C, E. Gilad and I. Sasson re          1.00   1,930.00   1,930.00
                        litigation updates
11/01/2023   KP17       Emails with S&C re draft Bahamas term             0.20   1,930.00    386.00
                        sheet
11/01/2023   LK19       Correspond with G. Sasson and A.                  0.10    855.00      85.50
                        Kranzley (S&C) regarding Committee
                        expense reimbursement motion
11/02/2023   BL10       Participate in FTX 2.0 call with debtors,         0.80   1,330.00   1,064.00
                        debtors' advisors, Jefferies, K. Hansen, E.
                        Gilad, G. Sasson, B. Kelly, C. Daniel, E.
                        Sibbitt, L. Greenbacker, M. Griffin, F.
                        Merola, S. Quattrocchi, and C. Xu
11/02/2023   BK12       Attend part of 2.0 update call with K.            0.40   1,675.00    670.00
                        Cofsky, J. Ray, T. Shea, K. Hansen, E.
                        Gilad, G. Sasson, B. Levine, C. Daniel, E.
                        Sibbitt, L. Greenbacker, F. Merola, M.
                        Griffin, S. Quattrocchi, and C. Xu
11/02/2023   CD5        Participate in FTX 2.0 call with Debtors, K.      0.80   1,750.00   1,400.00
                        Hansen, E. Gilad, G. Sasson, B. Kelly, B.
                        Levine, E. Sibbitt, L. Greenbacker, M.
                        Griffin, S. Quattrocchi, F. Merola and C.
                        Xu
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Date         Initials   Description                                      Hours       Rate    Amount
11/02/2023   CX3        Telephone conference with Debtors'                 0.80    940.00     752.00
                        professionals, AHC's professionals,
                        Jefferies, K. Hansen, E. Gilad, G. Sasson,
                        B. Kelly, B. Levine, C. Daniel, E. Sibbitt, L.
                        Greenbacker, F. Merola, M. Griffin and S.
                        Quattrocchi on 2.0 process
11/02/2023   EG18       Participate in FTX 2.0 update telephone            0.80   1,930.00   1,544.00
                        conference with debtors, debtors' advisors,
                        K. Hansen, G. Sasson, E. Sibbitt, B. Kelly,
                        B. Levine, C. Daniel, L. Greenbacker, M.
                        Griffin, F. Merola, S. Quattrocchi, C. Xu
11/02/2023   ECS3       Participate in call with debtors, K. Hansen,       0.80   1,595.00   1,276.00
                        E. Gilad, G. Sasson, B. Kelly, B. Levine, F.
                        Merola, C. Daniel, L. Greenbacker, M.
                        Griffin, S. Quattrocchi, and C. Xu regarding
                        FTX 2.0
11/02/2023   FM7        Attend reboot update with Debtors, K.              0.80   1,930.00   1,544.00
                        Hansen, E. Gilad, G. Sasson, B. Kelly, B.
                        Levine, C. Daniel, E. Sibbitt, L.
                        Greenbacker, M. Griffin, S. Quattrocchi,
                        and C. Xu
11/02/2023   GS13       Telephone conference with Debtors, Ad              0.80   1,675.00   1,340.00
                        Hoc Group, K. Hansen, E. Gilad, B. Kelly,
                        B. Levine, C. Daniel, E. Sibbitt, L.
                        Greenbacker, F. Merola, M. Griffin, S.
                        Quattrocchi, and C. Xu regarding 2.0
11/02/2023   KH18       Call with debtors, E. Gilad, G. Sasson, C.         0.80   2,135.00   1,708.00
                        Daniels, M. Griffin, L. Greenbacker, S.
                        Quattrocchi, B. Kelly, E. Sibbitt, B. Levine,
                        F. Merola, C. Xu regarding FTX 2.0
11/02/2023   LED        Attend FTX 2.0 call with debtors, K.               0.80   1,470.00   1,176.00
                        Hansen, E. Gilad, G. Sasson, B. Kelly, B.
                        Levine, C. Daniel, E. Sibbitt, M. Griffin, F.
                        Merola, S. Quattrocchi and C. Xu
11/02/2023   LK19       Correspond with A. Li (S&C) regarding              0.10    855.00      85.50
                        adversary proceeding discovery
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Date         Initials   Description                                      Hours       Rate    Amount
11/02/2023   MEG9       Participate in FTX 2.0 call with debtors,          0.80   1,470.00   1,176.00
                        debtors' advisors, Jefferies, K. Hansen, E.
                        Gilad, G. Sasson, B. Kelly, B. Levine, C.
                        Daniel, E. Sibbitt, L. Greenbacker, F.
                        Merola, S. Quattrocchi and C. Xu
11/02/2023   SAQ        Conference with debtors, UCC, UCC                  0.80   1,160.00    928.00
                        advisors, K. Hansen, E. Gilad, G. Sasson,
                        B. Kelly, B. Levine, C. Daniel, E. Sibbitt, M.
                        Griffin, L. Greenbacker, F. Merola and C.
                        Xu regarding FTX 2.0
11/06/2023   BL10       Participate in M&A update call with S&C,           0.80   1,330.00   1,064.00
                        G. Sasson, B. Kelly, F. Merola, and C. Xu
                        (.2); follow-up review of certain ventures
                        items discussed (.6)
11/06/2023   BK12       Participate in M&A update call with J.             0.20   1,675.00    335.00
                        MacDonald, G. Sasson, B. Levine, F.
                        Merola, and C. Xu
11/06/2023   CX3        Telephone conference with S&C, G.                  0.20    940.00     188.00
                        Sasson, B. Kelly, B. Levine, and F. Merola
                        on recent ventures updates
11/06/2023   FM7        Attend S&C telephone conference with G.            0.20   1,930.00    386.00
                        Sasson, B. Kelly, B. Levine, C. Xu regarding
                        M&A transactions and updates
11/06/2023   GS13       Telephone conference with S&C, Jefferies,          0.60   1,675.00   1,005.00
                        B. Kelly, B. Levine, F. Merola, and C. Xu
                        regarding sale issues (.2); review
                        presentation regarding same (.1); telephone
                        conference with S&C, K. Pasquale
                        regarding coin valuation (.3)
11/06/2023   GS15       Call with N. Wong, S&C tax, A&M and S.             0.60   1,650.00    990.00
                        Joffe (FTI) regarding FTX tax matters
11/06/2023   KP17       Call with S&C, G. Sasson re coin valuation         0.50   1,930.00    965.00
                        issues (.3); emails with S&C re case items
                        and certain open issues (.2)
11/06/2023   NKW1       Conference with G. Silber, H. Kim (S&C),           0.60    855.00     513.00
                        D. Hariton (S&C), S. Joffe (FTI), and K.
                        Jacobs (A&M) regarding 502 petition and
                        FTX 2.0
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Date         Initials   Description                                     Hours       Rate    Amount
11/07/2023   FM7        Correspond with Simpson (S&C) regarding           0.20   1,930.00    386.00
                        FTX EU APA
11/07/2023   JI2        Correspond with B. Harsch (S&C) re                0.20   1,160.00    232.00
                        preference settlements
11/07/2023   LK19       Correspond with A. Kranzley (S&C) and M.          0.20    855.00     171.00
                        Cilia (RLKS) regarding reimbursement of
                        Committee members' expenses
11/08/2023   FM7        Review Schwartz (S&C) correspondence              0.20   1,930.00    386.00
                        regarding 5137 documents
11/08/2023   JI2        Call with B. Harsch (S&C), S. Wheeler             0.30   1,160.00    348.00
                        (S&C) re litigation settlements
11/09/2023   BL10       Participate in FTX 2.0 call with debtors'         1.00   1,330.00   1,330.00
                        advisors, E. Gilad, K. Hansen, B. Kelly, E.
                        Sibbitt, C. Daniel, L. Greenbacker, S.
                        Quattrocchi, C. Xu (.6); follow-up
                        comments on certain matters discussed (.4)
11/09/2023   BK12       Participate in 2.0 update call with K.            0.60   1,675.00   1,005.00
                        Cofsky, J. Ray, E. Gilad, K. Hansen, E.
                        Sibbitt, C. Daniel, B. Levine, L.
                        Greenbacker, S. Quattrocchi, C. Xu
11/09/2023   BK12       Call with G. Sasson, D. Johnston and T.           0.90   1,675.00   1,507.50
                        Hill (A&M) re: FTX EU and Quoine
11/09/2023   CD5        Participate in call with Debtor advisors,         0.60   1,750.00   1,050.00
                        UCC advisors, E. Gilad, K. Hansen, B.
                        Kelly, E. Sibbitt, B. Levine, L. Greenbacker,
                        S. Quattrocchi, and C. Xu regarding FTX
                        2.0
11/09/2023   CX3        Call with Debtors, AHG, UCC, E. Gilad,            0.60    940.00     564.00
                        K. Hansen, B. Kelly, E. Sibbitt, C. Daniel,
                        B. Levine, L. Greenbacker, S. Quattrocchi
                        on 2.0 process
11/09/2023   EG18       Participate in FTX 2.0 telephone                  1.00   1,930.00   1,930.00
                        conference with Debtors, their advisors, K.
                        Hansen, B. Kelly, E. Sibbitt, B. Levine, C.
                        Daniel, L. Greenbacker, S. Quattrocchi, C.
                        Xu (.6); analysis of FTX 2.0 and related
                        issues (.4)
11/09/2023   EG18       Correspond with S&C regarding FTX 2.0             0.30   1,930.00    579.00
                        sale process
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Date         Initials   Description                                    Hours        Rate    Amount
11/09/2023   EG18       Correspond with S&C regarding FTX 2.0             0.70   1,930.00   1,351.00
                        sale process and plan
11/09/2023   ECS3       Participate in call with Debtors, AHG,            1.00   1,595.00   1,595.00
                        UCC, K. Hansen, E. Gilad, B. Kelly, B.
                        Levine, C. Daniel, L. Greenbacker, S.
                        Quattrocchi, and C. Xu regarding FTX 2.0
                        (.6); review correspondence from E. Gilad
                        and S&C regarding specialist issues for
                        trading (.2); review 5142 proposed
                        settlement term correspondence (.2)
11/09/2023   GS13       Telephone conference with S&C, K.                 1.00   1,675.00   1,675.00
                        Pasquale, I. Sasson regarding case timeline,
                        pending matters, and next steps
11/09/2023   GS13       Telephone conference with A&M and B.              0.90   1,675.00   1,507.50
                        Kelly regarding FTX EU and Quoine
                        documents
11/09/2023   IS6        Call with Debtors, K. Pasquale and G.             1.00   1,330.00   1,330.00
                        Sasson regarding pending and upcoming
                        matters
11/09/2023   KP17       Prepare notes and questions for call with         1.30   1,930.00   2,509.00
                        S&C (.3); call with S&C, G. Sasson, I.
                        Sasson re open matters and case schedule
                        (1.0)
11/09/2023   KH18       Call with Debtors, E. Gilad, E. Sibbitt, B.       0.60   2,135.00   1,281.00
                        Kelly, B. Levine, C. Daniel, L. Greenbacker,
                        S. Quattrocchi, C. Xu regarding FTX 2.0
11/09/2023   LED        Correspond with debtors' counsel regarding        0.20   1,470.00    294.00
                        2.0 bidder regulatory diligence
11/09/2023   LED        Attend FTX 2.0 call with debtors, K.              0.60   1,470.00    882.00
                        Hansen, E. Gilad, C. Daniel, E. Sibbitt, B.
                        Kelly, B. Levine, S. Quattrocchi, and C. Xu
11/09/2023   SAQ        Attend FTX 2.0 update conference with             0.60   1,160.00    696.00
                        debtors, UCC, UCC advisors, E. Gilad, K.
                        Hansen, B. Kelly, E. Sibbitt, C. Daniel, B.
                        Levine, L. Greenbacker, and C. Xu
11/13/2023   BL10       Participate in M&A call with debtors, E.          0.30   1,330.00    399.00
                        Gilad, B. Kelly, F. Merola, T. Sadler and C.
                        Xu
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Date         Initials   Description                                     Hours        Rate    Amount
11/13/2023   BK12       Participate in M&A update call with M.             0.30   1,675.00    502.50
                        Schwartz, E. Gilad, B. Levine, F. Merola, T.
                        Sadler, and C. Xu
11/13/2023   CD5        Participate in call with S&C, K. Hansen, E.        1.00   1,750.00   1,750.00
                        Gilad, E. Sibbitt, S. Quattrocchi, K. Fedler,
                        L. Greenbacker regarding compliance due
                        diligence on FTX 2.0 bidders
11/13/2023   CX3        Attend telephone conference with S&C, E.           0.40    940.00     376.00
                        Gilad, B. Kelly, B. Levine, F. Merola and T.
                        Sadler on ventures update (.3); draft
                        summary of ventures update (.1)
11/13/2023   EG18       Attend FTX 2.0 regulatory telephone                1.00   1,930.00   1,930.00
                        conference with S&C, K. Hansen, E.
                        Sibbitt, C. Daniel, L. Greenbacker, S.
                        Quattrocchi, K. Fedler
11/13/2023   EG18       Participate in M&A update call with                0.30   1,930.00    579.00
                        debtors, B. Kelly, B. Levine, T. Sadler, F.
                        Merola, C. Xu
11/13/2023   ECS3       Call with S&C, K. Hansen, E. Gilad, C.             1.00   1,595.00   1,595.00
                        Daniel, S. Quattrocchi, L. Greenbacker, K.
                        Fedler regarding 2.0 bidder regulator
                        diligence
11/13/2023   FM7        Attend S&C M&A update telephone                    0.30   1,930.00    579.00
                        conference with S&C, E. Gilad, B. Kelly, B.
                        Levine, T. Sadler and C. Xu
11/13/2023   JI2        Correspond with A. Kranzley (S&C) re               0.20   1,160.00    232.00
                        omnibus claims objections
11/13/2023   KF6        Conference (portion) regarding 2.0 bidder          0.50    855.00     427.50
                        regulatory matters with Sullivan &
                        Cromwell, K. Hansen, E. Gilad, C. Daniel,
                        E. Sibbitt, LK Greenbacker, S. Quattrocchi
11/13/2023   KH18       Attend FTX 2.0 regulatory telephone                1.00   2,135.00   2,135.00
                        conference with S&C, E. Gilad, E. Sibbitt,
                        C. Daniel, L. Greenbacker, S. Quattrocchi,
                        K. Fedler
11/13/2023   LED        Attend portion of 2.0 bidder regulatory call       0.50   1,470.00    735.00
                        with S&C, K. Hansen, E. Gilad, C. Daniel,
                        E. Sibbitt, S. Quattrocchi, K. Fedler
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11/13/2023   SAQ        Conference (portion) with M. Wu, C. Lloyd,         0.50   1,160.00    580.00
                        M. Friedman, A. Levine (Latham), K.
                        Fedler, K. Hansen, E. Gilad, E. Sibbitt, C.
                        Daniel and L. Greenbacker regarding
                        regulatory matters for FTX 2.0 bidders
11/13/2023   TS21       Call with S&C, E. Gilad, B. Kelly, B.              0.30   1,210.00    363.00
                        Levine, F. Merola, and C. Xu regarding
                        corporate matters and next steps
11/14/2023   EG18       Participate in claims reconciliation               0.80   1,930.00   1,544.00
                        telephone conference with A&M, G.
                        Sasson, K. Pasquale, I. Sasson, J. Iaffaldano
11/14/2023   GS13       Telephone conference with FTI, A&M, K.             0.80   1,675.00   1,340.00
                        Pasquale, E. Gilad, I. Sasson, J. Iaffaldano
                        regarding same
11/14/2023   IS6        Call with Debtors, G. Sasson, E. Gilad. K.         0.80   1,330.00   1,064.00
                        Pasquale, J. Iaffaldano re first set of
                        omnibus claims reconciliation
11/14/2023   JI2        Call with E. Mosley (A&M), M. Diaz (FTI),          0.80   1,160.00    928.00
                        B. Bromberg (FTI), and K. Pasquale, G.
                        Sasson, E. Gilad, I. Sasson re claims
                        reconciliation process
11/14/2023   JI2        Call with B. Harsch (S&C), S. Wheeler              0.40   1,160.00    464.00
                        (S&C), K. Pasquale re 5142 settlement
11/14/2023   KP17       Call with A&M, FTI, G. Sasson, E. Gilad, I.        1.30   1,930.00   2,509.00
                        Sasson, J. Iaffaldano re claims reconciliation
                        (.8); call with debtors, J. Iaffaldano re 5142
                        settlement (.4); call with J. Ray and L. Tsao
                        on investigative report regarding 1009 (.1)
11/14/2023   LT9        Telephone conference with J. Ray and K.            0.10   1,570.00    157.00
                        Pasquale on investigative report regarding
                        1009
11/15/2023   FM7        Review S&C correspondence re reboot                0.20   1,930.00    386.00
                        APA schedules
11/16/2023   EG18       Telephone conference with S&C, K.                  0.90   1,930.00   1,737.00
                        Pasquale regarding potential JPL settlement
11/16/2023   JI2        Correspond with B. Harsch (S&C) re 5142            0.20   1,160.00    232.00
                        settlement
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11/16/2023   KP17       Emails and call with AHC, Debtors re draft        1.20   1,930.00   2,316.00
                        Bahamas agreement (.3); call with Debtors,
                        E. Gilad regarding same (.9)
11/17/2023   FM7        Correspond with S&C regarding 6001 APA            0.10   1,930.00    193.00
                        comments
11/18/2023   FM7        Review S&C correspondence regarding               0.30   1,930.00    579.00
                        6001 APA (0.1); correspond with S&C
                        regarding 6001 APA issues list (0.2)
11/19/2023   FM7        Review S&C correspondence regarding               0.20   1,930.00    386.00
                        6001 APA mark up
11/20/2023   BK12       Call with M. Wu, M. Friedman and J.               0.60   1,675.00   1,005.00
                        MacDonald, E. Gilad, T. Sadler, C. Xu re:
                        ventures update and 2.0
11/20/2023   CX3        Telephone conference with E. Gilad, B.            0.60    940.00     564.00
                        Kelly, T. Sadler and S&C on ventures and
                        2.0 process
11/20/2023   EG18       Participate in M&A update telephone               0.60   1,930.00   1,158.00
                        conference with S&C, B. Kelly, T. Sadler, C.
                        Xu
11/20/2023   EG18       Correspond with Debtors regarding                 0.30   1,930.00    579.00
                        Debtors' proposed response to 6001
11/20/2023   FM7        Correspond with S&C regarding 6001 due            0.40   1,930.00    772.00
                        diligence (0.2); review PWP correspondence
                        regarding 6001 response (0.2)
11/20/2023   GS15       Call with S&C tax, A&M, S, Joffe (FTI),           0.60   1,650.00    990.00
                        and N. Wong regarding debtor tax issues
                        and related 2.0 implications
11/20/2023   KP17       Analyze debtors' responses to FTI inquiries       1.00   1,930.00   1,930.00
                        re coin valuation (.6); review debtors' draft
                        responses to 6001 re 2.0 (.4)
11/20/2023   MEG9       Review emails from M. Wu (S&C) and Y.             0.60   1,470.00    882.00
                        Han (S&C) regarding 6001 APA and
                        markup of same
11/20/2023   NKW1       Conference with G. Silber, H. Kim (S&C)           0.60    855.00     513.00
                        and D. Hariton (S&C), S. Joffe (FTI) and
                        K. Jacobs (A&M) regarding 502 petition
                        and FTX 2.0
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Date         Initials   Description                                      Hours       Rate    Amount
11/20/2023   TS21       Call with S&C, E. Gilad, B. Kelly, C. Xu re        0.60   1,210.00    726.00
                        M&A updates
11/21/2023   BK12       Review and respond to C. Hodges (S&C)              1.60   1,675.00   2,680.00
                        email re: reverse diligence issues related to
                        2.0 APA and bidders (0.2); correspond with
                        C. Hodges (S&C) and I. Helmuth re:
                        reverse due diligence issues and upcoming
                        call with 6001 (0.2); review 2.0 bidder
                        diligence tracker and 6001 call agenda from
                        C. Hodges (1.2)
11/21/2023   EG18       Telephone conference with S&C, E. Sibbitt,         0.80   1,930.00   1,544.00
                        K. Pasquale regarding pending matters and
                        litigations
11/21/2023   ECS3       Participate in call with debtors, E. Gilad, K.     0.80   1,595.00   1,276.00
                        Pasquale regarding pending and upcoming
                        case matters
11/21/2023   FM7        Review A. Dietderich correspondence                0.40   1,930.00    772.00
                        regarding 6001 due diligence (0.2); review
                        S&C correspondence regarding 6001 due
                        diligence agenda (0.2)
11/21/2023   KP17       Review case issues and prepare notes for           1.10   1,930.00   2,123.00
                        S&C call (.3); call with S&C, E. Gilad, E.
                        Sibbitt re pending matters (.8)
11/22/2023   BJS4       Participate in part of legal/regulatory due        1.60   1,495.00   2,392.00
                        diligence call with 6001 counsel, S&C, K.
                        Hansen, K. Pasquale, E. Gilad, D. Holden,
                        M. Griffin, L. Greenbacker, S. Quattrocchi,
                        L. Tsao, T. Sadler, G. Silber, B. Kelly, F.
                        Merola, C. Xu, E. Sibbitt on FTX 2.0 and
                        know your customer obligations
11/22/2023   BK12       Participate in portion of reverse diligence        1.60   1,675.00   2,680.00
                        call re: 2.0 bidder with 6001 counsel, C.
                        Hodges (S&C), K. Hansen, K. Pasquale, E.
                        Gilad, G. Silber, E. Sibbitt, L. Greenbacker,
                        M. Griffin, D. Holden, T. Sadler, F. Merola,
                        B. Stevenson, L. Tsao, S. Quattrocchi, C.
                        Xu
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Date         Initials   Description                                     Hours       Rate    Amount
11/22/2023   CX3        Attend and take notes on due diligence call       2.20    940.00    2,068.00
                        with 6001, debtor professionals, K. Hansen,
                        E. Gilad, K. Pasquale, B. Kelly, E. Sibbitt,
                        L. Greenbacker, M. Griffin, S. Quattrocchi,
                        B. Stevenson, L. Tsao, G. Silber, D.
                        Holden, T. Sadler, F. Merola
11/22/2023   CX3        Correspond with S&C on capital call tracker       0.20    940.00     188.00
11/22/2023   DMP4       Participate in portion of reverse diligence       1.10   1,470.00   1,617.00
                        call on regulatory matters with 6001, S&C,
                        Committee members, K. Hansen, E. Gilad,
                        K. Pasquale, B. Kelly, B. Stevenson, L.
                        Tsao, G. Silber, E. Sibbitt, L. Greenbacker,
                        M. Griffin, S. Quattrocchi, T. Sadler, F.
                        Merola, C. Xu
11/22/2023   EG18       Participate in FTX 2.0 reverse diligence          2.20   1,930.00   4,246.00
                        telephone conference with FTX 2.0 bidder,
                        S&C, K. Hansen, K. Pasquale, E. Sibbitt, B.
                        Kelly, G. Silber, M. Griffin, L. Greenbacker,
                        D. Holden, T. Sadler, F. Merola, S.
                        Quattrocchi, B. Stevenson, L. Tsao, C. Xu
11/22/2023   ECS3       Participate in 2.0 regulatory diligence call      2.20   1,595.00   3,509.00
                        with S&C, 6001, K. Hansen, K. Pasquale,
                        E. Gilad, B. Kelly, L. Tsao, F. Merola, G.
                        Silber, B. Stevenson, T. Sadler, D. Holden,
                        L. Greenbacker, M. Griffin, S. Quattrocchi
                        and C. Xu
11/22/2023   FM7        Review S&C correspondence regarding               2.40   1,930.00   4,632.00
                        6001 due diligence (0.2); attend 6001 due
                        diligence telephone conference with 6001,
                        debtor professionals, K. Hansen, E. Gilad,
                        K. Pasquale, B. Kelly, E. Sibbitt, L.
                        Greenbacker, M. Griffin, S. Quattrocchi, T.
                        Sadler, D. Holden, B. Stevenson, L. Tsao,
                        G. Silber, C. Xu (2.2)
11/22/2023   GS15       Call (portion) with S&C, K. Hansen, K.            0.90   1,650.00   1,485.00
                        Pasquale, E. Gilad, E. Sibbitt, B. Kelly, B.
                        Stevenson, L. Tsao, L. Greenbacker, M.
                        Griffin, D. Holden, T. Sadler, F. Merola, S.
                        Quattrocchi, C. Xu to discuss FTX 2.0 APA
                        issues
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11/22/2023   KP17       Review diligence notes in prep for call with       2.50   1,930.00   4,825.00
                        Debtors and 6001 (.3); call with Debtors'
                        professionals, 6001, K. Hansen, E. Gilad, B.
                        Kelly, E. Sibbitt, L. Greenbacker, M.
                        Griffin, D. Holden, S. Quattrocchi, B.
                        Stevenson, L. Tsao, G. Silber, T. Sadler, F.
                        Merola, C. Xu re APA regulatory issues
                        (2.2)
11/22/2023   KH18       Participate in part of call with debtors, K.       1.50   2,135.00   3,202.50
                        Pasquale, E. Gilad, D. Holden, M. Griffin,
                        L. Greenbacker, S. Quattrocchi, B.
                        Stevenson, L. Tsao, T. Sadler, G. Silber, B.
                        Kelly, C. Xu, F. Merola, E. Sibbitt regarding
                        FTX 2.0 sale issues and process
11/22/2023   LED        Attend regulatory diligence call with 6001,        2.20   1,470.00   3,234.00
                        S&C, K. Hansen, K. Pasquale, E. Gilad, E.
                        Sibbitt, B. Stevenson, L. Tsao, G. Silber, B.
                        Kelly, M. Griffin, D. Holden, T. Sadler, F.
                        Merola, S. Quattrocchi, C. Xu
11/22/2023   LT9        Videoconference (portion) with 6001,               1.20   1,570.00   1,884.00
                        Sullivan & Cromwell, K. Hansen, E. Gilad,
                        K. Pasquale, B. Kelly, E. Sibbitt, L.
                        Greenbacker, M. Griffin, D. Holden, S.
                        Quattrocchi, B. Stevenson, T. Sadler, G.
                        Silber, F. Merola, C. Xu on asset purchase
                        agreement review
11/22/2023   MEG9       Participate in 2.0 diligence call with UCC         2.20   1,470.00   3,234.00
                        professionals, Debtor professionals, 6001
                        representatives, K. Hansen, E. Gilad, K.
                        Pasquale, B. Kelly, E. Sibbitt, B. Stevenson,
                        L. Tsao, G. Silber, L. Greenbacker, D.
                        Holden, S. Quattrocchi, T. Sadler, F.
                        Merola, C. Xu
11/22/2023   SAQ        Attend due diligence conference with 6001,         2.20   1,160.00   2,552.00
                        debtor professionals, K. Hansen, E. Gilad,
                        K. Pasquale, B. Kelly, E. Sibbitt, B.
                        Stevenson, L. Tsao, G. Silber, D. Holden,
                        L. Greenbacker, M. Griffin, T. Sadler, F.
                        Merola, C. Xu
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11/22/2023   TS21       Participate in call with S&C, Sidley, K.           2.20   1,210.00   2,662.00
                        Hansen, E. Gilad, K. Pasquale, B. Kelly, E.
                        Sibbitt, L. Greenbacker, D. Holden, M.
                        Griffin, S. Quattrocchi, F. Merola, C. Xu, B.
                        Stevenson, L. Tsao, G. Silber regarding
                        diligence in connection with the 2.0 asset
                        purchase agreement
11/24/2023   FM7        Review S&C correspondence regarding                0.20   1,930.00    386.00
                        6001 due diligence
11/27/2023   BK12       Participate in M&A update call with J.             0.60   1,675.00   1,005.00
                        MacDonald, M. Wu, E. Gilad, F. Merola, T.
                        Sadler
11/27/2023   EG18       Participate in M&A update telephone                0.60   1,930.00   1,158.00
                        conference with S&C, B. Kelly, F. Merola,
                        T. Sadler
11/27/2023   EG18       Telephone conference with Debtors, K.              1.10   1,930.00   2,123.00
                        Pasquale and E. Sibbitt regarding token
                        estimation
11/27/2023   ECS3       Participate in crypto estimation call with         1.10   1,595.00   1,754.50
                        Debtors, valuation experts, E. Gilad, K.
                        Pasquale
11/27/2023   FM7        Telephone conference with S&C, E. Gilad,           0.60   1,930.00   1,158.00
                        B. Kelly, T. Sadler regarding M&A and
                        ventures updates
11/27/2023   KP17       Meeting with Debtors, E. Gilad and E.              1.10   1,930.00   2,123.00
                        Sibbitt re crypto estimation issues
11/27/2023   TS21       Update call (portion) with Sullivan and            0.40   1,210.00    484.00
                        Cromwell, E. Gilad, B. Kelly, F. Merola
                        regarding sales updates
11/28/2023   EG18       Telephone conference with A&M, K.                  1.00   1,930.00   1,930.00
                        Pasquale, J. Iaffaldano regarding claims
                        reconciliation update (.7); review and
                        comment on presentation on same (.3)
11/28/2023   FM7        Review S&C correspondence regarding                0.20   1,930.00    386.00
                        6001 due diligence follow up
11/28/2023   JI2        Call with A&M, S&C, E. Gilad, K. Pasquale          0.90   1,160.00   1,044.00
                        re claims administration update (.7); review
                        presentation re same (.2)
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Date         Initials   Description                                      Hours       Rate    Amount
11/28/2023   KP17       Meeting with Debtors' advisors, E. Gilad, J.       0.70   1,930.00   1,351.00
                        Iaffaldano re claims reconciliation
11/29/2023   JI2        Call with D. Christopher and S. Ehrenberg          0.30   1,160.00    348.00
                        (S&C) re Lorem Ipsum intervention and
                        case management
11/30/2023   BK12       Participate in FTX 2.0 update call with            1.20   1,675.00   2,010.00
                        debtors (K. Cofsky, J. Ray), K. Hansen, E.
                        Gilad, K. Pasquale, E. Sibbitt, L.
                        Greenbacker, M. Griffin, T. Sadler, S.
                        Quattrocchi, C. Xu
11/30/2023   CX3        Telephone conference with Debtors, AHG,            1.20    940.00    1,128.00
                        K. Hansen, E. Gilad, K. Pasquale, E.
                        Sibbitt, B. Kelly, L. Greenbacker, M.
                        Griffin, T. Sadler, S. Quattrocchi on FTX
                        2.0 process
11/30/2023   EG18       Participate in FTX 2.0 update telephone            1.20   1,930.00   2,316.00
                        conference with debtors, K. Hansen, K.
                        Pasquale, B. Kelly, E. Sibbitt, LK
                        Greenbacker, M. Griffin, S. Quattrocchi, T.
                        Sadler, C. Xu
11/30/2023   ECS3       Participate in 2.0 call with debtors, AHG,         1.20   1,595.00   1,914.00
                        K. Hansen, E. Gilad, K. Pasquale, B. Kelly,
                        M. Griffin, L. Greenbacker, T. Sadler, S.
                        Quattrocchi, C. Xu
11/30/2023   KP17       Call with debtors, AHC, UCC, K. Hansen,            1.20   1,930.00   2,316.00
                        E. Gilad, E. Sibbitt, B. Kelly, L.
                        Greenbacker, M. Griffin, T. Sadler, S.
                        Quattrocchi, C. Xu re 2.0 updates
11/30/2023   KH18       Participate in 2.0 telephone conference with       1.20   2,135.00   2,562.00
                        debtors, E. Gilad, K. Pasquale, B. Kelly, E.
                        Sibbitt, LK Greenbacker, M. Griffin, S.
                        Quattrocchi, T. Sadler, C. Xu
11/30/2023   LED        Attend call with debtors, K. Hansen, E.            1.20   1,470.00   1,764.00
                        Gilad, K. Pasquale, T. Sadler, S.
                        Quattrocchi, B. Kelly, E. Sibbitt, M. Griffin,
                        C. Xu regarding FTX 2.0
11/30/2023   MEG9       FTX 2.0 call with Debtor, UCC, K. Hansen,          1.20   1,470.00   1,764.00
                        K. Pasquale, E. Gilad, E. Sibbitt, B. Kelly,
                        L. Greenbacker, T. Sadler, S. Quattrocchi,
                        C. Xu
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Date         Initials   Description                                    Hours         Rate     Amount
11/30/2023   SAQ        Attend FTX 2.0 update call with UCC, ad            1.20   1,160.00    1,392.00
                        hoc committee, debtors, K. Hansen, K.
                        Pasquale, E. Gilad, E. Sibbitt, B. Kelly, L.
                        Greenbacker, M. Griffin, T. Sadler, C. Xu
11/30/2023   TS21       Call with PWP, Jefferies, Eversheds,               1.20   1,210.00    1,452.00
                        Rothschild, Sullivan and Cromwell, K.
                        Hansen, E. Gilad, K. Pasquale, B. Kelly, E.
                        Sibbitt, M. Griffin, S. Quattrocchi, L.
                        Greenbacker, C. Xu regarding FTX 2.0 sale
                        updates
             Subtotal: B115 Meetings and Communications                105.80                170,191.00
                       with Debtors




B120   Asset Analysis and Recovery
11/01/2023   EG18       Review and analyze Grayscale term sheet            1.20   1,930.00    2,316.00
                        and investment management agreement
                        changes (1.0); prepare comments on same
                        (.2)
11/01/2023   KH18       Analyze Grayscale and token issues                 1.40   2,135.00     2,989.00
11/02/2023   ECS3       Review issues regarding token resales              0.40   1,595.00      638.00
11/02/2023   ECS3       Review 5094 forwards contract analysis             0.40   1,595.00      638.00
11/03/2023   AAN1       Review and revise matrix regarding                 0.80   1,270.00    1,016.00
                        bankruptcy claims trading vs digital asset
                        trading
11/03/2023   EG18       Analyze Grayscale documents and                    2.30   1,930.00    4,439.00
                        comments on same
11/03/2023   ECS3       Review 5010 account and control                    0.40   1,595.00      638.00
                        agreement
11/03/2023   FM7        Review 5010 account control agreement              0.60   1,930.00    1,158.00
                        (0.2); review J. Madell correspondence
                        regarding 5010 account control agreement
                        (0.2); review second amended investment
                        service agreement (0.2)
11/03/2023   GS13       Review FTI email regarding coin/token              0.90   1,675.00    1,507.50
                        monetization (.4); telephone conference
                        with F. Risler regarding same (.5)
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Date         Initials   Description                                   Hours         Rate    Amount
11/04/2023   AAN1       Review and comment on FTX 5010 Staking            0.80   1,270.00   1,016.00
                        Service Addendum
11/06/2023   EG18       Telephone conference with Galaxy                  1.00   1,930.00   1,930.00
                        regarding digital asset monetization
11/06/2023   FM7        Review venture token management report            0.40   1,930.00    772.00
                        (.2); review coin report (0.2)
11/06/2023   GS13       Review coin/token valuation analysis (.6);        1.10   1,675.00   1,842.50
                        telephone conference with FTI regarding
                        same (.5)
11/06/2023   GK6        Analyze authority and precedent regarding         4.60    940.00    4,324.00
                        tokenizing bankruptcy claims (4.4);
                        correspond with E. Sibbitt regarding the
                        same (.2)
11/06/2023   JM59       Analyze and comment on monetization               0.80   1,750.00   1,400.00
                        documents
11/06/2023   KP17       Emails with FTI re coin valuation                 0.20   1,930.00    386.00
11/07/2023   FM7        Analyze token sales report                        0.20   1,930.00    386.00
11/07/2023   GK6        Analyze authority and precedent regarding         3.80    940.00    3,572.00
                        tokenizing bankruptcy claims (3.6);
                        correspond with E. Sibbitt regarding the
                        same (.2)
11/07/2023   GK6        Correspond with E. Sibbitt and A.                 0.40    940.00     376.00
                        Nizamian regarding bankruptcy trading
                        claims v. digital asset trading matrix
11/07/2023   JM59       Review monetization documents                     0.10   1,750.00    175.00
11/08/2023   AAN1       Review and comment on OPNX FTX                    1.20   1,270.00   1,524.00
                        bankruptcy claim trading process
11/08/2023   AAN1       Prepare analysis on tokenization of               2.80   1,270.00   3,556.00
                        bankruptcy claims
11/08/2023   ECS3       Review correspondence from S&C on                 0.40   1,595.00    638.00
                        provisions for Coinbase staking agreement
11/08/2023   GK6        Analyze authority regarding tokenizing            2.70    940.00    2,538.00
                        bankruptcy claims (2.5); correspond with E.
                        Sibbitt regarding the same (.2)
11/09/2023   ECS3       Analyze authority re tokenized bankruptcy         0.60   1,595.00    957.00
                        claims (.4); correspond with A. Nizamian
                        and G. Khoury regarding same (.2)
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Date         Initials   Description                                    Hours       Rate    Amount
11/09/2023   GK6        Analyze authority regarding tokenizing           4.70    940.00    4,418.00
                        bankruptcy claims (4.5); correspond with E.
                        Sibbitt and A. Nizamian regarding the same
                        (.2)
11/09/2023   GK6        Prepare parts of matrix comparison of            3.20    940.00    3,008.00
                        bankruptcy claims trading, digital asset
                        trading, and tokenized securities (2.9);
                        correspond with E. Sibbitt and A. Nizamian
                        regarding the same (.3)
11/09/2023   JM59       Analyze and comment on monetization              0.80   1,750.00   1,400.00
                        documents
11/09/2023   KH18       Review token and coin monetization issues        0.60   2,135.00   1,281.00
11/10/2023   EG18       Telephone conference with FTI, K.                1.00   1,930.00   1,930.00
                        Pasquale, G. Sasson, and I. Sasson
                        regarding FTT tokens (.3); analyze issues
                        regarding same (.7)
11/10/2023   GS13       Review FTT issues (.5); telephone                0.80   1,675.00   1,340.00
                        conference with FTI, E. Gilad, K. Pasquale,
                        I. Sasson regarding same (.3)
11/10/2023   GK6        Analyze authority regarding tokenizing           1.10    940.00    1,034.00
                        bankruptcy claims (.9); correspond with E.
                        Sibbitt and A. Nizamian regarding the same
                        (.2)
11/10/2023   IS6        Call with FTI, E. Gilad, K. Pasquale, G.         0.30   1,330.00    399.00
                        Sasson re FTT sales
11/10/2023   KP17       Call with FTI, E. Gilad, G. Sasson, I.           0.70   1,930.00   1,351.00
                        Sasson re coin pricing (.3); email Committee
                        members re same (.3); email FTI re same
                        (.1)
11/11/2023   GK6        Correspond with E. Sibbitt and A.                1.50    940.00    1,410.00
                        Nizamian regarding authority and precedent
                        re tokenizing bankruptcy claims and related
                        SEC no action letters
11/13/2023   EG18       Discussions with FTI regarding Grayscale         1.20   1,930.00   2,316.00
                        monetization matters
11/13/2023   GK6        Correspond with E. Sibbitt and A.                0.70    940.00     658.00
                        Nizamian regarding tokenizing bankruptcy
                        claims authority and related SEC no action
                        letters
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Date         Initials   Description                                     Hours        Rate    Amount
11/13/2023   JM59       Negotiate trading platform agreements in           0.40   1,750.00    700.00
                        connection with monetization and hedging
                        program
11/14/2023   AAN1       Analyze and revise table regarding                 1.80   1,270.00   2,286.00
                        bankruptcy claims v. digital asset trading v.
                        tokenized security
11/14/2023   EG18       Discussions with FTI regarding Grayscale           0.80   1,930.00   1,544.00
                        and related operational issues
11/14/2023   GK6        Review and supplement comparison chart             1.20    940.00    1,128.00
                        of tokenized securities, bankruptcy claims,
                        and ordinary digital assets (1.0); correspond
                        with A. Nizamian regarding the same (.2)
11/14/2023   JM59       Negotiate trading platform agreements in           0.30   1,750.00    525.00
                        connection with monetization and hedging
                        program
11/14/2023   KP17       Analyze information from debtors, FTI re           1.10   1,930.00   2,123.00
                        coin monetization (.9); emails with FTI re
                        same (.2)
11/15/2023   EG18       Review Galaxy investment management                0.80   1,930.00   1,544.00
                        agreement (0.4); discussions with FTI
                        regarding 5094 and locked tokens (0.2);
                        correspond with J. Madell, K. Pasquale
                        regarding same (0.2)
11/15/2023   FM7        Review token mapping update                        0.20   1,930.00    386.00
11/15/2023   JM59       Negotiate trading platform agreements in           0.50   1,750.00    875.00
                        connection with monetization program
11/16/2023   AAN1       Analyze NYDFS coin listing guidance and            2.40   1,270.00   3,048.00
                        application of same to FTX 2.0
11/16/2023   EG18       Analyze derivatives deck from Debtors              1.10   1,930.00   2,123.00
                        (0.8); discussion with FTI regarding same
                        (0.3)
11/16/2023   FM7        Review Debtor documents re Galaxy                  0.20   1,930.00    386.00
                        investment management agreement
11/16/2023   JM59       Negotiate trading platform agreements in           0.50   1,750.00    875.00
                        connection with monetization program
11/17/2023   AAN1       Review and revise bankruptcy claim                 1.20   1,270.00   1,524.00
                        tokenization analysis
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Date         Initials   Description                                    Hours        Rate    Amount
11/17/2023   EG18       Discussions with FTI regarding token              0.50   1,930.00    965.00
                        portfolio
11/17/2023   ECS3       Correspond with FTI on staking agreement          0.60   1,595.00    957.00
11/17/2023   FM7        Review correspondence from FTI                    0.40   1,930.00    772.00
                        (deBrignac) regarding 5082 tokens (0.2);
                        review coin report summary documents
                        (0.2)
11/17/2023   JM59       Negotiate trading platform agreements in          1.10   1,750.00   1,925.00
                        connection with monetization program
11/20/2023   EG18       Telephone conference with Galaxy                  1.00   1,930.00   1,930.00
                        regarding digital asset monetization
11/20/2023   ECS3       Correspond with S&C on Coinbase staking           0.50   1,595.00    797.50
                        agreements
11/20/2023   FM7        Review staked assets reporting package            0.20   1,930.00    386.00
11/21/2023   EG18       Review updated Grayscale pleadings and            0.60   1,930.00   1,158.00
                        comments to Debtors regarding same
11/21/2023   JM59       Review and negotiate monetization                 1.60   1,750.00   2,800.00
                        documents counterparties
11/21/2023   KH18       Analyze claim and token issues (.7); analyze      1.10   2,135.00   2,348.50
                        and comment on related monetization
                        issues (.4)
11/22/2023   JM59       Review and negotiate monetization                 0.30   1,750.00    525.00
                        documents with counterparties
11/27/2023   AAN1       Analyze staking as a service and related          1.20   1,270.00   1,524.00
                        securities law considerations
11/27/2023   AAN1       Review and comment on liquidity provision         1.20   1,270.00   1,524.00
                        considerations and market-making analysis
11/27/2023   EG18       Correspond with J. Madell regarding OTC           0.30   1,930.00    579.00
                        trading agreements
11/27/2023   ECS3       Correspond with E. Gilad on crypto                0.50   1,595.00    797.50
                        valuations
11/27/2023   JM59       Analyze and negotiate monetization                1.70   1,750.00   2,975.00
                        documents with counterparties
11/28/2023   AAN1       Review and comment on Terra/Luna                  1.40   1,270.00   1,778.00
                        analysis and algorithmic stablecoin
                        considerations
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Date         Initials   Description                                    Hours          Rate     Amount
11/28/2023   EG18       Participate in token estimation telephone           1.50   1,930.00    2,895.00
                        conference with FTI, K. Pasquale, I. Sasson
11/28/2023   EG18       Review pleadings regarding Grayscale                1.00   1,930.00    1,930.00
                        motion
11/28/2023   ECS3       Correspond with A. Nizamian, E. Gilad               0.40   1,595.00      638.00
                        regarding digital claim trading structuring
11/28/2023   ECS3       Analyze and comment on digital claim                1.60   1,595.00    2,552.00
                        trading structuring
11/28/2023   IS6        Call (portion) with FTI, E. Gilad, K.               1.20   1,330.00    1,596.00
                        Pasquale re coin valuation and token
                        motion
11/28/2023   JM59       Analyze and negotiate monetization                  0.60   1,750.00    1,050.00
                        documents with counterparties
11/28/2023   KP17       Call with FTI, E. Gilad, I. Sasson re coin          1.50   1,930.00    2,895.00
                        valuation issues
             Subtotal: B120 Asset Analysis and Recovery                    80.60              117,641.50




B130   Asset Disposition
11/01/2023   BL10       Review ventures report and note open                0.80   1,330.00    1,064.00
                        items (0.4); review FTX EU terms and de
                        minimis offer summary provided by
                        financial advisors (0.1); update ventures
                        report and plan approach for follow-up
                        items (0.3)
11/01/2023   FM7        Review revised Quoine deck                          0.20   1,930.00      386.00
11/01/2023   JI2        Review GP RFP documents                             0.40   1,160.00      464.00
11/02/2023   BL10       Participate in M&A call with Jefferies, B.          1.10   1,330.00    1,463.00
                        Kelly, F. Merola, and C. Xu (.5); follow-up
                        analysis of ROFR / consent rights for 5133
                        and issues related to 5091 process (.6)
11/02/2023   BK12       Attend venture M&A update call with D.              0.50   1,675.00      837.50
                        Homrich, B. Levine, F. Merola, C. Xu
11/02/2023   CX3        Review VDR for certain ventures                     0.20    940.00       188.00
                        documents
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Date         Initials   Description                                   Hours        Rate    Amount
11/02/2023   CX3        Update ventures diligence tracker based on       0.50    940.00     470.00
                        Jefferies M&A call
11/02/2023   CX3        Telephone conference with Jefferies, B.          0.50    940.00     470.00
                        Kelly, F. Merola, B. Levine on
                        M&A/ventures updates
11/02/2023   FM7        Review FTI correspondence re 5094 report         1.60   1,930.00   3,088.00
                        (0.2); attend Jefferies M&A telephone
                        conference with B. Kelly, B. Levine, C. Xu
                        (0.5); review B. Levine correspondence re
                        M&A matters and related action items (0.1);
                        correspond with Jefferies re governance
                        rights (0.2); review PWP de minimis offer
                        summary (0.2); review Risler Grayscale
                        update (0.2); review C. Xu correspondence
                        to S&C re 5137 (0.2)
11/03/2023   CX3        Draft summary update of ventures                 0.70    940.00     658.00
                        investments and 2.0
11/03/2023   FM7        Analyze crypto news run regarding venture        0.20   1,930.00    386.00
                        investments
11/03/2023   FM7        Review C. Xu correspondence regarding de         0.60   1,930.00   1,158.00
                        minimis offer PSAs (0.2); review Helix
                        Nano term sheet (0.2); review Jefferies
                        correspondence regarding de minimis asset
                        sales (0.2)
11/05/2023   CX3        Continue drafting summary update of FTX          1.60    940.00    1,504.00
                        2.0 and FTX ventures investments
11/06/2023   CX3        Prepare issues list of FTX EU SPA (.9);          1.00    940.00     940.00
                        correspond with B. Kelly on same (.1)
11/06/2023   CX3        Draft transfer restrictions summary of           3.50    940.00    3,290.00
                        ventures investment documents (5137)
11/06/2023   FM7        Review PWP correspondence regarding de           0.60   1,930.00   1,158.00
                        minimis offer documents (0.2); review C.
                        Xu correspondence regarding 5133 (0.1);
                        correspond with R. Hamilton regarding
                        11/2/23 M&A/ventures deck (0.1); review
                        C. Xu correspondence regarding 5137 (0.2)
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Date         Initials   Description                                       Hours      Rate    Amount
11/07/2023   BL10       Review FTX EU comments and confirm                 0.80   1,330.00   1,064.00
                        changes from precedent SPA (.4); review
                        data room documents for 5053 and 5138
                        (.3); prepare summary of same (.1)
11/07/2023   BK12       Correspond with C. Xu and B. Levine re:            0.30   1,675.00    502.50
                        FTX EU SPA
11/07/2023   CX3        Update ventures diligence tracker                  1.00    940.00     940.00
11/07/2023   CX3        Prepare summary of ventures investment             1.40    940.00    1,316.00
                        (5139)
11/07/2023   FM7        Analyze Jefferies crypto news run regarding        0.20   1,930.00    386.00
                        venture investments
11/07/2023   FM7        Review B. Levine correspondence regarding          0.20   1,930.00    386.00
                        DMA documents
11/08/2023   FM7        Review PWP correspondence regarding                0.70   1,930.00   1,351.00
                        5036 indication of interest (0.1); review
                        CDPQ indication of interest regarding 5036
                        (0.2); correspond with Homrich regarding
                        5036 indication of interest (0.2); review C.
                        Xu correspondence regarding 5044 and
                        5053 (0.2)
11/09/2023   BL10       M&A ventures discussion with Jefferies             0.70   1,330.00    931.00
                        (0.5); review and comment on certain
                        ventures transactions (0.2)
11/09/2023   BL10       Review GP RFP documents                            0.60   1,330.00    798.00
11/09/2023   BK12       Review FTX EU documents (0.6); review              1.30   1,675.00   2,177.50
                        GP RFP (0.6); respond to B. Levine email
                        re: same (0.1)
11/09/2023   CX3        Review and update summary of venture               0.40    940.00     376.00
                        investments and 2.0
11/09/2023   CX3        Review sale updates regarding certain              1.20    940.00    1,128.00
                        venture investments
11/09/2023   FM7        Review B. Levine correspondence re GP              0.40   1,930.00    772.00
                        RFP (0.2); review PWP correspondence re
                        de minimis offer summary (0.2)
11/09/2023   GS13       Review FTX EU and Quoine documents                 0.90   1,675.00   1,507.50
                        (.6); emails with Jefferies regarding same (.3)
11/10/2023   CX3        Review and provide comments on draft               1.40    940.00    1,316.00
                        FTX ventures GP RFP letter
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11/10/2023   CX3        Revise deck regarding ventures investments       0.30    940.00     282.00
                        (.2); correspond with L. Koch on same (.1)
11/10/2023   CX3        Supplement summary of ventures                   0.80    940.00     752.00
                        investments and 2.0
11/10/2023   FM7        Analyze crypto news run regarding venture        0.20   1,930.00    386.00
                        investments
11/10/2023   FM7        Review C. Xu correspondence re venture           0.70   1,930.00   1,351.00
                        investigations (0.2); review C. Xu summary
                        re ventures and reboot (0.2); revise FTX
                        GP RFP (0.3)
11/10/2023   JI2        Review crypto related news run with respect      0.20   1,160.00    232.00
                        to venture investments
11/11/2023   BK12       Review documents re: sale of [5012] fund         2.00   1,675.00   3,350.00
                        investment (0.3); correspond with C. Xu re:
                        same (0.1); review C. Xu comments to draft
                        GP RFP (0.8); review Quoine deck (0.5);
                        review term sheet re: sale of [5036] (0.3)
11/12/2023   CX3        Review and revise draft FTX ventures GP          0.50    940.00     470.00
                        RFP
11/13/2023   BL10       Review comments to GP RFP (.3);                  0.50   1,330.00    665.00
                        correspond with C. Xu on questions related
                        thereto (.2)
11/13/2023   BK12       Review FTX EU SPA and related                    0.60   1,675.00   1,005.00
                        documents
11/13/2023   FM7        Review C. Xu summary of M&A/ventures             0.30   1,930.00    579.00
                        updates
11/13/2023   TS21       Correspond with B. Levine regarding              0.50   1,210.00    605.00
                        corporate and ventures investments
                        issues/tasks
11/14/2023   FM7        Review Crypto news run regarding ventures        0.20   1,930.00    386.00
                        investments
11/14/2023   FM7        Review mark up of RFP regarding GP (0.2);        0.40   1,930.00    772.00
                        correspond with Jefferies regarding GP
                        RFP (0.2)
11/15/2023   FM7        Review Jefferies Quoine documents                0.30   1,930.00    579.00
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Date         Initials   Description                                     Hours        Rate    Amount
11/15/2023   FM7        Review E. Gilad correspondence re RFP              0.60   1,930.00   1,158.00
                        related to Venture Portfolio (0.2); review
                        5094 holdings summary (0.2); review
                        revised RFP re GP (0.2)
11/16/2023   BL10       M&A update call with Jefferies, K. Hansen,         0.70   1,330.00    931.00
                        E. Gilad, B. Kelly, T. Sadler, F. Merola, and
                        C. Xu (.4); follow-up analysis of M&A
                        action items (.3)
11/16/2023   BL10       Review updated venture portfolio sales             0.40   1,330.00    532.00
                        tracker from C. Xu
11/16/2023   BK12       Participate in M&A update call with R.             0.40   1,675.00    670.00
                        Hamilton, K. Hansen, E. Gilad, B. Levine,
                        T. Sadler, C. Xu, F. Merola
11/16/2023   CX3        Review ventures investment documents               1.90    940.00    1,786.00
                        (1.0); update ventures issues list and sale
                        tracker (0.4); review recent capital call
                        notices (0.5)
11/16/2023   CX3        Telephone conference with Jefferies, K.            0.40    940.00     376.00
                        Hansen, E. Gilad, B. Kelly, B. Levine, T.
                        Sadler, and F. Merola on ventures updates
11/16/2023   CX3        Review recently uploaded ventures related          0.40    940.00     376.00
                        documents to debtors' VDR (.3);
                        correspond with B. Kelly, B. Levine, F.
                        Merola on same (.1)
11/16/2023   EG18       M&A update telephone conference with               0.40   1,930.00    772.00
                        Jefferies, K. Hansen, B. Kelly, B. Levine, F.
                        Merola, C. Xu
11/16/2023   FM7        Participate in M&A update telephone                0.60   1,930.00   1,158.00
                        conference with Jefferies, K. Hansen, E.
                        Gilad, B. Kelly, B. Levine, T. Sadler, and C.
                        Xu (0.4); review PWP correspondence re de
                        minimis offers (0.2)
11/16/2023   FM7        Review C. Xu correspondence re venture             0.60   1,930.00   1,158.00
                        investment tracker (0.2); review Board
                        discussion documents re venture
                        investments (0.2); review vendor payment
                        reporting (0.2)
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Date         Initials   Description                                     Hours         Rate    Amount
11/16/2023   KH18       Discussion with Jefferies, E. Gilad, F.             0.40   2,135.00    854.00
                        Merola, B. Kelly, B. Levine, T. Sadler, and
                        C. Xu regarding ventures investments and
                        updated transaction report
11/16/2023   TS21       Participate in M&A ventures update call             0.40   1,210.00    484.00
                        with Jefferies, K. Hansen, E. Gilad, B.
                        Kelly, B. Levine, F. Merola, C. Xu regarding
                        venture sales portfolio updates
11/17/2023   CX3        Update ventures diligence/transaction               0.50    940.00     470.00
                        report (.4); correspond with B. Levine on
                        same (.1)
11/17/2023   CX3        Update M&A/ventures report                          1.10    940.00    1,034.00
11/17/2023   FM7        Analyze Jefferies crypto news run regarding         0.20   1,930.00    386.00
                        venture investments
11/17/2023   FM7        Review B. Levine correspondence regarding           0.40   1,930.00    772.00
                        new capital calls (0.2); review M&A update
                        report (0.2)
11/20/2023   BK12       Correspond with T. Sadler and C. Xu re:             1.60   1,675.00   2,680.00
                        M&A and ventures issues/task list (0.7);
                        debtor M&A call debrief correspondence
                        with E. Gilad and T. Sadler (0.9)
11/20/2023   CX3        Review capital call notices and update              2.40    940.00    2,256.00
                        capital call tracker regarding same
11/20/2023   CX3        Further update capital call tracker (.5);           0.70    940.00     658.00
                        correspond with B. Kelly on same (.2)
11/20/2023   EG18       Follow up correspondence with B. Kelly              0.40   1,930.00    772.00
                        and T. Sadler regarding debtor M&A update
                        and ventures transactions
11/20/2023   FM7        Review updated capital call tracker                 0.20   1,930.00    386.00
11/20/2023   TS21       Correspond with B. Kelly regarding sale             0.60   1,210.00    726.00
                        processes
11/21/2023   BK12       Review S. Carri email with Jefferies                0.70   1,675.00   1,172.50
                        summary of de minimis sales (0.6);
                        correspond with T. Sadler re: same (0.1)
11/21/2023   CX3        Review 5005 and 5137 governance                     0.60    940.00     564.00
                        documents and related summaries
11/21/2023   FM7        Analyze crypto news run regarding venture           0.20   1,930.00    386.00
                        investments
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Date         Initials   Description                                      Hours       Rate    Amount
11/21/2023   FM7        Review Jefferies analysis of de minimis            0.30   1,930.00    579.00
                        assets
11/21/2023   TS21       Review documents re venture sales                  2.50   1,210.00   3,025.00
                        diligence (1.2); review sale update
                        presentation related to venture sales (.6);
                        correspond with E. Gilad, B. Kelly and C.
                        Xu regarding sale process related to 6001
                        2.0 APA (.7)
11/22/2023   BK12       Review emails from C. Xu re: capital call          0.20   1,675.00    335.00
                        summary (0.1); correspond with B. Levine
                        re: same (0.1)
11/22/2023   CX3        Update capital call notices tracker                1.10    940.00    1,034.00
11/22/2023   FM7        Review C. Xu correspondence regarding              0.20   1,930.00    386.00
                        capital calls
11/25/2023   FM7        Analyze Jefferies crypto news run re               0.20   1,930.00    386.00
                        venture investments
11/28/2023   BK12       Respond to E. Sibbitt and E. Gilad emails          0.70   1,675.00   1,172.50
                        re: [5005] investment (0.2); review
                        governance documents re: same (0.5)
11/29/2023   AAN1       Analyze 5005 IRA                                   1.30   1,270.00   1,651.00
11/29/2023   ECS3       Review and comment on restrictions on              1.00   1,595.00   1,595.00
                        5005 distribution and regulatory
                        considerations
11/29/2023   GK6        Review 5005 share transfer Series C,               1.30    940.00    1,222.00
                        investor rights agreement, ROFR & co-sale
                        agreement, certificate of incorporation and
                        bylaws
11/30/2023   AAN1       Review and supplement 5005 share transfer          1.80   1,270.00   2,286.00
                        analysis
11/30/2023   BK12       Participate in Jefferies M&A update call           0.70   1,675.00   1,172.50
                        with M. O'Hara, R. Hamilton, E. Gilad, T.
                        Sadler, C. Xu (0.4); follow up review of
                        ventures matters discussed (0.3)
11/30/2023   CX3        Telephone conference with Jefferies, E.            0.40    940.00     376.00
                        Gilad, B. Kelly, T. Sadler on ventures
                        updates
11/30/2023   EG18       Participate in M&A/ventures update call            0.40   1,930.00    772.00
                        with Jefferies, B. Kelly, T. Sadler, and C. Xu
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Date         Initials   Description                                    Hours         Rate     Amount
11/30/2023   GK6        Correspond with E. Sibbitt regarding               1.70    940.00     1,598.00
                        bankruptcy court ruling on permitting sale
                        of assets (.2); review Nov. 29 bankruptcy
                        agreement permitting sale of assets (.5);
                        review specific assets being sold (1.0)
11/30/2023   GK6        Review 5005 share transfer Series C,               2.50    940.00     2,350.00
                        investor rights agreement, ROFR & co-sale
                        agreement, certificate of incorporation, and
                        bylaws (2.1); correspond with E. Sibbitt
                        regarding considerations with the resale
                        restrictions (.4)
11/30/2023   TS21       Update call on M&A venture portfolio with          0.40   1,210.00     484.00
                        Jefferies, E. Gilad, B. Kelly, and C. Xu
             Subtotal: B130 Asset Disposition                             66.50              86,831.50




B150   Meetings of and Communications with Creditors
11/01/2023   BK12       Participate in UCC meeting                         1.00   1,675.00    1,675.00
11/01/2023   CD5        Participate in UCC meeting                         1.00   1,750.00    1,750.00
11/01/2023   EG18       Participate in UCC meeting (1.0); prepare          1.20   1,930.00    2,316.00
                        follow up notes regarding Committee
                        member questions (.2)
11/01/2023   FM7        Participate in UCC meeting                         1.00   1,930.00    1,930.00
11/01/2023   GS13       Review agenda and certain referenced               1.40   1,675.00    2,345.00
                        documents to prepare for committee
                        telephone conference (.4); participate in
                        committee telephone conference (1.0)
11/01/2023   IS6        Participate in committee meeting                   1.00   1,330.00    1,330.00
11/01/2023   JI2        Review banker retention comps prepared             1.30   1,160.00    1,508.00
                        for UCC meeting (.3); attend UCC meeting
                        (1.0)
11/01/2023   KP17       Review and annotate agenda to prepare for          1.20   1,930.00    2,316.00
                        Committee meeting (.2); participate in
                        Committee meeting (1.0)
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Date         Initials   Description                                      Hours       Rate    Amount
11/01/2023   KH18       Lead UCC meeting (1.0); review agenda,             2.90   2,135.00   6,191.50
                        advisor presentations, and certain
                        referenced documents to prepare for UCC
                        meeting (0.7); post-meeting analysis of
                        committee issues and questions (1.2)
11/01/2023   LED        Attend UCC meeting                                 1.00   1,470.00   1,470.00
11/01/2023   LK19       Attend and take minutes during Committee           1.30    855.00    1,111.50
                        meeting (1.0); correspond with Committee
                        members regarding expense reimbursement
                        motion (0.3)
11/02/2023   LK19       Correspond with Committee members                  0.20    855.00     171.00
                        regarding UCC expense reimbursement
11/03/2023   GS13       Telephone conference with creditor                 0.80   1,675.00   1,340.00
                        regarding ongoing case issues and litigation
11/03/2023   IS6        Call with creditors re next steps re revised       0.60   1,330.00    798.00
                        plan
11/03/2023   KP17       Call with creditor re case updates (.7);           1.10   1,930.00   2,123.00
                        emails with AHC counsel re case issues (.4)
11/03/2023   KH18       Review customer open letter (.5); analyze          3.00   2,135.00   6,405.00
                        issues in same (1.6); prepare outline for
                        response to customer letter (.9)
11/05/2023   KH18       Continued analysis of "creditor letter" issues     2.50   2,135.00   5,337.50
                        (2.1); correspond with K. Pasquale
                        regarding same (.4)
11/06/2023   BL10       Participate in UCC advisors call re prep for       1.00   1,330.00   1,330.00
                        UCC meeting (.4); review advisor
                        presentations and comment on same (.6)
11/06/2023   BK12       Attend UCC advisor update call to prepare          0.40   1,675.00    670.00
                        for UCC meeting
11/06/2023   CD5        Participate in UCC advisors call regarding         0.40   1,750.00    700.00
                        case matters and prep for UCC meeting
11/06/2023   EG18       Attend UCC advisor telephone conference            1.00   1,930.00   1,930.00
                        re case matters and upcoming UCC meeting
                        (.4); review and comment on advisor
                        presentations for same (.6)
11/06/2023   ECS3       Participate in UCC advisors call regarding         0.40   1,595.00    638.00
                        upcoming UCC meeting and case updates
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Date         Initials   Description                                   Hours         Rate    Amount
11/06/2023   FM7        Attend UCC professionals telephone                0.60   1,930.00   1,158.00
                        conference regarding case matters and prep
                        for UCC meeting (0.4); review Jefferies
                        correspondence to UCC regarding Helix
                        Nano (0.2)
11/06/2023   IS6        Call with Committee member and K.                 0.90   1,330.00   1,197.00
                        Pasquale re UCC investigation and open
                        case issues (.5); attend UCC professionals
                        call re open case issues and prep for UCC
                        meeting (.4)
11/06/2023   JI2        Attend UCC professionals call re upcoming         0.50   1,160.00    580.00
                        UCC meeting (.4); email L. Koch re agenda
                        for UCC meeting (.1)
11/06/2023   KP17       Call with FTI and Jefferies in prep for           0.90   1,930.00   1,737.00
                        Committee meeting (.4); call with
                        Committee member and I. Sasson re
                        investigation issues (.5)
11/06/2023   KH18       Participate in UCC advisors call regarding        0.40   2,135.00    854.00
                        pending issues and prep for UCC meeting
11/06/2023   LED        Attend UCC advisors call to prepare for           0.40   1,470.00    588.00
                        UCC meeting
11/06/2023   LK19       Attend and take notes during weekly UCC           0.60    855.00     513.00
                        advisors meeting to prepare for 11/08/23
                        Committee meeting (0.4); email Committee
                        members regarding AHC fee
                        reimbursement motion reservation of rights
                        (0.2)
11/06/2023   MEG9       Attend UCC professionals call regarding           0.40   1,470.00    588.00
                        case updates and to prepare for UCC
                        meeting
11/07/2023   FM7        Review UCC correspondence regarding de            1.10   1,930.00   2,123.00
                        minimis assets (Helix Nano) (0.2); review
                        UCC correspondence regarding UCC
                        resignations (0.2); review Jefferies de
                        minimis asset offers deck (0.2); review UCC
                        correspondence regarding de minimis offers
                        (0.1); review UCC correspondence
                        regarding meeting agenda (0.2); review UCC
                        correspondence regarding token sales (0.2)
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Date         Initials   Description                                    Hours        Rate    Amount
11/07/2023   GS13       Review agenda items and prepare notes on          0.80   1,675.00   1,340.00
                        same for Committee telephone conference
                        (.6); emails with L. Koch regarding same
                        (.2)
11/07/2023   KP17       Call with committee member re litigation          1.10   1,930.00   2,123.00
                        issue (.4); consider committee member's
                        litigation question and related public posts
                        (.3); review and annotate agenda in
                        preparation for Committee meeting (.4)
11/07/2023   LK19       Draft agenda for 11/08/23 Committee               1.50    855.00    1,282.50
                        meeting (0.3); emails to Committee
                        members regarding amended U.S. Trustee
                        notice of appointment of UCC (0.1); emails
                        to Committee members regarding agenda
                        and advisor presentations for 11/08/23
                        Committee meeting (0.3); review and
                        comment on advisor presentations for
                        11/08/23 Committee meeting (0.6);
                        correspond with G. Sasson, FTI, and
                        Jefferies regarding same (0.2)
11/07/2023   LK19       Analyze Committee bylaws regarding                0.90    855.00     769.50
                        conflicts issues (0.6); correspond with G.
                        Sasson and K. Pasquale regarding response
                        to Committee member inquiry on same
                        (0.3)
11/08/2023   BK12       Participate in UCC meeting                        1.20   1,675.00   2,010.00
11/08/2023   CD5        Participate in part of UCC meeting                1.00   1,750.00   1,750.00
11/08/2023   EG18       Analyze and prepare notes on 2.0 and              2.00   1,930.00   3,860.00
                        monetization issues for UCC meeting (.8);
                        participate in UCC meeting (1.2)
11/08/2023   FM7        Participate in UCC meeting (1.2); review          1.40   1,930.00   2,702.00
                        reboot subcommittee correspondence
                        regarding agenda for Debtor meeting (0.2)
11/08/2023   GS13       Review advisor presentations and certain          2.00   1,675.00   3,350.00
                        referenced documents for committee
                        telephone conference (.4); participate in
                        committee telephone conference (1.2);
                        telephone conference with customer
                        regarding case update (.4)
11/08/2023   IS6        Participate in committee meeting                  1.20   1,330.00   1,596.00
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Date         Initials   Description                                     Hours       Rate    Amount
11/08/2023   JI2        Attend UCC meeting                                1.20   1,160.00   1,392.00
11/08/2023   KP17       Review and prepare notes on advisor               2.30   1,930.00   4,439.00
                        presentations for Committee meeting (.5);
                        participate in Committee meeting (1.2);
                        review and revise reports for Committee re
                        litigation and investigations (.6)
11/08/2023   KH18       Lead UCC meeting                                  1.20   2,135.00   2,562.00
11/08/2023   LK19       Attend and take minutes at Committee              1.20    855.00    1,026.00
                        meeting
11/08/2023   MEG9       Attend UCC meeting                                1.20   1,470.00   1,764.00
11/09/2023   FM7        Review UCC correspondence regarding EV            0.20   1,930.00    386.00
                        settlements
11/10/2023   FM7        Review UCC correspondence regarding               0.20   1,930.00    386.00
                        5142
11/10/2023   LK19       Correspond with K. Hansen, K. Pasquale,           0.30    855.00     256.50
                        E. Gilad, G. Sasson regarding 11/15/23
                        Committee meeting
11/10/2023   MEG9       Review email from Committee member re:            0.20   1,470.00    294.00
                        5142
11/12/2023   LK19       Email Committee members regarding                 0.20    855.00     171.00
                        11/16/23 Committee meeting
11/13/2023   BL10       Participate in UCC advisors call regarding        1.00   1,330.00   1,330.00
                        case matters and prep for UCC meeting (.7);
                        review and comment on agenda for UCC
                        meeting (.3)
11/13/2023   BK12       Attend UCC advisors call regarding case           0.70   1,675.00   1,172.50
                        matters and prep for UCC meeting
11/13/2023   CD5        Call with Committee member, LK                    0.50   1,750.00    875.00
                        Greenbacker, N. Moffatt and S.
                        Quattrocchi regarding 6001's Gibraltar
                        license
11/13/2023   CD5        Participate in UCC professionals call re case     0.70   1,750.00   1,225.00
                        matters and UCC meeting prep
11/13/2023   ECS3       Attend UCC advisors call re case matters          0.70   1,595.00   1,116.50
                        and agenda for UCC meeting
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11/13/2023   FM7        Attend UCC professionals meeting to              1.10   1,930.00   2,123.00
                        prepare for UCC meeting (0.7); review UCC
                        correspondence regarding ByBit complaint
                        (0.2); review K. Pasquale correspondence
                        regarding AHG of Customers letter (0.2)
11/13/2023   JI2        Attend call with FTI and Jefferies re            0.90   1,160.00   1,044.00
                        upcoming UCC meeting (.7); prepare
                        agenda for UCC meeting (.2)
11/13/2023   KP17       Call with FTI, Jefferies re prep for             1.10   1,930.00   2,123.00
                        Committee meeting (.7); email with
                        Committee member re investigation
                        updates (.2); review and revise Bybit
                        complaint summary memo to Committee
                        (.2)
11/13/2023   KH18       Call with committee advisors regarding           0.70   2,135.00   1,494.50
                        committee deliverables and upcoming
                        meeting
11/13/2023   LED        Attend conference with Committee                 0.50   1,470.00    735.00
                        member, C. Daniel, N. Moffatt and S.
                        Quattrocchi regarding Gibraltar regulatory
                        regime
11/13/2023   LK19       Attend UCC advisors meeting to prepare           1.00    855.00     855.00
                        for 11/16/23 Committee meeting (0.7);
                        email Committee members regarding Bybit
                        adversary complaint (0.3)
11/13/2023   MEG9       Attend UCC professionals call regarding          0.70   1,470.00   1,029.00
                        case updates and preparation for UCC
                        meeting
11/13/2023   MEG9       Review Ad Hoc Committee letter circulated        0.40   1,470.00    588.00
                        by K. Pasquale (0.2); review email from
                        Committee member regarding proposed
                        settlements with 5142 (0.2)
11/13/2023   JM46       Review Gibraltar regulatory considerations       1.00   1,470.00   1,470.00
                        re 6001 bid (.5); call on 6001 Gibraltar
                        regulatory considerations with committee
                        member, C. Daniel, L. Greenbacker, S.
                        Quattrocchi (.5)
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11/13/2023   SAQ        Conference with Committee member, C.              0.50   1,160.00    580.00
                        Daniel, N. Moffatt and L. Greenbacker
                        regarding KYC and licensing considerations
                        in connection with 6001's FTX 2.0 bid
11/13/2023   TS21       Call with UCC advisors regarding                  0.70   1,210.00    847.00
                        transaction updates and prep for UCC
                        meeting
11/14/2023   FM7        Review UCC correspondence regarding               0.20   1,930.00    386.00
                        objection to claims
11/14/2023   KP17       Emails with Committee re debtors' rule            0.40   1,930.00    772.00
                        9019 5142 motion (.3); revise draft email to
                        Committee re claim objections (.1)
11/14/2023   LK19       Email Committee regarding omnibus claims          0.30    855.00     256.50
                        objections
11/14/2023   LK19       Emails to K. Pasquale, G. Sasson, FTI, and        0.20    855.00     171.00
                        Jefferies regarding agenda and presentations
                        for 11/16/23 Committee meeting
11/15/2023   FM7        Review UCC correspondence regarding               0.80   1,930.00   1,544.00
                        plan effective date timetable (0.1); review
                        UCC correspondence regarding token
                        portfolio (0.2); review UCC correspondence
                        regarding 5137 (0.1); review UCC
                        correspondence regarding UCC meeting
                        agenda and advisor presentations (0.2);
                        review reboot subcommittee
                        correspondence regarding telephone
                        conference (0.2)
11/15/2023   JI2        Prepare parts of agenda for Committee             3.20   1,160.00   3,712.00
                        meeting (.8); correspond with Committee
                        members re same (.7); correspond with
                        Committee members re advisor
                        presentations (.3); correspond with Jefferies
                        and FTI re same (1.1); review advisor
                        presentations in advance of Committee
                        meeting (.3)
11/15/2023   KP17       Review FTI and Jefferies decks in prep for        1.30   1,930.00   2,509.00
                        Committee meeting
11/15/2023   KH18       Telephone conference with Jefferies and           1.00   2,135.00   2,135.00
                        FTI re case matters, 2.0 and case timing
                        issues
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Date         Initials   Description                                       Hours        Rate    Amount
11/15/2023   LK19       Review and comment on agenda for                     0.80    855.00     684.00
                        11/16/23 Committee meeting (0.3);
                        correspond with G. Sasson, K. Pasquale,
                        and J. Iaffaldano regarding same (0.5)
11/16/2023   BK12       Participate in UCC meeting                           2.10   1,675.00   3,517.50
11/16/2023   CD5        Participate in part of UCC meeting                   1.00   1,750.00   1,750.00
11/16/2023   EG18       Participate in UCC meeting                           2.10   1,930.00   4,053.00
11/16/2023   ECS3       Attend UCC meeting                                   2.10   1,595.00   3,349.50
11/16/2023   FM7        Participate in UCC meeting                           2.10   1,930.00   4,053.00
11/16/2023   GS13       Participate in committee telephone                   2.10   1,675.00   3,517.50
                        conference
11/16/2023   JI2        Attend UCC meeting                                   2.10   1,160.00   2,436.00
11/16/2023   KP17       Review and annotate committee meeting                3.90   1,930.00   7,527.00
                        agenda (.8); participate in Committee
                        meeting (2.1); call with AHC member re
                        case updates (.5); call with creditor re [5131]
                        claims (.5)
11/16/2023   KH18       Lead UCC meeting (2.1); review certain               2.50   2,135.00   5,337.50
                        items and documents referenced in meeting
                        agenda to prepare for same (.4)
11/16/2023   LT9        Attend part of UCC meeting regarding                 0.50   1,570.00    785.00
                        UCC investigations
11/16/2023   LK19       Attend and take minutes during Committee             2.10    855.00    1,795.50
                        meeting
11/16/2023   MEG9       Attend UCC meeting                                   2.10   1,470.00   3,087.00
11/16/2023   TS21       Attend UCC meeting                                   2.10   1,210.00   2,541.00
11/17/2023   JI2        Correspond with K. Pasquale and UCC                  0.20   1,160.00    232.00
                        members re preference settlement
11/17/2023   KP17       Call with creditor re plan issues                    0.60   1,930.00   1,158.00
11/19/2023   EG18       Correspond with AHC regarding FTX 2.0                0.20   1,930.00    386.00
                        and 2.0 APA
11/20/2023   EG18       Participate in UCC advisor telephone                 1.00   1,930.00   1,930.00
                        conference to prepare for UCC meeting
                        (.5); analyze and comment on advisor
                        presentations and Committee deliverables
                        (.5)
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Date         Initials   Description                                     Hours       Rate    Amount
11/20/2023   ECS3       Attend UCC advisors call re case matters          0.50   1,595.00    797.50
                        and prep for UCC meeting
11/20/2023   FM7        Attend UCC professionals telephone                0.60   1,930.00   1,158.00
                        conference regarding case matters and prep
                        for UCC meeting (0.5); correspond with K.
                        Pasquale regarding AHG meeting (0.1)
11/20/2023   IS6        Case update call with UCC advisors to             0.50   1,330.00    665.00
                        prepare for UCC meeting
11/20/2023   JI2        Call with FTI and Jefferies re upcoming           0.50   1,160.00    580.00
                        UCC meeting
11/20/2023   KP17       Emails with committee members re 2.0              2.60   1,930.00   5,018.00
                        customer AHG (.4); call with Committee
                        professionals in prep for Committee
                        meeting (.5); draft outline for meeting with
                        2.0 customer AHG (.9); call with creditor re
                        case updates (.8)
11/20/2023   KH18       Participate in UCC advisor call regarding         0.50   2,135.00   1,067.50
                        case issues and prep for UCC meeting
11/20/2023   LED        Attend UCC advisors call regarding UCC            0.70   1,470.00   1,029.00
                        meeting prep (.5); review presentation
                        regarding 2.0 sale (.2)
11/20/2023   LK19       Attend and take notes during UCC advisors         0.70    855.00     598.50
                        meeting to prepare for 11/22/23
                        Committee meeting (0.5); correspond with
                        K. Pasquale and Committee members
                        regarding meeting with customer ad hoc
                        group (0.2)
11/20/2023   LK19       Draft email to Committee members                  0.40    855.00     342.00
                        regarding Committee reimbursement
                        application (0.3); draft agenda for 11/22/23
                        Committee meeting (0.1)
11/20/2023   TS21       Case update call with UCC advisors to             0.50   1,210.00    605.00
                        prepare for UCC meeting
11/21/2023   EG18       Respond to UCC member inquiry regarding           1.20   1,930.00   2,316.00
                        plan questions (0.3); plan analysis regarding
                        same (0.9)
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Date         Initials   Description                                   Hours        Rate    Amount
11/21/2023   FM7        Review UCC correspondence regarding              0.40   1,930.00    772.00
                        meeting agenda (0.2); review UCC
                        correspondence regarding de minimis asset
                        summary (0.2)
11/21/2023   KP17       Review draft presentations in preparation        0.80   1,930.00   1,544.00
                        for Committee meeting (.5); prepare notes
                        on certain agenda items for Committee
                        meeting (.3)
11/21/2023   LK19       Correspond with K. Pasquale, G. Sasson,          0.80    855.00     684.00
                        and Committee members regarding
                        Committee member expense
                        reimbursement (0.2); draft agenda and email
                        regarding advisor presentations for
                        11/22/23 Committee meeting (0.6)
11/22/2023   EG18       Participate in UCC meeting                       1.40   1,930.00   2,702.00
11/22/2023   FM7        Participate in UCC meeting                       1.40   1,930.00   2,702.00
11/22/2023   GS13       Participate in committee meeting (1.4);          2.30   1,675.00   3,852.50
                        review notes and advisor presentations to
                        prepare for same (.4); follow up review of
                        committee member questions (.5)
11/22/2023   IS6        Attend portion of Committee meeting              0.70   1,330.00    931.00
11/22/2023   JI2        Attend UCC meeting                               1.40   1,160.00   1,624.00
11/22/2023   KP17       Review certain advisor presentations and         2.50   1,930.00   4,825.00
                        referenced documents in preparation for
                        Committee meeting (.3); participate in
                        Committee meeting (1.4); call with
                        creditor's counsel re plan issues (.8)
11/22/2023   LED        Attend portion of committee meeting              1.10   1,470.00   1,617.00
11/22/2023   LK19       Attend and take minutes during UCC               1.40    855.00    1,197.00
                        meeting
11/22/2023   TS21       Attend UCC meeting                               1.40   1,210.00   1,694.00
11/24/2023   GS13       Email with creditor regarding claim issues       0.40   1,675.00    670.00
11/24/2023   KP17       Emails with creditors re information             0.40   1,930.00    772.00
                        requests
11/25/2023   KP17       Review information and draft outline in          1.30   1,930.00   2,509.00
                        preparation for meeting with customer
                        AHG
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Date         Initials   Description                                     Hours       Rate    Amount
11/27/2023   BK12       Participate in 2.0 customer ad hoc                1.10   1,675.00   1,842.50
                        committee call (0.6); participate in UCC
                        advisors call re: case updates and UCC
                        meeting (0.5)
11/27/2023   EG18       Participate in UCC advisor telephone              0.90   1,930.00   1,737.00
                        conference regarding pending and
                        upcoming matters and prep for UCC
                        meeting (.5); review and comment on UCC
                        advisor presentations and UCC deliverables
                        (.4)
11/27/2023   EG18       Participate in meeting with customer ad hoc       0.90   1,930.00   1,737.00
                        group regarding FTX 2.0 issues (.6); analyze
                        follow up issues regarding customer ad hoc
                        group and 2.0 (.3)
11/27/2023   ECS3       Participate in UCC advisors call re case          0.50   1,595.00    797.50
                        issues and prep for UCC meeting
11/27/2023   FM7        Attend UCC professionals telephone                0.50   1,930.00    965.00
                        conference regarding UCC meeting prep
11/27/2023   GS13       Call with customer ad hoc group                   0.60   1,675.00   1,005.00
11/27/2023   IS6        Attend UCC professionals call regarding           0.50   1,330.00    665.00
                        case updates and prep for UCC meeting
11/27/2023   JI2        Attend UCC advisors call regarding                1.90   1,160.00   2,204.00
                        Committee meeting agenda (.5); prepare
                        update email to Committee members (1.2);
                        correspond with L. Koch re meeting update
                        (.2)
11/27/2023   JI2        Attend 2.0 meeting with customer AHC              0.90   1,160.00   1,044.00
                        (.6); review draft 2.0 response letter to AHC
                        in preparation for same (.2); correspond
                        with G. Sasson regarding follow up
                        issues/tasks related to AHC (.1)
11/27/2023   KP17       Outline issues for 2.0 customer AHC               2.50   1,930.00   4,825.00
                        meeting (.3); participate in meeting with 2.0
                        Customer AHC (.6); review and revise draft
                        response letter to 2.0 AHC (1.1); call with
                        UCC advisors in prep for Committee
                        meeting (.5)
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Date         Initials   Description                                      Hours         Rate    Amount
11/27/2023   KH18       Participate in meeting with AHC regarding            2.00   2,135.00   4,270.00
                        FTX 2.0 (.6); follow up review of AHC 2.0
                        issues (.6); participate in UCC advisors
                        telephone conference re AHC meeting
                        follow-up and prep for UCC meeting (.5);
                        review and annotate agenda for same (.3)
11/27/2023   LED        Attend UCC advisors call regarding case              0.50   1,470.00    735.00
                        matters and upcoming UCC meeting
11/27/2023   LK19       Attend meeting with UCC members and 2.0              1.30    855.00    1,111.50
                        Ad Hoc Group regarding plan and
                        exchange sale issues (0.6); revise draft
                        response letter to 2.0 Ad Hoc Group per
                        meeting with 2.0 Ad Hoc Group (0.5);
                        correspond with K. Pasquale regarding
                        same (0.2)
11/27/2023   LK19       Attend UCC advisors meeting regarding                0.70    855.00     598.50
                        11/29/23 Committee meeting (0.5);
                        correspond with Committee members
                        regarding 11/29/23 Committee meeting
                        (0.2)
11/27/2023   MEG9       Attend UCC professionals call re case                0.60   1,470.00    882.00
                        updates and prep for UCC meeting (0.5);
                        review UCC update from J. Iaffaldano (0.1)
11/27/2023   TS21       Call with UCC advisors to prep for UCC               0.50   1,210.00    605.00
                        meeting
11/28/2023   FM7        Review K. Pasquale correspondence                    0.20   1,930.00    386.00
                        regarding customer AHG issues
11/28/2023   KP17       Email Committee re AHG 2.0 response                  0.20   1,930.00    386.00
                        letter
11/28/2023   KH18       Correspond with E. Gilad and K. Pasquale             0.40   2,135.00    854.00
                        regarding AHC 2.0 issues
11/29/2023   GS13       Call with creditor regarding case update (.4);       0.90   1,675.00   1,507.50
                        call with committee member regarding
                        coin/token issues (.5)
11/29/2023   KP17       Call with creditor re plan issues                    0.60   1,930.00   1,158.00
11/29/2023   KP17       Revise draft 2.0 response letter to new              0.30   1,930.00    579.00
                        customer AHG
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Date         Initials   Description                                       Hours       Rate      Amount
11/29/2023   LK19       Review and comment on response letter to            0.50    855.00       427.50
                        2.0 AHC (0.4); correspond with K. Pasquale
                        regarding same (0.1)
11/30/2023   EG18       Telephone conference with UCC member,               1.10   1,930.00     2,123.00
                        E. Sibbitt, and K. Pasquale regarding
                        questions related to 2.0 APA and process
11/30/2023   ECS3       Call with Committee member, E. Gilad, K.            1.10   1,595.00     1,754.50
                        Pasquale, and T. Shea on 2.0 APA and
                        process
11/30/2023   KP17       Call with Committee member, E. Gilad and            1.30   1,930.00     2,509.00
                        E. Sibbitt re plan and 2.0 issues (1.1); revise
                        email to committee re IRS motion (.2)
             Subtotal: B150 Meetings of and Communications                150.90              245,396.00
                       with Creditors




B155   Court Hearings
11/08/2023   IS6        Attend hearing on examiner Third Circuit            2.80   1,330.00     3,724.00
                        appeal (2.7); prepare summary notes
                        regarding same (.1)
11/08/2023   JI2        Listen to part of examiner oral argument            1.20   1,160.00     1,392.00
                        before Third Circuit (.6); correspond with
                        K. Pasquale and G. Sasson re same (.6)
11/08/2023   KP17       Handle oral argument of examiner appeal in          2.70   1,930.00     5,211.00
                        Third Circuit
11/08/2023   ML30       Monitor portions of the Third Circuit               0.30    540.00        162.00
                        hearing re examiner
11/14/2023   KP17       Review pertinent pleadings in prep for              1.20   1,930.00     2,316.00
                        11/15/23 court hearing
11/14/2023   ML30       Correspond with I. Sasson, G. Sasson re             0.50    540.00        270.00
                        11/15/23 hearing needs (.2); prepare
                        documents and conference lines for
                        11/15/23 hearing (.3)
11/15/2023   JI2        Attend portion of omnibus hearing on                4.30   1,160.00     4,988.00
                        AHC fee reimbursement motion and
                        adversary proceedings
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Date         Initials   Description                                    Hours        Rate     Amount
11/15/2023   KP17       Review submissions and issues in                  6.70   1,930.00   12,931.00
                        preparation for hearing (.6); prepare
                        outlines regarding same for hearing (.4);
                        participate in hearing prep meeting with M.
                        Lunn (YCST), R. Poppiti (YCST), and L.
                        Koch (.8); participate in court hearing
                        regarding AHC fee reimbursement motion,
                        adversary proceedings, and related matters
                        (4.9)
11/15/2023   KH18       Review hearing update regarding AHC fee           0.90   2,135.00    1,921.50
                        reimbursement motion and certain
                        adversary proceedings
11/15/2023   KH18       Attend portion of hearing on AHC fee              0.90   2,135.00    1,921.50
                        reimbursement motion
11/15/2023   LK19       Review revised agenda for hearing (0.1);          6.60    855.00     5,643.00
                        review filings regarding AHC fee
                        reimbursement motion (0.4); analyze issues
                        regarding AHC fee reimbursement motion
                        (0.4); attend hearing regarding AHC fee
                        reimbursement motion, adversary
                        proceedings, and related matters (4.9);
                        participate in hearing prep meeting with M.
                        Lunn (YCST), R. Poppiti (YCST), and K.
                        Pasquale regarding same (0.8)
11/15/2023   ML30       Correspond with I. Sasson re 11/15/23             4.70    540.00     2,538.00
                        hearing prep (.1); correspond with G.
                        Sasson re hearing prep (.1); monitor
                        portions of the omnibus hearing (4.5)
11/28/2023   EG18       Further analyze Grayscale related pleadings       1.10   1,930.00    2,123.00
                        and issues to prepare for hearing on same
11/29/2023   EG18       Participate telephonically in Grayscale           1.10   1,930.00    2,123.00
                        motion hearing (0.5); review issues,
                        authority and notes to prepare for Grayscale
                        hearing (0.6)
11/29/2023   KP17       Participate (Zoom) in court hearing on            0.50   1,930.00     965.00
                        Grayscale motion
11/29/2023   ML30       Monitor the Grayscale hearing (.5);               0.70    540.00      378.00
                        correspond with E. Gilad re hearing prep
                        (.2)
             Subtotal: B155 Court Hearings                               36.20              48,607.00
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Date         Initials   Description                                     Hours       Rate    Amount




B160   Retention/Employment Matters (Paul Hastings)
11/27/2023   JI2        Draft supplemental declaration regarding          1.20   1,160.00   1,392.00
                        retention as committee counsel
             Subtotal: B160 Retention/Employment Matters                  1.20              1,392.00
                       (Paul Hastings)




B162   Fee/Compensation Matters (Paul Hastings)
11/01/2023   JI2        Prepare part of response to fee examiner          2.60   1,160.00   3,016.00
                        letter
11/02/2023   GS13       Review fee examiner fee report (1.3); meet        1.70   1,675.00   2,847.50
                        with J. Iaffaldano and L. Koch regarding
                        same (.4)
11/02/2023   JI2        Conference with G. Sasson and L. Koch re          0.70   1,160.00    812.00
                        fee examiner letter (.4); review fee examiner
                        report (.3)
11/02/2023   LK19       Conference with G. Sasson and J.                  0.70    855.00     598.50
                        Iaffaldano regarding responses to fee
                        examiner report (0.4); review parts of fee
                        examiner report and prepare responses to
                        same (0.3)
11/03/2023   LK19       Prepare responses to fee examiner's report        1.40    855.00    1,197.00
                        regarding third interim fee period (1.2);
                        correspond with J. Iaffaldano regarding
                        same (0.2)
11/06/2023   JI2        Prepare responses to fee examiner letter          4.40   1,160.00   5,104.00
11/06/2023   LK19       Prepare parts of chart with responses to Fee      0.30    855.00     256.50
                        Examiner's report (0.2); correspond with G.
                        Sasson and J. Iaffaldano regarding same
                        (0.1)
11/08/2023   LK19       Revise response chart to fee examiner             0.20    855.00     171.00
                        report on third interim fee period (0.1);
                        correspond with G. Sasson and J. Iaffaldano
                        regarding same (0.1)
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Date         Initials   Description                                      Hours        Rate    Amount
11/09/2023   LK19       Correspond with C. Edge and G. Sasson               0.10    855.00      85.50
                        regarding September invoice
11/10/2023   GS13       Review Fee Examiner report (.9); telephone          1.90   1,675.00   3,182.50
                        conference with Fee Examiner counsel
                        regarding same (.6); follow-up email with L.
                        Koch regarding same (.4)
11/10/2023   LK19       Draft responses to Fee Examiner's report            3.50    855.00    2,992.50
                        regarding third interim fee period (0.9);
                        supplement fee examiner response chart
                        (0.3); correspond with G. Sasson and J.
                        Iaffaldano regarding same (0.2); review
                        September invoice to preserve
                        confidentiality of investigation, litigation,
                        and venture targets (2.1)
11/12/2023   LK19       Review September invoice to preserve                2.50    855.00    2,137.50
                        confidentiality and privilege
11/13/2023   LK19       Review September invoice to preserve                1.10    855.00     940.50
                        confidentiality and privilege of
                        investigation, litigation, and venture targets
11/14/2023   LK19       Review September invoice to preserve                1.40    855.00    1,197.00
                        confidentiality of investigation, litigation,
                        and venture targets and privilege
11/17/2023   LK19       Review September invoice to preserve                1.20    855.00    1,026.00
                        confidentiality of litigation, investigation,
                        and venture targets (0.4); correspond with
                        C. Edge and G. Sasson regarding same
                        (0.1); draft September fee application (0.7)
11/20/2023   KAT2       Prepare insert to monthly fee application           0.30   1,055.00    316.50
                        for September services (.2); correspond
                        with L. Koch regarding same (.1)
11/20/2023   LK19       Prepare response chart to Fee Examiner's            2.00    855.00    1,710.00
                        report on third interim fee application (1.5);
                        correspond with I. Sasson and G. Sasson
                        regarding same (0.2); prepare follow up
                        responses to Fee Examiner regarding third
                        interim application (0.3)
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Date         Initials   Description                                     Hours        Rate     Amount
11/21/2023   LK19       Correspond with C. Edge, G. Sasson, K.             2.60    855.00     2,223.00
                        Hansen, and E. Gilad regarding invoice for
                        September 2023 services (0.3); review
                        September 2023 invoice to preserve
                        confidentiality of investigation, litigation,
                        and venture targets and to preserve privilege
                        (0.4); review and comment on CoC for
                        August 2023 services (1.8); correspond with
                        J. Kochenash (YCST) and G. Sasson
                        regarding same (0.1)
11/22/2023   LK19       Review invoice for September 2023 services         2.10    855.00     1,795.50
                        to preserve confidentiality of venture,
                        investigation, and litigation targets (1.8);
                        correspond with C. Edge and G. Sasson
                        regarding same (0.3)
11/27/2023   LK19       Review and revise tenth monthly fee                1.00    855.00      855.00
                        application for PH's services (0.2);
                        correspond with G. Sasson, K. Hansen, and
                        E. Gilad regarding same (0.2); review
                        September invoice to preserve
                        confidentiality of exchange sale process
                        participants (0.2); correspond with J.
                        Kochenash (YCST) regarding same (0.2);
                        correspond with U.S. Trustee and Fee
                        Examiner regarding September invoice
                        (0.1); correspond with G. Sasson, C. Edge,
                        K. Traxler regarding October invoice (0.1)
11/28/2023   KAT2       Prepare UST Appendix B information for             0.30   1,055.00     316.50
                        October services
11/29/2023   KAT2       Correspond with T. Sadler regarding fee            0.30   1,055.00     316.50
                        matters (.1); review and comment on same
                        (.2)
11/30/2023   EG18       Meeting with Fee Examiner regarding                1.00   1,930.00    1,930.00
                        report on interim fee application
11/30/2023   ML30       Review and revise invoice for October 2023         0.20    540.00      108.00
                        services
             Subtotal: B162 Fee/Compensation Matters (Paul                33.50              35,135.00
                       Hastings)
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Date         Initials   Description                                  Hours         Rate    Amount

B165   Retention/Employment Matters (Other Professionals)
11/13/2023   LK19       Review PWP retention terms for G. Sasson         0.10    855.00      85.50
11/14/2023   JI2        Review SEC reservation of rights re Galaxy       0.40   1,160.00    464.00
                        retention (0.2); review motion re Galaxy
                        retention (0.2)
             Subtotal: B165 Retention/Employment Matters                 0.50               549.50
                       (Other Professionals)




B166   Fee/Compensation Matters (Other Professionals)
11/08/2023   LK19       Review FTI invoice for September services        0.80    855.00     684.00
                        to preserve confidentiality and privilege
             Subtotal: B166 Fee/Compensation Matters                     0.80               684.00
                       (Other Professionals)




B189   Monitoring or Participating in Related Cryptocurrency Bankruptcy
11/04/2023   FM7        Review crypto bankruptcy roundup                 0.20   1,930.00    386.00
                        regarding venture investments
11/04/2023   LK19       Analyze recent filings in crypto                 1.80    855.00    1,539.00
                        bankruptcies with respect to Committee
                        interests (1.2); summarize same for K.
                        Hansen, K. Pasquale, E. Gilad, G. Sasson
                        (0.6)
11/09/2023   JI2        Review Celsius confirmation order and            0.30   1,160.00    348.00
                        notice
11/12/2023   LK19       Analyze recent filings in related crypto         1.30    855.00    1,111.50
                        bankruptcies to inform UCC strategy (1.0);
                        summarize same for K. Hansen, K.
                        Pasquale, E. Gilad, G. Sasson (0.3)
             Subtotal: B189 Monitoring or Participating in               3.60              3,384.50
                       Related Cryptocurrency Bankruptcy
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B190   Other Contested Matters(excl. assumption/rejections motions)
11/01/2023   JI2        Discussion with L. Koch re reservation of          0.50   1,160.00    580.00
                        rights re Rothschild fee (.1); analyze
                        application of substantial contribution
                        standard (.4)
11/01/2023   LK19       Conference with J. Iaffaldano regarding            3.20    855.00    2,736.00
                        statement and reservation of rights
                        regarding AHC fee reimbursement (0.1);
                        analyze substantial contribution under
                        section 503 (1.0); draft Committee
                        statement and reservation of rights
                        regarding AHC fee reimbursement (2.1)
11/02/2023   JI2        Correspond with I. Sasson and L. Koch re           1.90   1,160.00   2,204.00
                        Rothschild reservation of rights (.3); analyze
                        authority re AHC fee reimbursement and
                        substantial contribution (1.4); conference
                        with L. Koch re same (.2)
11/02/2023   LK19       Continue drafting Committee statement and          3.10    855.00    2,650.50
                        reservation of rights regarding AHC fee
                        reimbursement (2.3); conference with J.
                        Iaffaldano regarding same (0.2); analyze
                        case law and statutory authority regarding
                        authority to file bankruptcy petitions (0.6)
11/02/2023   ML30       Correspond with F. Merola re Third Circuit         0.20    540.00     108.00
                        oral argument
11/03/2023   IS6        Call with J. Iaffaldano and L. Koch re             0.20   1,330.00    266.00
                        Rothschild reservation of rights
11/03/2023   JI2        Prepare parts of reservation of rights re          4.60   1,160.00   5,336.00
                        AHC fee reimbursement (2.0); analyze case
                        law re substantial contribution issues (2.4);
                        conference with I. Sasson and L. Koch re
                        same (.2)
11/03/2023   KP17       Analyze issues and related case law in             2.40   1,930.00   4,632.00
                        preparation for examiner Third Circuit
                        argument
11/03/2023   LK19       Revise Committee's reservation of rights           1.00    855.00     855.00
                        regarding AHC fee reimbursement (0.8);
                        conference with I. Sasson and J. Iaffaldano
                        regarding same (0.2)
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Date         Initials   Description                                    Hours        Rate     Amount
11/05/2023   KP17       Prepare issue outline for examiner oral           1.70   1,930.00    3,281.00
                        argument
11/06/2023   IS6        Review and comment on AHC fee                     0.30   1,330.00     399.00
                        reimbursement reservation of rights
11/06/2023   JI2        Review caselaw and appellate briefs in            3.40   1,160.00    3,944.00
                        preparation for examiner oral argument
                        (2.5); correspond with K. Pasquale re same
                        (.3); correspond with M. Magzamen re same
                        (.6)
11/06/2023   KP17       Continue to outline examiner oral argument        6.50   1,930.00   12,545.00
                        (2.3); review examiner appellate filings and
                        certain documents referenced therein (1.8);
                        review and revise draft response to AHC
                        reimbursement motion (2.4)
11/06/2023   LK19       Review K. Pasquale's comments regarding           0.90    855.00      769.50
                        AHC fee reimbursement reservation of
                        rights (0.2); revise AHC fee reimbursement
                        reservation of rights (0.2); analyze caselaw
                        and statutory authority regarding AHC fee
                        reimbursement per K. Pasquale's comments
                        (0.5)
11/06/2023   MM57       Correspond with J. Iaffaldano and M.              0.70    540.00      378.00
                        Laskowski re: cited items in examiner
                        appellate briefs (.1); review examiner
                        appellate briefs and research referenced
                        items (.6)
11/07/2023   IS6        Review examiner briefing in preparation for       2.30   1,330.00    3,059.00
                        Third Circuit argument
11/07/2023   JI2        Review certain examiner submissions and           2.10   1,160.00    2,436.00
                        referenced documents in preparation for
                        examiner appeal oral argument (1.5);
                        correspond with K. Pasquale re same (.2);
                        correspond with M. Magzamen re same (.4)
11/07/2023   KP17       Review cited cases, appellate record, and         7.80   1,930.00   15,054.00
                        appellate briefs and revise outline in prep
                        for examiner appeal argument (7.3); revise
                        Committee statement re AHC fee
                        reimbursement motion (.3); emails with U.S.
                        Trustee re same (.2)
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Date         Initials   Description                                   Hours        Rate    Amount
11/07/2023   LK19       Review and revise Committee's reservation        1.70    855.00    1,453.50
                        of rights regarding Ad Hoc Committee's fee
                        reimbursement motion (1.3); correspond
                        with K. Pasquale and I. Sasson regarding
                        same (0.4)
11/07/2023   MM57       Correspond with J. Iaffaldano regarding          2.30    540.00    1,242.00
                        examiner appellate filings (.1); continue
                        reviewing examiner appeal briefs and
                        researching certain referenced items for K.
                        Pasquale (2.0); correspond with D. Laskin
                        (YCST) re: same (.2)
11/08/2023   EG18       Correspond with K. Pasquale regarding            0.20   1,930.00    386.00
                        AHC fee reimbursement issues
11/08/2023   KP17       Review and supplement outline for Third          2.50   1,930.00   4,825.00
                        Circuit oral argument
11/08/2023   LK19       Review and revise Committee's reservation        1.30    855.00    1,111.50
                        of rights regarding AHC fee reimbursement
                        (0.8); correspond with K. Pasquale, I.
                        Sasson, and R. Poppiti (YCST) regarding
                        same (0.5)
11/09/2023   KP17       Review pro se objection to AHC fee               0.80   1,930.00   1,544.00
                        reimbursement motion (.3); review J. Ray
                        declaration regarding to AHC fee
                        reimbursement motion (.2); conference with
                        L. Koch re same (.3)
11/09/2023   LK19       Conference with K. Pasquale regarding            0.30    855.00     256.50
                        AHC fee reimbursement motion and
                        related J. Ray declaration
11/10/2023   JI2        Review U.S. Trustee objection to AHC fee         0.50   1,160.00    580.00
                        reimbursement (.4); correspond with K.
                        Pasquale and K. Catalano re same (.1)
11/10/2023   KP17       Analyze U.S. Trustee objection to AHC            0.40   1,930.00    772.00
                        reimbursement agreement
11/10/2023   ML30       Review issues regarding Third Circuit            0.30    540.00     162.00
                        examiner hearing
11/12/2023   IS6        Review U.S. Trustee objection to AHC fee         0.50   1,330.00    665.00
                        reimbursement motion, Debtor reply, and
                        AHC joinder
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Date         Initials   Description                                     Hours         Rate     Amount
11/12/2023   JI2        Review debtors' reply in support of AHC             0.50   1,160.00     580.00
                        fee reimbursement motion and AHC
                        joinder re same
11/12/2023   KP17       Analyze debtors' reply and AHC joinder to           0.90   1,930.00    1,737.00
                        AHC reimbursement motion
11/14/2023   IS6        Analyze pro se property funding                     1.00   1,330.00    1,330.00
11/14/2023   JI2        Review Third Circuit filing re examiner             0.20   1,160.00     232.00
                        argument (.1); correspond with K. Pasquale
                        re same (.1)
11/28/2023   JI2        Review transcript of examiner argument;             0.50   1,160.00     580.00
                        email R. Poppiti (YCST) re erratas to same
11/28/2023   KP17       Review draft transcript and errata re               0.50   1,930.00     965.00
                        examiner appeal
11/30/2023   LK19       Review and comment on CoC for                       0.20    855.00      171.00
                        Committee members' expense
                        reimbursement
             Subtotal: B190 Other Contested Matters(excl.                  57.40              79,825.50
                       assumption/rejections motions)




B191   General Litigation
11/01/2023   AY8        Meeting with L. Koch about motion to                0.40    800.00      320.00
                        dismiss
11/01/2023   FM7        Review bankruptcy litigation roundup with           0.20   1,930.00     386.00
                        respect to committee interests
11/01/2023   IS6        Call with FTI, K. Pasquale, and J.                  1.30   1,330.00    1,729.00
                        Iaffaldano re BlockFi mediation analysis
                        (.5); review Bahamas settlement agreement
                        (.8)
11/01/2023   JI2        Analyze BlockFi preference issues (.8);             1.60   1,160.00    1,856.00
                        revise draft presentation re BlockFi
                        preference issues (.3); call with B. Bromberg
                        (FTI), K. Pasquale, and I. Sasson re draft
                        preference presentation (.5)
11/01/2023   JI2        Review summary of SBF criminal trial                0.30   1,160.00     348.00
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Date         Initials   Description                                      Hours       Rate    Amount
11/01/2023   KP17       Analyze draft Bahamas term sheet (1.9);            3.70   1,930.00   7,141.00
                        review select excerpts from SBF trial
                        transcripts (1.8)
11/01/2023   KP17       Call with S. Rand re [5145] litigation             0.20   1,930.00    386.00
11/01/2023   KP17       Call with FTI, I. Sasson and J. Iaffaldano re:     0.50   1,930.00    965.00
                        BlockFi analysis
11/01/2023   KC27       Analyze case law regarding avoidance action        0.80    940.00     752.00
                        defenses
11/01/2023   LK19       Meeting with A. Yu regarding motion to             2.50    855.00    2,137.50
                        dismiss legal questions (0.4); analyze recent
                        filings in adversary proceedings (0.9);
                        summarize same for K. Hansen, K.
                        Pasquale, E. Gilad, G. Sasson (1.2)
11/01/2023   ML30       Litigation Update - Monitor pending                1.20    540.00     648.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.4); review recent
                        filings and prepare end of day summary for
                        working group (.3); correspond with K.
                        Pasquale re SBF trial transcripts from
                        10/30/23 and 10/31/23 (.2); correspond
                        with debtors' counsel re same (.1); review
                        and prepare same for K. Pasquale (.2)
11/02/2023   AY8        Analyze motion to dismiss issues and               4.80    800.00    3,840.00
                        related case law and statutory authority
11/02/2023   AY8        Correspond with L. Koch regarding motion           0.10    800.00      80.00
                        to dismiss
11/02/2023   KP17       Continued review of select excerpts from           2.50   1,930.00   4,825.00
                        SBF trial transcripts (1.4); review update
                        summary of adversary proceedings (.3);
                        review certain cited pleadings in adversary
                        proceeding summary (.8)
11/02/2023   ML30       Litigation Update - Monitor pending                0.90    540.00     486.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.4); review recent
                        filings and prepare end of day summary for
                        working group (.3); update case calendars
                        (.2)
11/03/2023   KP17       Review Embed motion to dismiss joinders            0.30   1,930.00    579.00
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Date         Initials   Description                                    Hours         Rate    Amount
11/03/2023   ML30       Litigation Update - Monitor pending                0.70    540.00     378.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.4); review recent
                        filings and prepare end of day summary for
                        working group (.3)
11/06/2023   AY8        Analyze motion to dismiss issues and               4.30    800.00    3,440.00
                        related case law
11/06/2023   JI2        Review small claims settlements                    0.80   1,160.00    928.00
11/06/2023   KP17       Participate in mediation conference with           0.30   1,930.00    579.00
                        parties, mediator re Bahamas
11/06/2023   LK19       Analyze legal and statutory authority              1.20    855.00    1,026.00
                        regarding filing bankruptcy petition in
                        connection with motion to dismiss
11/06/2023   ML30       Litigation Update - Monitor pending                0.70    540.00     378.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.4); review recent
                        filings and prepare end of day summary for
                        working group (.3)
11/07/2023   AY8        Continue analyzing motion to dismiss issues        0.50    800.00     400.00
                        and related case law
11/07/2023   JI2        Review preference settlements                      0.40   1,160.00    464.00
11/07/2023   KH18       Review Bahamas term sheet updates and              1.10   2,135.00   2,348.50
                        documents
11/07/2023   LK19       Review caselaw and statutory authority             1.00    855.00     855.00
                        regarding authority to file bankruptcy
                        petition (0.7); prepare memo for K.
                        Pasquale and I. Sasson regarding same (0.3)
11/07/2023   ML30       Litigation Update - Monitor pending                0.60    540.00     324.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.3); review recent
                        filings and prepare end of day summary for
                        working group (.3)
11/08/2023   FM7        Analyze bankruptcy litigation roundup with         0.20   1,930.00    386.00
                        respect to UCC interests
11/08/2023   JI2        Analyze litigation settlement (2.1);               2.30   1,160.00   2,668.00
                        correspond with K. Pasquale and G. Sasson
                        re same (.2)
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Date         Initials   Description                                     Hours        Rate    Amount
11/08/2023   LK19       Analyze caselaw and statutory authority            1.70    855.00    1,453.50
                        regarding acquiescence and ratification of
                        corporate acts (1.3); draft memo to K.
                        Pasquale and I. Sasson regarding same (0.4)
11/08/2023   LK19       Analyze recent filings in adversary                1.20    855.00    1,026.00
                        proceedings and appeals with respect to
                        Committee interests (0.7); summarize same
                        for K. Hansen, K. Pasquale, E. Gilad, G.
                        Sasson (0.5)
11/08/2023   ML30       Litigation Update - Monitor pending                1.10    540.00     594.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.3); review recent
                        filings and prepare end of day summary for
                        working group (.3); correspond with
                        Debtors re SBF trial transcripts (.2); review
                        and prepare same for K. Pasquale (.3)
11/09/2023   IS6        Review and comment on Mirana/Bybit                 1.40   1,330.00   1,862.00
                        complaint
11/09/2023   JI2        Review notice of settled claims (.2);              2.90   1,160.00   3,364.00
                        correspond with K. Pasquale re same (.2);
                        analyze settlement issues re same (1.8);
                        prepare email to UCC re 5142 settlements
                        (.7)
11/09/2023   KP17       Analyze debtors' draft complaint and               4.70   1,930.00   9,071.00
                        certain database documents re [5144] (2.3);
                        review proposed Debtors' settlements and
                        [5142] settlement (.6); revise draft email to
                        Committee re same (.2); review memo and
                        related pleadings re estate adversary
                        proceedings (.7); review JPLs' revisions to
                        draft settlement agreement (.9)
11/09/2023   KH18       Review litigation updates from K. Pasquale         0.60   2,135.00   1,281.00
11/09/2023   LK19       Analyze case law and statutory authority           2.40    855.00    2,052.00
                        regarding acquiescence of unauthorized
                        corporate acts
11/09/2023   ML30       Litigation Update - Monitor pending                0.60    540.00     324.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.3); review recent
                        filings and prepare end of day summary for
                        working group (.3)
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Date         Initials   Description                                   Hours         Rate    Amount
11/10/2023   KP17       Analyze draft Bahamas settlement                  1.30   1,930.00   2,509.00
                        agreement (.8); review as-filed Bybit
                        complaint (.5)
11/10/2023   ML30       Litigation Update - Monitor pending               0.60    540.00     324.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.3); review recent
                        filings and prepare end of day summary for
                        working group (.3)
11/11/2023   JI2        Analyze 5142 settlement issues                    1.20   1,160.00   1,392.00
11/11/2023   JI2        Review adversary complaint re Bybit               0.70   1,160.00    812.00
11/12/2023   JI2        Analyze issues re 5142 settlement                 0.80   1,160.00    928.00
11/12/2023   KP17       Further analyze, per Committee inquiries,         0.80   1,930.00   1,544.00
                        proposed settlements re [5142]
11/13/2023   JI2        Analyze issues re proposed preference             3.10   1,160.00   3,596.00
                        settlement
11/13/2023   JI2        Review Bybit adversary proceeding (.7);           1.10   1,160.00   1,276.00
                        revise summary of same (.4)
11/13/2023   KH18       Analyze certain provisions in Bahamas term        1.00   2,135.00   2,135.00
                        sheet and next steps in mediation
11/13/2023   LK19       Analyze recent filings in Bybit adversary         2.70    855.00    2,308.50
                        proceeding (2.0); prepare summary of same
                        for K. Hansen, K. Pasquale, E. Gilad, G.
                        Sasson (0.4); correspond with J. Iaffaldano
                        and K. Pasquale regarding same (0.3)
11/13/2023   ML30       Litigation Update - Monitor pending               1.00    540.00     540.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.3); review recent
                        filings and prepare end of day summary for
                        working group re same (.3); correspond
                        with L. Miliotes re documents needed from
                        FLSD MDL cases (.1); research re same
                        (.2); follow up correspondence with L.
                        Miliotes re same (.1)
11/13/2023   MEG9       Review documents on Bybit and Mirana              0.50   1,470.00    735.00
                        adversary complaint
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Date         Initials   Description                                    Hours       Rate    Amount
11/14/2023   JI2        Review rule 9019 motion re EV US (.7);           5.50   1,160.00   6,380.00
                        review notice of settlement re EV UK (.1);
                        analyze settlements with EV US and EV
                        UK (1.6); prepare email to Committee re
                        settlement issues (1.2); conference with K.
                        Pasquale re same (.2); analyze Platform Life
                        Sciences adversary proceeding claims in
                        connection with EV settlement releases
                        (1.7)
11/14/2023   KP17       Analyze debtors' rule 9019 motion re 5142        3.40   1,930.00   6,562.00
                        USA (.6); analyze 5142 settlement issues
                        (.3); conference with J. Iaffaldano re same
                        (.2); review debtors' notice of settlements
                        (.1); analyze debtors' opposition to K5
                        defendants' motion to dismiss (1.3); analyze
                        pro se S. Cater motion re property interests
                        (.9)
11/14/2023   KH18       Review and comment on litigation memo            1.10   2,135.00   2,348.50
                        on 5048
11/14/2023   ML30       Litigation Update - Monitor pending              1.10    540.00     594.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.3); review recent
                        filings and prepare end of day summary for
                        working group re same (.3); correspond
                        with J. Iaffaldano re documents needed re
                        Alameda v Platform (.2); research re same
                        (.2); follow up correspondence with J.
                        Iaffaldano re same (.1)
11/15/2023   IS6        Analyze Bahamas settlement agreement             0.80   1,330.00   1,064.00
11/15/2023   JI2        Analyze Gruhn adversary proceeding (1.2);        1.50   1,160.00   1,740.00
                        correspond with K. Pasquale re intervention
                        in same (.3)
11/15/2023   ML30       Litigation Update - Monitor pending              0.60    540.00     324.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.3); review recent
                        filings and prepare end of day summary for
                        working group re same (.3)
11/16/2023   IS6        Correspond with K. Pasquale re Bahamas           0.40   1,330.00    532.00
                        comments
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Date         Initials   Description                                      Hours       Rate    Amount
11/16/2023   JI2        Analyze issues re 5142 settlement (.5);            0.70   1,160.00    812.00
                        correspond with K. Pasquale re same (.2)
11/16/2023   KP17       Analyze debtors' edits to draft Bahamas            1.80   1,930.00   3,474.00
                        agreement
11/16/2023   ML30       Litigation Update - Monitor pending                0.60    540.00     324.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.3); review recent
                        filings and prepare end of day summary for
                        working group re same (.3)
11/17/2023   JI2        Analyze issues re adversary proceeding             1.80   1,160.00   2,088.00
                        intervention (.3); review draft motion to
                        intervene (.4); analyze issues re section 1109
                        in connection with same (.5); correspond
                        with K. Pasquale re same (.2); correspond
                        with Lorem Ipsum AP defendants re same
                        (.4)
11/17/2023   KP17       Review pleadings, motions re Gruhn                 3.70   1,930.00   7,141.00
                        litigation in connection with Committee
                        intervention (1.7); analyze certain SBF trial
                        exhibits per Committee inquiries (2.0)
11/18/2023   ML30       Litigation Update - Monitor pending                0.40    540.00     216.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.2); review recent
                        filings and prepare end of day summary for
                        working group re same (.2)
11/19/2023   KP17       Analyze debtors' further edits to draft            1.40   1,930.00   2,702.00
                        Bahamas settlement agreement (.8); analyze
                        Lotscher's motion to dismiss FTX EU
                        bankruptcy case (.6)
11/20/2023   JI2        Correspond with K. Pasquale and Lorem              0.90   1,160.00   1,044.00
                        Ipsum adversary proceeding defendants re
                        intervention
11/20/2023   KP17       Analyze Bahamas draft settlement                   0.80   1,930.00   1,544.00
                        agreement
11/20/2023   KH18       Analyze and comment on Bahamas terms               0.40   2,135.00    854.00
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Date         Initials   Description                                      Hours      Rate     Amount
11/20/2023   ML30       Litigation Update - Monitor pending               0.40    540.00      216.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.2); review recent
                        filings and prepare end of day summary for
                        working group re same (.2)
11/21/2023   JI2        Correspond with counsel to Burgess                2.90   1,160.00    3,364.00
                        adversary proceeding defendants re
                        Committee intervention (.4); review
                        complaint re same (1.1); draft agreed order
                        re intervention (1.4)
11/21/2023   KP17       Analyze Burgess defendants' motion to             6.90   1,930.00   13,317.00
                        dismiss adversary complaint (1.6); analyze
                        defenses asserted and related authority (2.6);
                        correspond with J. Iaffaldano re Burgess
                        adversary proceeding intervention issues
                        (.3); review Bahamas third interim report
                        (1.1); analyze information re pending
                        motions to dismiss re corporate authority
                        (1.3)
11/21/2023   ML30       Litigation Update - Monitor pending               0.40    540.00      216.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.2); review recent
                        filings and prepare end of day summary for
                        working group re same (.2)
11/21/2023   ML30       Correspond with K. Pasquale re JPL update         0.30    540.00      162.00
                        and filings (.1); research re same (.2)
11/22/2023   JI2        Revise draft order re intervention in             0.80   1,160.00     928.00
                        adversary proceeding
11/22/2023   KP17       Participate in mediation conference re            1.10   1,930.00    2,123.00
                        Bahamas (.3); analyze certain documents re
                        Bahamas interim report (.8)
11/22/2023   ML30       Litigation Update - Monitor pending               0.40    540.00      216.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.2); review recent
                        filings and prepare end of day summary for
                        working group re same (.2)
11/24/2023   KP17       Analyze recent pleadings and updates in           2.20   1,930.00    4,246.00
                        debtors' avoidance adversary proceedings re
                        potential intervention
11/27/2023   KP17       Analyze debtors' reply to Grayscale motion        0.30   1,930.00     579.00
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11/27/2023   ML30       Litigation Update - Monitor pending               0.40    540.00     216.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.2); review recent
                        filings and prepare end of day summary for
                        working group re same (.2)
11/28/2023   JI2        Correspond with Lorem Ipsum defendants            2.80   1,160.00   3,248.00
                        counsel re intervention and proposed order
                        re same (.4); revise draft intervention order
                        (1.4); correspond with K. Pasquale re
                        revised intervention order (.5); correspond
                        with R. Poppiti re related certification of
                        counsel (.5)
11/28/2023   KP17       Analyze legal issues and precedent re             3.90   1,930.00   7,527.00
                        potential coin valuation litigation (3.2);
                        conference with L. Koch re same (.2);
                        review proposed comments re Lorem
                        Ipsum intervention (.2); emails with parties
                        re Lorem Ipsum motion to dismiss schedule
                        (.2); call with S. Ehrenberg re same (.1)
11/28/2023   LK19       Conference with K. Pasquale regarding             0.40    855.00     342.00
                        claims valuation under section 562 (0.2);
                        analyze statutory authority and case law
                        regarding claims valuation under section
                        562 (0.2)
11/28/2023   ML30       Litigation Update - Monitor pending               0.60    540.00     324.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.2); review recent
                        filings and prepare end of day summary for
                        working group re same (.2); correspond
                        with L. Miliotes re docket review in FLSD
                        MDL matter (.1); review FLSD MDL
                        docket and follow up correspondence with
                        L. Miliotes re same (.1)
11/29/2023   JI2        Analyze issues re intervention in adversary       6.20   1,160.00   7,192.00
                        proceeding (3.5); revise draft order re
                        intervention in Lorem Ipsum adversary
                        (1.0); call with Lorem Ipsum defendants re
                        intervention and case management (.6);
                        emails with Defendants’ counsel re same
                        (1.1)
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11/29/2023   KP17       Review and revise draft protective order in      4.50   1,930.00     8,685.00
                        EU adversary proceeding (.7); emails and
                        call with parties re CMO and intervention
                        (1.0); analyze certain expert foundation
                        documents re coin valuation issues (2.8)
11/29/2023   LK19       Analyze case law and statutory authority         0.50    855.00       427.50
                        regarding valuation of claims under section
                        562
11/29/2023   ML30       Litigation Update - Monitor pending              0.40    540.00       216.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.2); review recent
                        filings and prepare end of day summary for
                        working group re same (.2)
11/30/2023   ML30       Litigation Update - Monitor pending              0.40    540.00       216.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.2); review recent
                        filings and prepare end of day summary for
                        working group re same (.2)
11/30/2023   ML30       Correspond with K. Pasquale re motions to        0.90    540.00       486.00
                        dismiss re FTX Ltd. and MacLaurin (.2);
                        research re same (.4); prepare update on
                        motions to dismiss re FTX Ltd. and
                        MacLaurin and related deadlines (.2);
                        correspond with K. Pasquale re same and
                        supporting documents (.1)
             Subtotal: B191 General Litigation                        130.40               173,770.00




B195   Non-Working Travel
11/08/2023   IS6        Travel to Philadelphia from NY and back          4.00    665.00      2,660.00
                        for examiner hearing (bill at 1/2 rate)
11/08/2023   KP17       Return travel from Philadelphia to NY after      1.00    965.00       965.00
                        oral argument (bill at 1/2 rate)
11/15/2023   KP17       Return travel from court hearing in              2.00    965.00      1,930.00
                        Wilmington, DE to NY (bill at 1/2 rate)
11/15/2023   LK19       Travel to Wilmington, DE from NYC for            2.00    427.50       855.00
                        November omnibus hearing (bill at 1/2
                        rate)
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Date         Initials   Description                                  Hours        Rate    Amount
             Subtotal: B195 Non-Working Travel                          9.00              6,410.00




B210   Business Operations
11/06/2023   LK19       Draft minutes for 11/01/23 Committee            0.70    855.00     598.50
                        meeting (0.5); correspond with K. Pasquale
                        regarding same (0.1); revise minutes for
                        11/01/23 Committee meeting per K.
                        Pasquale's comments (0.1)
11/12/2023   LK19       Draft minutes of 11/08/23 Committee             1.00    855.00     855.00
                        meeting (0.8); correspond with K. Pasquale
                        and G. Sasson regarding same (0.2)
11/20/2023   LK19       Draft minutes of 11/16/23 Committee             0.90    855.00     769.50
                        meeting
11/21/2023   LK19       Continue drafting minutes for 11/16/23          0.70    855.00     598.50
                        Committee meeting (0.5); correspond with
                        K. Pasquale regarding same (0.2)
11/28/2023   LK19       Draft minutes of 11/22/23 Committee             0.50    855.00     427.50
                        meeting
11/29/2023   LK19       Continue drafting minutes for 11.22.23          0.60    855.00     513.00
                        Committee meeting (0.5); email G. Sasson
                        regarding same (0.1)
             Subtotal: B210 Business Operations                         4.40              3,762.00




B211   Financial Reports (Monthly Operating Reports)
11/15/2023   JI2        Review monthly operating report                 0.20   1,160.00    232.00
             Subtotal: B211 Financial Reports (Monthly                  0.20               232.00
                       Operating Reports)




B215   Regulatory Matters
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Date         Initials   Description                                       Hours       Rate    Amount
11/01/2023   CD5        Call with E. Gilad, E. Sibbitt, LK                  0.50   1,750.00    875.00
                        Greenbacker, M. Griffin, S. Quattrocchi, K.
                        Fedler and D. Holden regarding FTX 2.0
                        due diligence on bidders
11/01/2023   DMP4       Participate in call with E. Gilad, E. Sibbitt,      0.50   1,470.00    735.00
                        C. Daniel, LK Greenbacker, M. Griffin, S.
                        Quattrocchi, K. Fedler regarding FTX 2.0
                        regulatory diligence
11/01/2023   EG18       Telephone conference with E. Sibbitt, C.            0.50   1,930.00    965.00
                        Daniel, L. Greenbacker, M. Griffin, K.
                        Fedler, D. Holden, S. Quattrocchi regarding
                        FTX 2.0 and plan
11/01/2023   EG18       Telephone conference with Jefferies                 1.00   1,930.00   1,930.00
                        regarding FTX 2.0
11/01/2023   ECS3       Participate in call with E. Gilad, C. Daniel,       0.50   1,595.00    797.50
                        L. Greenbacker, M. Griffin, S. Quattrocchi,
                        K. Fedler, and D. Holden regarding 2.0
                        bidder regulatory diligence
11/01/2023   ECS3       Analyze regulatory issues with 6003 bid             0.90   1,595.00   1,435.50
11/01/2023   FM7        Review E. Gilad correspondence regarding            0.20   1,930.00    386.00
                        6001 RRT
11/01/2023   KF6        Conference with E. Gilad, C. Daniel, E.             1.20    855.00    1,026.00
                        Sibbitt, D. Holden, LK Greenbacker, M.
                        Griffin, and S. Quattrocchi in connection
                        with regulatory review of FTX 2.0 bids
                        (0.5); review bidder data room (0.7)
11/01/2023   LED        Attend FTX 2.0 sync with E. Gilad, E.               3.50   1,470.00   5,145.00
                        Sibbitt, D. Holden, C. Daniel, S.
                        Quattrocchi, M. Griffin and K. Fedler
                        regarding bidder regulatory diligence and
                        analysis (.5); attend call with S. Quattrocchi,
                        M. Griffin and M. Spafford regarding 6003
                        CFTC analysis (.6); correspond with C.
                        Daniel and E. Sibbitt regarding regulatory
                        diligence of 6001 (.7); analyze and revise
                        matrix on 6001 regulatory items (1.7)
11/01/2023   MEG9       Call on FTX 2.0 regulatory diligence with E.        0.50   1,470.00    735.00
                        Gilad, E. Sibbitt, C. Daniel, LK
                        Greenbacker, S. Quattrocchi, K. Fedler and
                        D. Holden
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11/01/2023   MEG9       Review 6003 and 6002 documents (1.1);             1.30   1,470.00   1,911.00
                        draft email to J. May regarding 6003
                        securities registrations (0.2)
11/01/2023   MEG9       Review bidder diligence information to            0.50   1,470.00    735.00
                        prepare for calls on FTX 2.0
11/01/2023   MEG9       Call with M. Spafford, S. Quattrocchi, and        0.60   1,470.00    882.00
                        LK Greenbacker on bidder diligence for
                        FTX 2.0 regarding CFTC registrations
11/01/2023   MLS7       Telephone conference with M. Griffin, L.          0.90   1,930.00   1,737.00
                        Greenbacker, and S. Quattrocchi regarding
                        CFTC issues regarding FTX 2.0 (.6); analyze
                        business and licenses of bidders (.3)
11/01/2023   SAQ        Conference with M. Spafford, M. Griffin,          0.60   1,160.00    696.00
                        and L. Greenbacker regarding CFTC
                        considerations for FTX 2.0 operations
11/01/2023   SAQ        Prepare correspondence to M. Griffin and          0.30   1,160.00    348.00
                        K. Fedler regarding FINRA considerations
                        for 6003 FTX 2.0 bid
11/01/2023   SAQ        Conference with E. Gilad, E. Sibbitt, C.          0.50   1,160.00    580.00
                        Daniel, LK Greenbacker, M. Griffin, K.
                        Fedler and D. Holden regarding regulatory
                        analysis of FTX 2.0 bids
11/01/2023   SAQ        Correspond with L. Greenbacker regarding          0.10   1,160.00    116.00
                        FTX 2.0 regulatory analysis overview
11/02/2023   BL10       Participate in 2.0 call with G. Sasson, E.        0.90   1,330.00   1,197.00
                        Sibbitt, C. Daniel, B. Kelly, M. Griffin, LK
                        Greenbacker, D. Holden, I. Sasson, F.
                        Merola, S. Quattrocchi and C. Xu (.5);
                        summarize issues discussed on call and
                        suggested next steps for E. Gilad (.4)
11/02/2023   BL10       Review regulatory diligence and open FTX          0.60   1,330.00    798.00
                        2.0 issues
11/02/2023   BK12       Participate in update call re: 2.0 with G.        0.50   1,675.00    837.50
                        Sasson, E. Sibbitt, C. Daniel, B. Levine, M.
                        Griffin, LK Greenbacker, D. Holden, I.
                        Sasson, F. Merola, S. Quattrocchi and C. Xu
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Date         Initials   Description                                      Hours       Rate    Amount
11/02/2023   CD5        Prepare correspondence to K. Hansen, E.            0.80   1,750.00   1,400.00
                        Gilad, G. Sasson regarding due diligence
                        matrix on 6001 and onboarding process for
                        4005
11/02/2023   CD5        Call with G. Sasson, E. Sibbitt, B. Kelly, B.      0.50   1,750.00    875.00
                        Levine, M. Griffin, LK Greenbacker, D.
                        Holden, I. Sasson, F. Merola, S.
                        Quattrocchi and C. Xu regarding FTX 2.0
                        and issues to be resolved in collaboration
                        with S&C
11/02/2023   CD5        Debtor call debrief with LK Greenbacker            0.40   1,750.00    700.00
                        on action items regarding FTX 2.0
11/02/2023   CX3        Telephone conference with G. Sasson, E.            0.50    940.00     470.00
                        Sibbitt, C. Daniel, B. Kelly, B. Levine, M.
                        Griffin, LK Greenbacker, D. Holden, I.
                        Sasson, F. Merola, and S. Quattrocchi on
                        FTX 2.0
11/02/2023   DMP4       Prepare notes for PH FTX 2.0 call (.1);            0.60   1,470.00    882.00
                        participate in FTX 2.0 call with G. Sasson,
                        E. Sibbitt, C. Daniel, B. Kelly, B. Levine, M.
                        Griffin, LK Greenbacker, I. Sasson, F.
                        Merola, S. Quattrocchi and C. Xu (.5)
11/02/2023   ECS3       Review SEC and FINRA filings related to            0.60   1,595.00    957.00
                        6003 bid
11/02/2023   ECS3       Analyze and comment on regulatory issues           1.10   1,595.00   1,754.50
                        for 6001 bid (.6); call with G. Sasson, B.
                        Kelly, C. Daniel, B. Levine, F. Merola, M.
                        Griffin, L. Greenbacker, D. Holden, S.
                        Quattrocchi, C. Xu, I. Sasson regarding 2.0
                        bids and related regulatory issues (.5)
11/02/2023   FM7        Telephone conference with G. Sasson, E.            0.90   1,930.00   1,737.00
                        Sibbitt, C. Daniel, B. Kelly, B. Levine, M.
                        Griffin, LK Greenbacker, D. Holden, I.
                        Sasson, S. Quattrocchi and C. Xu re reboot
                        (0.5); review C. Daniel correspondence re
                        6001 compliance posture (0.2); review B.
                        Levine correspondence re reboot issues
                        (0.2)
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Date         Initials   Description                                      Hours       Rate    Amount
11/02/2023   GS13       Conferences with K. Hansen regarding               0.90   1,675.00   1,507.50
                        FTX 2.0 call with debtors and Ad Hoc
                        Group (.4); follow-up telephone conference
                        with E. Sibbitt, C. Daniel, B. Kelly, B.
                        Levine, M. Griffin, LK Greenbacker, D.
                        Holden, I. Sasson, F. Merola, S.
                        Quattrocchi and C. Xu regarding FTX 2.0
                        and debtors' comments on same (.5)
11/02/2023   GK6        Review and prepare FTX 2.0 analysis                3.50    940.00    3,290.00
                        regarding legal implications if the exchange
                        is rebooted outside of the U.S., including
                        the duty of inquiry required by the offshore
                        exchange to look into whether that
                        person/entity is a U.S. “person“ for E.
                        Sibbitt
11/02/2023   IS6        Participate in FTX 2.0 call with G. Sasson,        0.50   1,330.00    665.00
                        E. Sibbitt, C. Daniel, B. Kelly, B. Levine, M.
                        Griffin, LK Greenbacker, D. Holden, F.
                        Merola, S. Quattrocchi and C. Xu
11/02/2023   JM16       Correspond with E. Sibbitt and M. Griffin          0.80   1,700.00   1,360.00
                        regarding FINRA membership rule and
                        registration status in connection with FTX
                        2.0 (.2); review FINRA interpretative
                        memos (.6)
11/02/2023   KH18       Analyze regulatory issues related to FTX 2.0       2.20   2,135.00   4,697.00
                        bidders and bids (1.8); calls with G. Sasson
                        regarding 2.0 discussions with debtors and
                        ad hoc group (0.4)
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Date         Initials   Description                                   Hours         Rate    Amount
11/02/2023   LED        Prepare regulatory analysis on 6001 (.8);         4.50   1,470.00   6,615.00
                        prepare analysis regarding KYC process and
                        regulatory questions arising out of bid
                        document (.7); attend call with C. Daniel
                        regarding FTX 2.0 regulatory considerations
                        (.4); review enforcement actions and
                        regulatory status of Gibraltar entities in
                        connection with 6001 bid (1.4); attend call
                        with E. Sibbitt, G. Sasson, C. Daniel, B.
                        Kelly, B. Levine, M. Griffin, D. Holden, I.
                        Sasson, F. Merola, S. Quattrocchi and C. Xu
                        regarding 2.0 process (.5); review CFIUS
                        issues in connection with prior bankruptcy
                        sales (.7)
11/02/2023   MEG9       Review bid and licensing documents in             3.30   1,470.00   4,851.00
                        connection with 2.0 reverse regulatory
                        diligence (3.1); draft email to M. Spafford
                        regarding commodities licenses ( 0.2)
11/02/2023   MEG9       Call on 2.0 next steps with G. Sasson, E.         0.50   1,470.00    735.00
                        Sibbitt, C. Daniel, B. Kelly, B. Levine, LK
                        Greenbacker, D. Holden, I. Sasson, F.
                        Merola, S. Quattrocchi and C. Xu
11/02/2023   MLS7       Correspond with M. Griffin regarding FTX          0.10   1,930.00    193.00
                        2.0 bidders
11/02/2023   RVJ        Correspond with LK Greenbacker                    0.10   1,520.00    152.00
                        regarding CFIUS analysis of 2.0 transaction
11/02/2023   SAQ        Correspond with C. Daniel regarding 6001          0.10   1,160.00    116.00
                        regulatory matrix
11/02/2023   SAQ        Analyze CFTC/NFA licenses and                     0.80   1,160.00    928.00
                        registrations for each FTX 2.0 bidder (.5);
                        prepare summary of findings for M. Griffin
                        (.3)
11/02/2023   SAQ        Correspond with M. Griffin regarding              0.10   1,160.00    116.00
                        takeaways from conference with M.
                        Spafford and CFTC considerations for FTX
                        2.0
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Date         Initials   Description                                    Hours        Rate    Amount
11/02/2023   SAQ        Conference with E. Sibbitt, G. Sasson, C.         0.50   1,160.00    580.00
                        Daniel, B. Kelly, B. Levine, M. Griffin, LK
                        Greenbacker, D. Holden, I. Sasson, F.
                        Merola, and C. Xu regarding FTX 2.0
                        regulatory considerations
11/03/2023   AAN1       Review and revise U.S. jurisdictional matrix      0.80   1,270.00   1,016.00
                        with respect to FTX 2.0
11/03/2023   AAN1       Analyze U.S. jurisdictional matrix with           0.80   1,270.00   1,016.00
                        respect to FTX 2.0
11/03/2023   DMP4       Review correspondence from C. Daniel              0.90   1,470.00   1,323.00
                        regarding regulatory diligence efforts and
                        past approaches to KYC
11/03/2023   KF6        Review 2.0 bidder diligence documents             0.70    855.00     598.50
                        regarding information on the proposed
                        acquiring entity
11/03/2023   KP17       Review and comment on PH analysis of 2.0          0.60   1,930.00   1,158.00
                        regulatory issues and due diligence
11/03/2023   LED        Analyze potential foreign direct investment       3.60   1,470.00   5,292.00
                        and CFIUS issues (1.4); prepare summary of
                        technology and foreign ownership for
                        purposes of CFIUS review (2.2)
11/03/2023   RVJ        Correspond with LK Greenbacker                    0.20   1,520.00    304.00
                        regarding CFIUS analysis of transaction
11/03/2023   SAQ        Prepare correspondence to L. Greenbacker          0.20   1,160.00    232.00
                        regarding CFIUS considerations for FTX
                        2.0
11/05/2023   KF6        Review diligence documents provided by            0.80    855.00     684.00
                        2.0 bidder
11/06/2023   CD5        Review FTX creditor's letter to UCC               0.30   1,750.00    525.00
                        regarding FTX 2.0 requirements
11/06/2023   CD5        Conference with LK Greenbacker regarding          0.40   1,750.00    700.00
                        potential CFIUS issues for the 2.0 bidders
11/06/2023   DMP4       Review and respond to correspondence              0.30   1,470.00    441.00
                        from L. Greenbacker regarding potential
                        CFIUS considerations
11/06/2023   FM7        Review L. Greenbacker correspondence              0.20   1,930.00    386.00
                        regarding CFIUS
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Date         Initials   Description                                    Hours        Rate    Amount
11/06/2023   KH18       Analyze and comment on FTX 2.0 process            0.90   2,135.00   1,921.50
                        and bidder documents
11/06/2023   LED        Review CFIUS implications for bids (.8);          2.90   1,470.00   4,263.00
                        discussion with R. Johnston regarding same
                        (.3); debrief with C. Daniel regarding
                        CFIUS implications for bids (.4); review
                        CFIUS filings on bankruptcy dockets (.3);
                        correspond with I. Sasson regarding foreign
                        governmental authority considerations for
                        2.0 bids and bidders (.3); prepare
                        correspondence to E. Gilad regarding
                        regulatory considerations pertaining to
                        bidders (.8)
11/06/2023   RVJ        Conduct CFIUS analysis of potential               0.60   1,520.00    912.00
                        acquisitions (.3); conference with LK
                        Greenbacker regarding same (.3)
11/07/2023   AAN1       Analyze and revise charts regarding U.S.          1.90   1,270.00   2,413.00
                        persons and non-U.S. persons definition
                        related to FTX 2.0 bidders (1.6); conference
                        with E. Sibbitt and G. Khoury regarding
                        same (.3)
11/07/2023   BK12       Review 2.0 regulatory analysis emails and         1.70   1,675.00   2,847.50
                        attachments from C. Daniel and LK
                        Greenbacker (0.2); follow-up analysis re:
                        regulatory issues raised (1.5)
11/07/2023   CD5        Conference with LK Greenbacker regarding          0.40   1,750.00    700.00
                        CFIUS issue (.3); correspond with E. Gilad,
                        G. Sasson, B. Kelly on compliance due
                        diligence (.1)
11/07/2023   CX3        Review correspondence from B. Kelly, C.           0.50    940.00     470.00
                        Daniel and L. Greenbacker on regulatory
                        issues on FTX 2.0 final bid
11/07/2023   CC38       Correspond with L. Greenbacker about              0.50    940.00     470.00
                        CFIUS diligence related to 2.0 bids (.2);
                        review CFIUS diligence questions (.3)
11/07/2023   EG18       Correspond with G. Sasson, B. Kelly, E.           0.30   1,930.00    579.00
                        Sibbitt regarding FTX 2.0, regulatory
                        compliance, and plan related matters
11/07/2023   EG18       Analyze FTX 2.0 bid issues and structure          2.20   1,930.00   4,246.00
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11/07/2023   ECS3       Review bidder regulatory matrix and               2.00   1,595.00   3,190.00
                        regulatory overview analysis (1.7);
                        conference with G. Khoury and A.
                        Nizamian regarding same (.3)
11/07/2023   FM7        Correspond with C. Daniel and L.                  0.20   1,930.00    386.00
                        Greenbacker regarding CFIUS and 2.0
                        bidders
11/07/2023   GK6        Conference with E. Sibbitt and A. Nizamian        0.30    940.00     282.00
                        regarding U.S. jurisdictional matrix
11/07/2023   KH18       Discussion with Jefferies, FTI regarding 2.0      0.90   2,135.00   1,921.50
                        bidders, 2.0 bids, and regulatory
                        considerations
11/07/2023   LED        Analyze ownership information on 6001 for         1.80   1,470.00   2,646.00
                        purposes of CFIUS assessment (.6);
                        correspond with B. Kelly regarding CFIUS
                        analysis for transaction with 6001 (.7);
                        correspond with S. Quattrocchi and K.
                        Fedler regarding VDR review on 6001 and
                        6003 (.2); attend call with C. Daniel on
                        CFIUS issues relevant to 2.0 bids (.3)
11/07/2023   MLS7       Analyze documents regarding 2.0 bidder            0.50   1,930.00    965.00
                        due diligence
11/07/2023   SAQ        Prepare correspondence to L. Greenbacker          0.30   1,160.00    348.00
                        regarding 6001 cap tables and org charts in
                        connection with FTX 2.0 regulatory analysis
11/07/2023   SAQ        Correspond with E. Sibbitt regarding 6001         0.10   1,160.00    116.00
                        regulatory matrix
11/07/2023   SAQ        Review correspondence from B. Kelly and           0.20   1,160.00    232.00
                        L. Greenbacker regarding CFIUS
                        considerations in connection with FTX 2.0
                        bid evaluations
11/08/2023   BL10       Call regarding next steps on FTX 2.0 with         1.30   1,330.00   1,729.00
                        E. Gilad, G. Sasson, E. Sibbitt, B. Kelly, LK
                        Greenbacker, M. Griffin, F. Merola, S.
                        Quattrocchi and C. Xu (.6); follow-up
                        analysis of regulatory issues related to
                        bidders (.7)
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11/08/2023   BK12       Call with E. Gilad, G. Sasson, E. Sibbitt, B.      0.60   1,675.00   1,005.00
                        Levine, LK Greenbacker, M. Griffin, F.
                        Merola, S. Quattrocchi and C. Xu re: FTX
                        2.0 and next steps
11/08/2023   CX3        Attend telephone conference with E. Gilad,         0.60    940.00     564.00
                        G. Sasson, E. Sibbitt, B. Kelly, B. Levine,
                        LK Greenbacker, M. Griffin, F. Merola and
                        S. Quattrocchi on 2.0 bidder counter
                        proposal
11/08/2023   CX3        Review FTX 2.0 bidder counter proposal             0.60    940.00     564.00
11/08/2023   EG18       Analyze FTX 2.0 bidder response (0.9);             1.30   1,930.00   2,509.00
                        correspond with Jefferies, E. Sibbitt, C.
                        Daniel, B. Kelly regarding same (0.4)
11/08/2023   EG18       Telephone conference with G. Sasson, E.            2.00   1,930.00   3,860.00
                        Sibbitt, B. Kelly, B. Levine, L. Greenbacker,
                        M. Griffin, F. Merola, S. Quattrocchi, C. Xu
                        regarding FTX 2.0 next steps (.6); analysis
                        of FTX 2.0 and related
                        regulatory/corporate issues (1.4)
11/08/2023   ECS3       Analyze and comment on revised 6001 bid            1.00   1,595.00   1,595.00
                        and strawman
11/08/2023   ECS3       Participate in FTX 2.0 call with E. Gilad, G.      0.60   1,595.00    957.00
                        Sasson, B. Kelly, B. Levine, F. Merola, L.
                        Greenbacker, M. Griffin, S. Quattrocchi
                        and C. Xu regarding FTX 2.0 issues and
                        process
11/08/2023   FM7        Review E. Gilad correspondence regarding           1.20   1,930.00   2,316.00
                        6001 counteroffer (0.1); review 6001
                        counteroffer (0.3); telephone conference
                        with E. Gilad, G. Sasson, E. Sibbitt, B.
                        Kelly, B. Levine, LK Greenbacker, M.
                        Griffin, S. Quattrocchi and C. Xu regarding
                        reboot issues (0.6); review 6001 timetable
                        (0.2)
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Date         Initials   Description                                      Hours        Rate    Amount
11/08/2023   GS13       Review timeline for 2.0 process and impact          1.40   1,675.00   2,345.00
                        of regulatory considerations (.5); emails with
                        E. Gilad regarding same (.3); telephone
                        conference with E. Gilad, E. Sibbitt, B.
                        Kelly, B. Levine, LK Greenbacker, M.
                        Griffin, F. Merola, S. Quattrocchi and C.
                        Xu regarding 2.0 process (.6)
11/08/2023   JI2        Review counterproposals re FTX 2.0                  0.80   1,160.00    928.00
11/08/2023   KF6        Continue reviewing 2.0 bidder diligence             1.80    855.00    1,539.00
                        documents (0.9); prepare overview of
                        documents provided by bidder (0.9)
11/08/2023   LED        Attend call with E. Gilad, M. Griffin, S.           0.60   1,470.00    882.00
                        Quattrocchi, G. Sasson, E. Sibbitt, B. Kelly,
                        B. Levine, F. Merola, C. Xu regarding 2.0
11/08/2023   LED        Prepare 6001 regulatory analysis                    1.00   1,470.00   1,470.00
11/08/2023   MEG9       Review letter from customer creditors               1.60   1,470.00   2,352.00
                        circulated by K. Pasquale (0.3); review 6001
                        revised proposal documents (0.9); review
                        revised straw man proposal (0.4)
11/08/2023   MEG9       Call with E. Gilad, G. Sasson, E. Sibbitt, B.       0.60   1,470.00    882.00
                        Kelly, B. Levine, LK Greenbacker, F.
                        Merola, S. Quattrocchi and C. Xu on 2.0
                        issues
11/08/2023   MLS7       Analyze documents regarding FTX 2.0                 1.20   1,930.00   2,316.00
                        bidders (1.0); correspond with M. Griffin
                        regarding FTX 2.0 bidders (.2)
11/08/2023   SAQ        Conference with E. Gilad, G. Sasson, E.             0.60   1,160.00    696.00
                        Sibbitt, B. Kelly, B. Levine, LK
                        Greenbacker, M. Griffin, F. Merola and C.
                        Xu to discuss FTX 2.0 process and strategy
11/09/2023   AAN1       Analyze permitted broker dealer activities          1.30   1,270.00   1,651.00
                        for FTX 2.0
11/09/2023   ALZ2       Participate in FTX 2.0 update call with E.          0.50   1,905.00    952.50
                        Gilad, K. Hansen, E. Sibbitt, C. Daniel, B.
                        Levine, L. Greenbacker, D. Holden, I.
                        Sasson, F. Merola, S. Quattrocchi, and C.
                        Xu
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Date         Initials   Description                                     Hours       Rate    Amount
11/09/2023   BL10       Participate in FTX 2.0 process call with K.       0.50   1,330.00    665.00
                        Hansen, E. Gilad, E. Sibbitt, C. Daniel, A.
                        Zwickel, L. Greenbacker, D. Holden, I.
                        Sasson, F. Merola, S. Quattrocchi, C. Xu
11/09/2023   CD5        Call with E. Gilad, K. Hansen, E. Sibbitt, B.     0.50   1,750.00    875.00
                        Levine, A. Zwickel, L. Greenbacker, D.
                        Holden, I. Sasson, F. Merola, S.
                        Quattrocchi, C. Xu regarding next steps in
                        2.0 process
11/09/2023   CX3        Attend FTX 2.0 process call with K.               0.50    940.00     470.00
                        Hansen, E. Gilad, E. Sibbitt, C. Daniel, B.
                        Levine, A. Zwickel, L. Greenbacker, D.
                        Holden, I. Sasson, F. Merola, and S.
                        Quattrocchi
11/09/2023   DMP4       Review regulatory update regarding 2.0 (.2);      0.70   1,470.00   1,029.00
                        participate in 2.0 update call with K.
                        Hansen, E. Gilad, E. Sibbitt, C. Daniel, B.
                        Levine, A. Zwickel, L. Greenbacker, I.
                        Sasson, F. Merola, S. Quattrocchi, and C.
                        Xu (.5)
11/09/2023   EG18       Telephone conferences with Jefferies              0.30   1,930.00    579.00
                        regarding FTX 2.0 sale process
11/09/2023   EG18       Correspond with E. Sibbitt, B. Kelly, C.          1.10   1,930.00   2,123.00
                        Daniel regarding FTX 2.0 (.3); analyze and
                        outline open issues regarding same (.8)
11/09/2023   EG18       FTX 2.0 update call with K. Hansen, A.            1.00   1,930.00   1,930.00
                        Zwickel, B. Levine, E. Sibbitt, C. Daniel, L.
                        Greenbacker, D. Holden, F. Merola, S.
                        Quattrocchi, I. Sasson, C. Xu (.5); further
                        call with Jefferies re same (.5)
11/09/2023   ECS3       Participate in conference with K. Hansen,         0.50   1,595.00    797.50
                        E. Gilad, A. Zwickel, B. Levine, F. Merola,
                        C. Daniel, L. Greenbacker, S. Quattrocchi,
                        D. Holden, I. Sasson and C. Xu regarding
                        FTX 2.0, issues, and process
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Date         Initials   Description                                      Hours      Rate    Amount
11/09/2023   FM7        Review E. Gilad correspondence re reboot          1.10   1,930.00   2,123.00
                        structures (0.2); review C. Daniel
                        correspondence re reboot specialists
                        telephone conference (0.2); review L.
                        Greenbacker correspondence re FTX Japan
                        (0.2); telephone conference with K. Hansen,
                        E. Gilad, E. Sibbitt, C. Daniel, B. Levine, A.
                        Zwickel, L. Greenbacker, D. Holden, I.
                        Sasson, S. Quattrocchi, C. Xu re reboot
                        updates and bidder issues (0.5)
11/09/2023   GK6        Analyze 6003 and 6001 regulatory                  2.10    940.00    1,974.00
                        requirements and permissions (1.9);
                        correspond with E. Sibbitt and A. Nizamian
                        regarding the same (.2)
11/09/2023   IS6        Participate in 2.0 call K. Hansen, E. Gilad,      0.50   1,330.00    665.00
                        E. Sibbitt, C. Daniel, B. Levine, A. Zwickel,
                        L. Greenbacker, D. Holden, F. Merola, S.
                        Quattrocchi, C. Xu
11/09/2023   KP17       Review memos re 2.0 process and                   0.70   1,930.00   1,351.00
                        regulatory issues (.5); correspond with G.
                        Sasson re same (.2)
11/09/2023   KH18       Review FTX 2.0 updates and regulatory and         0.50   2,135.00   1,067.50
                        corporate issues with bids and bidders
11/09/2023   KH18       Call with E. Gilad, F. Merola, A. Zwickel,        0.50   2,135.00   1,067.50
                        C. Daniel, E. Sibbitt, D. Holden, L.
                        Greenbacker, S. Quattrocchi, B. Levine, I.
                        Sasson, C. Xu regarding FTX 2.0 regulatory
                        and securities issues
11/09/2023   LED        Review 6001 counterproposal re: FTX 2.0           0.60   1,470.00    882.00
                        (.4); correspond with C. Daniel re: same (.2)
11/09/2023   LED        Review open diligence items for 6001              1.20   1,470.00   1,764.00
                        regulatory matters (.2); attend call with K.
                        Hansen, E. Gilad, C. Daniel, D. Holden, E.
                        Sibbitt, A. Zwickel, F. Merola, C. Xu, I.
                        Sasson, B. Levine, S. Quattrocchi regarding
                        FTX 2.0 next steps (.5); prepare bidder
                        regulatory analysis (.5)
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11/09/2023   LED        Correspond with R. Johnston regarding             0.60   1,470.00    882.00
                        potential foreign direct investment matters
                        in connection with FTX 2.0 (.4);
                        correspond with B. Kelly regarding same
                        (.2)
11/09/2023   MEG9       Review emails between E. Gilad and L.             0.20   1,470.00    294.00
                        Tsao on KYC and bidder regulatory issues
11/09/2023   MEG9       Review email from LK Greenbacker                  0.10   1,470.00    147.00
                        regarding FTX Japan
11/09/2023   MLS7       Analyze bidder documents for FTX 2.0              4.10   1,930.00   7,913.00
                        (3.0); prepare email to M. Griffin regarding
                        FTX 2.0 bid evaluation (1.1)
11/09/2023   RVJ        Correspond with LK Greenbacker                    0.30   1,520.00    456.00
                        regarding FDI analysis of FTX 2.0
                        transaction
11/09/2023   SAQ        Conference with K. Hansen, E. Gilad, E.           0.50   1,160.00    580.00
                        Sibbitt, C. Daniel, B. Levine, A. Zwickel, L.
                        Greenbacker, D. Holden, I. Sasson, F.
                        Merola, C. Xu regarding FTX 2.0 process
                        and strategy
11/10/2023   AAN1       Analyze permitted ATS activities for FTX          1.10   1,270.00   1,397.00
                        2.0
11/10/2023   AAN1       Analyze acquisition structure and regulatory      2.10   1,270.00   2,667.00
                        considerations for 6003
11/10/2023   AAN1       Analyze debt and equity security definitions      1.20   1,270.00   1,524.00
                        under Regulation S
11/10/2023   BJS4       Call with K. Hansen, E. Gilad, K. Pasquale,       0.50   1,495.00    747.50
                        G. Sasson, C. Daniel, L. Greenbacker, M.
                        Griffin, B. Kelly, F. Merola, E. Sibbitt on
                        KYC obligations of FTX 2.0
11/10/2023   BK12       Call with K. Hansen, E. Gilad, G. Sasson,         1.10   1,675.00   1,842.50
                        K. Pasquale, B. Stevenson, C. Daniel, E.
                        Sibbitt, M. Griffin, F. Merola, and L.
                        Greenbacker re: KYC and 2.0 regulatory
                        analysis (0.5); review emails from E. Gilad
                        and LK Greenbacker re: same (0.3); review
                        follow up issues regarding same (0.3)
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Date         Initials   Description                                        Hours      Rate    Amount
11/10/2023   CD5        Call with E. Gilad, K. Hansen, G. Sasson,           0.50   1,750.00    875.00
                        K. Pasquale, B. Stevenson, E. Sibbitt, B.
                        Kelly, F. Merola, M. Griffin, and L.
                        Greenbacker regarding KYC question for
                        Debtors and FTX 2.0 bidders
11/10/2023   EG18       Analyze regulatory issues regarding FTX 2.0         1.10   1,930.00   2,123.00
                        bidders and FTX 2.0 sale
11/10/2023   EG18       Telephone conference with K. Hansen, K.             1.00   1,930.00   1,930.00
                        Pasquale, G. Sasson, B. Kelly, B. Stevenson,
                        C. Daniel, M. Griffin, L. Greenbacker, F.
                        Merola, E. Sibbitt regarding KYC plan and
                        sale issues (.5); call w/ Jefferies re same (.5)
11/10/2023   ECS3       Call with K. Hansen, E. Gilad, K. Pasquale,         1.00   1,595.00   1,595.00
                        G. Sasson, B. Kelly, F. Merola, C. Daniel, L.
                        Greenbacker, M. Griffin, B. Stevenson
                        regarding AML/KYC related to FTX 2.0
                        (.5); review correspondence from E. Gilad
                        on proposed case and 2.0 timeline (.5)
11/10/2023   FM7        Review G. Sasson correspondence re S&C              0.90   1,930.00   1,737.00
                        reboot telephone conference (0.2);
                        telephone conference with K. Hansen, E.
                        Gilad, G. Sasson, K. Pasquale, B.
                        Stevenson, B. Kelly, C. Daniel, M. Griffin,
                        E. Sibbitt, and L. Greenbacker re KYC and
                        reboot (0.5); revise Debtors' draft response
                        to 6003 (0.2)
11/10/2023   GS13       Telephone conference with E. Gilad, B.              0.50   1,675.00    837.50
                        Stevenson, K. Hansen, K. Pasquale, C.
                        Daniel, M. Griffin, B. Kelly, F. Merola, E.
                        Sibbitt and L. Greenbacker regarding KYC
                        issues
11/10/2023   KP17       Call with K. Hansen, E. Gilad, G. Sasson,           0.50   1,930.00    965.00
                        B. Stevenson, B. Kelly, C. Daniel, E. Sibbitt,
                        M. Griffin, F. Merola, and L. Greenbacker
                        re KYC and reboot issues
11/10/2023   KH18       Call with B. Stevenson, E. Gilad, G. Sasson,        0.50   2,135.00   1,067.50
                        K. Pasquale, E. Sibbitt, C. Daniel, B. Kelly,
                        M. Griffin, L. Greenbacker, F. Merola
                        regarding KYC and 2.0 bidders
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11/10/2023   LED        Participate in discussion of KYC matters         0.50   1,470.00    735.00
                        with K. Hansen, K. Pasquale, E. Gilad, G.
                        Sasson, B. Stevenson, C. Daniel, M. Griffin,
                        L. Greenbacker, F. Merola, E. Sibbitt
                        relating to FTX 2.0
11/10/2023   LED        Correspond with S. Quattrocchi regarding         1.80   1,470.00   2,646.00
                        regulatory call with S&C (.4); review
                        regulatory matrix and notes to prepare for
                        S&C 2.0 call (.6); review M. Spafford CFTC
                        regulatory analysis on 2.0 bidders (.4);
                        correspond with B. Kelly regarding FDI
                        considerations for 2.0 bidders (.4)
11/10/2023   LK19       Correspond with S. Quattrocchi regarding         0.20    855.00     171.00
                        FTX 2.0 meeting
11/10/2023   MEG9       Call with K. Hansen, E. Gilad, G. Sasson,        0.80   1,470.00   1,176.00
                        K. Pasquale, B. Stevenson, E. Sibbitt, B.
                        Kelly, C. Daniel, F. Merola, and L.
                        Greenbacker on KYC for bids and bidders
                        (.5); review Debtors' proposed response to
                        6003 proposal (0.3)
11/10/2023   SAQ        Prepare correspondence to E. Gilad, L.           0.80   1,160.00    928.00
                        Greenbacker, L. Koch and K. Fedler
                        regarding regulatory analysis for FTX 2.0
                        bids in preparation for conference with
                        Debtors' counsel regarding same
11/10/2023   SAQ        Prepare correspondence to Committee              0.40   1,160.00    464.00
                        member, C. Daniel, N. Moffatt, L.
                        Greenbacker, and K. Burkov regarding
                        Gibraltar regulatory considerations in
                        connection with 6001 FTX 2.0 bids
11/11/2023   BK12       Review Debtor draft response to 2.0 bid          0.60   1,675.00   1,005.00
11/11/2023   EG18       Analyze and comment on FTX 2.0 bidder            0.90   1,930.00   1,737.00
                        regulatory issues
11/11/2023   SAQ        Review summary of 6003 and 6002 broker-          0.30   1,160.00    348.00
                        dealer analysis from M. Spafford in
                        connection with FTX 2.0
11/11/2023   SAQ        Review Debtors' response to 6003's FTX           0.20   1,160.00    232.00
                        2.0 proposal
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11/11/2023   SAQ        Review letter and list from ad hoc                0.20   1,160.00     232.00
                        committee regarding FTX 2.0 customer
                        feedback
11/13/2023   AAN1       Analyze CFIUS considerations for non-U.S.         1.80   1,270.00    2,286.00
                        2.0 bidders
11/13/2023   AAN1       Review and comment on Hong Kong                   1.80   1,270.00    2,286.00
                        Securities and Futures Commission
                        licensing requirements for 2.0 bidders
11/13/2023   AAN1       Analyze mortgage lender permitted                 1.30   1,270.00    1,651.00
                        activities for 2.0 bidders
11/13/2023   BK12       Review FTX's counter to 2.0 bid and bidder        0.60   1,675.00    1,005.00
                        response
11/13/2023   EG18       Analyze 6001 and 6003 regulatory issues           8.00   1,930.00   15,440.00
                        and bid documents (7.1); correspond with
                        K. Hansen regarding FTX 2.0 sale matters
                        (.4); correspond with E. Sibbitt, C. Daniel,
                        B. Kelly regarding same (0.5)
11/13/2023   ECS3       Analyze reverse diligence review of 6001          2.80   1,595.00    4,466.00
11/13/2023   KH18       Analyze FTX 2.0 regulatory and sale issues        0.70   2,135.00    1,494.50
                        (.4); correspond with E. Gilad regarding
                        same (.3)
11/13/2023   LED        Analyze issues regarding Gibraltar                2.20   1,470.00    3,234.00
                        regulatory regime (.5); review 6001
                        regulatory diligence (.8); correspond with S.
                        Quattrocchi regarding same (.4); correspond
                        with C. Daniel regarding debtor 2.0
                        regulatory call agenda (.3); review
                        correspondence from L. Koch regarding
                        omnibus hearing and next steps (.2)
11/13/2023   MEG9       Review 6003 counterproposal prepared by           0.60   1,470.00     882.00
                        Debtors (0.5); review email from G. Sasson
                        regarding timeline for FTX 2.0 deal (0.1)
11/13/2023   SAQ        Prepare correspondence to L. Greenbacker          0.80   1,160.00     928.00
                        and K. Fedler regarding FTX 2.0 bids in
                        preparation for conference with Debtors'
                        counsel regarding same
11/14/2023   AAN1       Analyze Gibraltar DLT license for 6003            1.30   1,270.00    1,651.00
                        bidder
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11/14/2023   AAN1       Analyze and comment on Fincen and                1.60   1,270.00   2,032.00
                        money transmitter licenses considerations
                        for 2.0 bidders
11/14/2023   EG18       Analyze FTX 2.0 sale process related issues      0.90   1,930.00   1,737.00
11/14/2023   FM7        Review 6001 overlap analysis                     0.20   1,930.00    386.00
11/14/2023   SAQ        Review 6001 customer overlap analysis and        0.20   1,160.00    232.00
                        FTX overlap output
11/15/2023   AAN1       Review and revise FTX 2.0 asset purchase         1.80   1,270.00   2,286.00
                        agreement
11/15/2023   AAN1       Review and prepare comments on SEC               1.20   1,270.00   1,524.00
                        request for document production
11/15/2023   BL10       Review FTX 2.0 APA and related                   2.40   1,330.00   3,192.00
                        documents (1.1); prepare comments and
                        issues list regarding FTX 2.0 APA (1.3)
11/15/2023   BL10       Call with K. Hansen, E. Gilad, C. Daniel, E.     0.60   1,330.00    798.00
                        Sibbitt, B. Kelly, L. Greenbacker, M.
                        Griffin, D. Holden, S. Quattrocchi, F.
                        Merola, G. Silber, N. Wong, B. Stevenson,
                        L. Tsao, T. Sadler, C. Xu regarding draft
                        6001 APA, related considerations, and the
                        process for comments
11/15/2023   BJS4       Call with K. Hansen, E. Gilad, C. Daniel, E.     0.60   1,495.00    897.00
                        Sibbitt, F. Merola, B. Kelly, B. Levine, T.
                        Sadler, L. Greenbacker, D. Holden, M.
                        Griffin, C. Xu, N. Wong, G. Silber, L. Tsao,
                        S. Quattrocchi to discuss 2.0 asset purchase
                        agreement
11/15/2023   BJS4       Analyze 2.0 asset purchase agreement for         0.90   1,495.00   1,345.50
                        compliance with know your customer
                        obligations
11/15/2023   BJS4       Call with L. Tsao on 2.0 asset purchase          0.40   1,495.00    598.00
                        agreement and know your customer
                        obligations and sufficiency
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Date         Initials   Description                                     Hours       Rate    Amount
11/15/2023   BK12       Review draft FTX 2.0 APA (0.9);                   2.70   1,675.00   4,522.50
                        correspond with E. Gilad and B. Levine re:
                        same (0.2); correspond with E. Gilad re:
                        action items for FTX 2.0 APA (.7);
                        correspond with H. Yaqi and E. Gilad re:
                        ancillary 2.0 documents (.3); call with E.
                        Gilad, C. Daniel, K. Hansen, F. Merola, B.
                        Levine, D. Holden, M. Griffin, L.
                        Greenbacker, S. Quattrocchi, B. Stevenson,
                        L. Tsao, G. Silber, N. Wong, C. Xu, E.
                        Sibbitt, T. Sadler re: 2.0 APA (.6)
11/15/2023   CA14       Correspond with E. Sibbitt, A. Nizamian           1.20   1,270.00   1,524.00
                        and G. Khoury re: 6001 APA (.4); review
                        6001 APA and related precedent (.8)
11/15/2023   CD5        Call with K. Hansen, E. Gilad, E. Sibbitt, B.     0.60   1,750.00   1,050.00
                        Kelly, B. Levine, L. Greenbacker, M.
                        Griffin, D. Holden, S. Quattrocchi, F.
                        Merola, G. Silber, N. Wong, B. Stevenson,
                        L. Tsao, T. Sadler, C. Xu regarding
                        comments to S&C's FTX 2.0 APA
11/15/2023   CD5        Review and respond to correspondence              0.30   1,750.00    525.00
                        from LK Greenbacker regarding the 6001
                        APA review
11/15/2023   CD5        Conference with LK Greenbacker, D.                0.30   1,750.00    525.00
                        Holden, M. Griffin, and S. Quattrocchi
                        regarding the 6001 APA review
11/15/2023   CX3        Review Debtors' draft FTX 2.0 APA                 0.60    940.00     564.00
11/15/2023   CX3        Telephone conference with K. Hansen, E.           0.60    940.00     564.00
                        Gilad, C. Daniel, E. Sibbitt, B. Kelly, B.
                        Levine, B. Stevenson, L. Tsao, T. Sadler, G.
                        Silber, N. Wong, L. Greenbacker, M.
                        Griffin, D. Holden, S. Quattrocchi and F.
                        Merola on FTX 2.0 draft APA
11/15/2023   CX3        Correspond with B. Kelly, T. Sadler on            0.10    940.00      94.00
                        FTX 2.0 issues
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11/15/2023   DMP4       Participate in telephone conference with K.       0.90   1,470.00    1,323.00
                        Hansen, E. Gilad, C. Daniel, E. Sibbitt, B.
                        Kelly, B. Levine, L. Greenbacker, M.
                        Griffin, G. Silber, N. Wong, B. Stevenson,
                        L. Tsao, T. Sadler, S. Quattrocchi, F.
                        Merola, and C. Xu regarding comments to
                        draft 6001 APA (.6); participate in
                        telephone conference with C. Daniel, LK
                        Greenbacker, M. Griffin, and S.
                        Quattrocchi regarding initial thoughts on
                        draft 6001 APA (.3)
11/15/2023   EG18       Correspond with Jefferies regarding FTX           0.40   1,930.00     772.00
                        2.0
11/15/2023   EG18       Telephone conference with K. Hansen, B.           0.60   1,930.00    1,158.00
                        Kelly, G. Silber, N. Wong, B. Stevenson, L.
                        Tsao, T. Sadler, E. Sibbitt, B. Levine, C.
                        Daniel, L. Greenbacker, M. Griffin, D.
                        Holden, F. Merola, S. Quattrocchi, C. Xu
                        regarding FTX 2.0 bidder APA
11/15/2023   EG18       Preliminary review of draft FTX 2.0 APA           7.50   1,930.00   14,475.00
                        received from S&C and analysis of various
                        issues re same (7.1); correspond with E.
                        Sibbitt, G. Sasson, B. Kelly, B. Levine, C.
                        Daniel, F. Merola regarding same (0.4)
11/15/2023   ECS3       Review and comment on FTX 2.0 asset               3.10   1,595.00    4,944.50
                        purchase agreement
11/15/2023   ECS3       Telephone conference with K. Hansen, E.           0.60   1,595.00     957.00
                        Gilad, C. Daniel, B. Kelly, B. Levine, L.
                        Tsao, F. Merola, G. Silber, N. Wong, B.
                        Stevenson, T. Sadler, D. Holden, L.
                        Greenbacker, M. Griffin, S. Quattrocchi
                        and C. Xu to discuss FTX 2.0 asset
                        purchase agreement
11/15/2023   ECS3       Telephone conference with C. Daniel, D.           0.30   1,595.00     478.50
                        Holden, L. Greenbacker, M. Griffin, S.
                        Quattrocchi to discuss reboot and bidder
                        regulatory issues
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11/15/2023   FM7        Review L. Tsao correspondence re FTX 2.0          2.70   1,930.00   5,211.00
                        APA (0.2); review B. Kelly correspondence
                        re FTX 2.0 APA (0.2); review B. Kelly
                        correspondence re reboot APA timetable
                        (0.2); analyze reboot APA (1.4); telephone
                        conference with K. Hansen, E. Gilad, C.
                        Daniel, E. Sibbitt, B. Kelly, B. Levine, L.
                        Greenbacker, M. Griffin, D. Holden, B.
                        Stevenson, G. Silber, N. Wong, T. Sadler, L.
                        Tsao, S. Quattrocchi and C. Xu re reboot
                        APA (0.6); review E. Gilad correspondence
                        to FTI re reboot APA (0.1)
11/15/2023   GK6        Analyze 6001 asset purchase agreement             3.30    940.00    3,102.00
                        representations and warranties (3.1);
                        correspond with E. Sibbitt, A. Nizamian,
                        and C. Anderson regarding the same (.2)
11/15/2023   GS15       Analyze tax provisions and implications in        2.20   1,650.00   3,630.00
                        draft FTX 2.0 APA (1.6); call with K.
                        Hansen, E. Gilad, B. Stevenson, E. Sibbitt,
                        N. Wong, F. Merola, B. Kelly, B. Levine, T.
                        Sadler, C. Daniel, L. Greenbacker, M.
                        Griffin, D. Holden, S. Quattrocchi, C. Xu,
                        L. Tsao regarding same (.6)
11/15/2023   KH18       Review draft FTX 2.0 APA received from            2.30   2,135.00   4,910.50
                        S&C (.8); analyze FTX 2.0 bidder and sale
                        issues (.9); telephone conference with E.
                        Gilad, B. Kelly, G. Silber, N. Wong, B.
                        Stevenson, L. Tsao, T. Sadler, E. Sibbitt, B.
                        Levine, C. Daniel, L. Greenbacker, M.
                        Griffin, D. Holden, F. Merola, S.
                        Quattrocchi, C. Xu regarding FTX 2.0
                        bidder APA (.6)
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11/15/2023   LED        Review and comment on draft FTX 2.0               3.50   1,470.00   5,145.00
                        APA (1.8); attend call with C. Daniel, D.
                        Holden, M. Griffin, and S. Quattrocchi
                        regarding bidder regulatory issues (.3);
                        attend call with K. Hansen, E. Gilad, C.
                        Daniel, E. Sibbitt, B. Kelly, B. Levine, M.
                        Griffin, D. Holden, S. Quattrocchi, F.
                        Merola, G. Silber, N. Wong, B. Stevenson,
                        L. Tsao, T. Sadler, and C. Xu regarding
                        draft FTX 2.0 APA (.6); prepare bidder
                        regulatory matrix (.8)
11/15/2023   LT9        Telephone conference with E. Gilad, G.            0.60   1,570.00    942.00
                        Silber, B. Stevenson, N. Wong, K. Hansen,
                        C. Daniel, L. Greenbacker, M. Griffin, D.
                        Holden, S. Quattrocchi, F. Merola, B. Kelly,
                        B. Levine, T. Sadler, E. Sibbitt and C. Xu
                        on 6001 proposal
11/15/2023   LT9        Telephone conference with B. Stevenson            0.40   1,570.00    628.00
                        on AML issues
11/15/2023   LT9        Review and draft correspondence to E.             0.50   1,570.00    785.00
                        Gilad on 6001 proposal
11/15/2023   LT9        Review draft FTX 2.0 asset purchase               0.50   1,570.00    785.00
                        agreement
11/15/2023   MEG9       Call with K. Hansen, E. Gilad, C. Daniel, E.      4.30   1,470.00   6,321.00
                        Sibbitt, B. Kelly, B. Levine, L. Greenbacker,
                        D. Holden, S. Quattrocchi, F. Merola, G.
                        Silber, N. Wong, B. Stevenson, L. Tsao, T.
                        Sadler, and C. Xu on 2.0 matters and draft
                        APA (0.6); call with C. Daniel, LK
                        Greenbacker, D. Holden, and S.
                        Quattrocchi on 2.0 bidder regulatory
                        matters (0.3); review APA and draft
                        regulatory issues list (3.4)
11/15/2023   MEG9       Correspond with C. Daniel, LK                     0.30   1,470.00    441.00
                        Greenbacker, D. Holden, K. Fedler, and S.
                        Quattrocchi on 2.0 regulatory matters
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Date         Initials   Description                                    Hours        Rate    Amount
11/15/2023   NKW1       Review FTX 2.0 asset purchase agreement           1.10    855.00     940.50
                        from S&C for tax provisions (.4);
                        conference with E. Gilad, L. Tsao, C. Xu,
                        B. Stevenson, G. Silber, K. Hansen, B.
                        Kelly, B. Levine, F. Merola, C. Daniel, L.
                        Greenbacker, M. Griffin, D. Holden, S.
                        Quattrocchi, T. Sadler, E. Sibbitt regarding
                        tax aspects of FTX 2.0 asset purchase
                        agreement (.6); correspond with G. Silber
                        regarding same (.1)
11/15/2023   SAQ        Conference with K. Hansen, E. Gilad, C.           0.60   1,160.00    696.00
                        Daniel, E. Sibbitt, B. Kelly, B. Levine, M.
                        Griffin, D. Holden, F. Merola, G. Silber, N.
                        Wong, B. Stevenson, L. Tsao, L.
                        Greenbacker, T. Sadler and C. Xu regarding
                        FTX 2.0 asset purchase agreement review
11/15/2023   SAQ        Analyze draft asset purchase agreement            0.60   1,160.00    696.00
                        from Debtors regarding FTX 2.0
11/15/2023   SAQ        Conference with C. Daniel, LK                     0.30   1,160.00    348.00
                        Greenbacker, D. Holden, M. Griffin
                        regarding FTX 2.0 regulatory considerations
11/15/2023   TS21       Call with E. Gilad, C. Daniel, B. Kelly, E.       3.00   1,210.00   3,630.00
                        Sibbitt, K. Hansen, L. Greenbacker. D.
                        Holden, M. Griffin, S. Quattrocchi, F.
                        Merola, B. Levine, B. Stevenson, L. Tsao, C.
                        Xu, G. Silber, N. Wong regarding FTX 2.0
                        asset purchase agreement (.6); analyze FTX
                        2.0 purchase agreement (2.4)
11/16/2023   AAN1       Analyze FTX 2.0 asset purchase agreement          2.30   1,270.00   2,921.00
                        in connection with Rule 405 definition of
                        foreign private issuer
11/16/2023   BL10       Participate in FTX 2.0 process call with K.       1.20   1,330.00   1,596.00
                        Hansen, E. Gilad, G. Sasson, C. Daniel, E.
                        Sibbitt, T. Sadler, N. Wong, B. Stevenson,
                        B. Kelly, J. Song, D. Holden, M. Griffin, S.
                        Quattrocchi, F. Merola, C. Xu (.6);
                        correspond with B. Kelly and T. Sadler
                        regarding corporate comments and
                        approach to certain provisions and
                        mechanics in FTX 2.0 APA (.2); analyze
                        same (.4)
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Date         Initials   Description                                      Hours       Rate    Amount
11/16/2023   BL10       Review precedent section 363 sales APA             1.00   1,330.00   1,330.00
                        (.6); provide high-level and corporate
                        comments for 6001 APA (.4)
11/16/2023   BJS4       Call with K. Hansen, E. Gilad, G. Sasson,          1.00   1,495.00   1,495.00
                        F. Merola, B. Kelly, B. Levine, T. Sadler, C.
                        Daniel, M. Griffin, S. Quattrocchi, D.
                        Holden, C. Xu, N. Wong, J. Song on FTX
                        2.0 and the asset purchase agreement (.6);
                        analyze KYC regarding same (.4)
11/16/2023   BJS4       Correspond with L. Tsao on know your               0.50   1,495.00    747.50
                        customer aspects of 2.0 asset purchase
                        agreement (.3); call with L. Tsao regarding
                        same (.2)
11/16/2023   BJS4       Analyze 2.0 asset purchase agreement (.5);         0.80   1,495.00   1,196.00
                        draft 2.0 APA issues list for know your
                        customer and fraud (.3)
11/16/2023   BK12       Review debtors' draft APA for 2.0 bid (1.7);       2.80   1,675.00   4,690.00
                        participate in update call re: FTX 2.0
                        process with E. Gilad, E. Sibbitt (0.5); call
                        with E. Gilad, B. Levine, T. Sadler, C.
                        Daniel, M. Griffin, K. Hansen, G. Sasson,
                        G. Merola, E. Sibbitt, J. Song, D. Holden, S.
                        Quattrocchi, C. Xu, N. Wong, B. Stevenson
                        regarding FTX 2.0 process and 6001 bid
                        (0.6)
11/16/2023   CD5        Correspond with LK Greenbacker                     0.30   1,750.00    525.00
                        regarding comments to S&C's APA
11/16/2023   CD5        Participate in call with M. Griffin, E. Gilad,     0.60   1,750.00   1,050.00
                        B. Kelly, T. Sadler, K. Hansen, G. Sasson,
                        F. Merola, B. Levine, D. Holden, S.
                        Quattrocchi, J. Song, N. Wong, B.
                        Stevenson, E. Sibbitt, C. Xu regarding
                        comments to S&C's APA
11/16/2023   CX3        Telephone conference with K. Hansen, E.            0.60    940.00     564.00
                        Gilad, G. Sasson, C. Daniel, E. Sibbitt, B.
                        Kelly, J. Song, N. Wong, B. Stevenson, T.
                        Sadler, B. Levine, D. Holden, M. Griffin, S.
                        Quattrocchi, F. Merola on FTX 2.0 APA
                        mark up
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Date         Initials   Description                                    Hours       Rate    Amount
11/16/2023   DMP4       Review draft APA for 6001 transaction (.6);      2.10   1,470.00   3,087.00
                        participate in FTX 2.0 process call with K.
                        Hansen, E. Gilad, G. Sasson, C. Daniel, E.
                        Sibbitt, B. Kelly, B. Levine, J. Song, T.
                        Sadler, N. Wong, B. Stevenson, S.
                        Quattrocchi, M. Griffin, F. Merola, and C.
                        Xu (.6); correspond with L. Greenbacker
                        regulatory issues related to the APA (.3);
                        review and provide comments to regulatory
                        issues list for 6001 APA (.6)
11/16/2023   EG18       Analyze FTX 2.0 APA (2.7); call with B.          4.60   1,930.00   8,878.00
                        Kelly, E. Sibbitt regarding FTX 2.0 process
                        (.5); correspond with Jefferies, FTI, G.
                        Sasson, E. Sibbitt, B. Kelly, B. Levine, C.
                        Daniel regarding same (.8); discussions with
                        K. Hansen, G. Sasson, C. Daniel, M.
                        Griffin, D. Holden, S. Quattrocchi, F.
                        Merola, B. Kelly, B. Levine, T. Sadler, E.
                        Sibbitt, B. Stevenson, C. Xu, N. Wong, J.
                        Song regarding same (.6)
11/16/2023   ECS3       Summarize reverse diligence analysis on          1.30   1,595.00   2,073.50
                        6001
11/16/2023   ECS3       Call with E. Gilad, B. Kelly regarding FTX       1.10   1,595.00   1,754.50
                        2.0 process (.5); participate in 2.0 process
                        call with K. Hansen, E. Gilad, G. Sasson, C.
                        Daniel, B. Kelly, B. Levine, J. Song, F.
                        Merola, N. Wong, B. Stevenson, T. Sadler,
                        D. Holden, M. Griffin, S. Quattrocchi and
                        C. Xu re asset purchase agreement (.6)
11/16/2023   FM7        Telephone conference with K. Hansen, E.          1.00   1,930.00   1,930.00
                        Gilad, G. Sasson, C. Daniel, E. Sibbitt, J.
                        Song, B. Kelly, B. Levine, N. Wong, T.
                        Sadler, B. Stevenson, D. Holden, S.
                        Quattrocchi, M. Griffin, and C. Xu re
                        reboot APA (0.6); correspond with Jefferies
                        re reboot corporate due diligence (0.2);
                        review Rothschild APA comments (0.2)
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11/16/2023   GS13       Call with K. Hansen, E. Gilad, F. Merola, B.      0.60   1,675.00   1,005.00
                        Kelly, T. Sadler, B. Levine, C. Daniel, E.
                        Sibbitt, M. Griffin, S. Quattrocchi, D.
                        Holden, B. Stevenson, N. Wong, J. Song, C.
                        Xu regarding FTX 2.0 APA
11/16/2023   GK6        Analyze 6001 asset purchase agreement             2.50    940.00    2,350.00
                        representations and warranties (2.3);
                        correspond with E. Sibbitt, A. Nizamian,
                        and C. Anderson regarding the same (.2)
11/16/2023   JI2        Analyze FTX 2.0 APA (4.1); correspond             4.30   1,160.00   4,988.00
                        with T. Sadler re same (.2)
11/16/2023   JIS2       Review 2.0 asset purchase agreement and           3.40   1,750.00   5,950.00
                        background information on transaction
                        (0.5); correspond with L Greenbacker
                        regarding same (0.4); conference with K.
                        Hansen, E. Gilad, G. Sasson, C. Daniel, E.
                        Sibbitt, B. Kelly, B. Levine, T. Sadler, N.
                        Wong, B. Stevenson, D. Holden, S.
                        Quattrocchi, M. Griffin, F. Merola, C. Xu
                        regarding the 2.0 transaction (.6); review
                        information on 6001 (0.6); further review
                        6001 purchase agreement and provide
                        comments as to 6001 (0.5); analyze
                        Bankruptcy Code section 363 sale with
                        respect to draft 2.0 asset purchase
                        agreement (.8)
11/16/2023   KH18       Call with E. Gilad, G. Sasson, B. Kelly, C.       0.60   2,135.00   1,281.00
                        Daniel, E. Sibbitt, B. Stevenson, L. Tsao, G.
                        Silber, N. Wong, D. Holden, S.
                        Quattrocchi, J. Song, F. Merola, C. Xu
                        regarding 2.0 APA and compliance issues
11/16/2023   LT9        Meeting with B. Stevenson on FTX 2.0              0.20   1,570.00    314.00
                        asset purchase agreement
11/16/2023   MEG9       Review APA for 6001 and prepare                   0.50   1,470.00    735.00
                        regulatory issues list regarding same
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11/16/2023   MEG9       Call with K. Hansen, E. Gilad, G. Sasson,          0.60   1,470.00    882.00
                        C. Daniel, E. Sibbitt, B. Kelly, B. Levine, J.
                        Song, N. Wong, B. Stevenson, T. Sadler, D.
                        Holden, S. Quattrocchi, F. Merola, and C.
                        Xu on 2.0 APA, next steps, and regulatory
                        issues
11/16/2023   NKW1       Review FTX 2.0 asset purchase agreement            1.60    855.00    1,368.00
                        from S&C for tax provisions (.5);
                        conference with E. Gilad, L. Tsao, C. Xu,
                        B. Stevenson, K. Hansen, G. Sasson, F.
                        Merola, B. Kelly, B. Levine, C. Daniel, T.
                        Sadler, M. Griffin, D. Holden, S.
                        Quattrocchi, J. Song regarding FTX 2.0
                        asset purchase agreement (.6); conference
                        with G. Silber regarding 2.0 APA tax issues
                        list (.2); correspond with G. Silber regarding
                        2.0 APA tax issues list (.3)
11/16/2023   SAQ        Prepare correspondence to L. Greenbacker           0.10   1,160.00    116.00
                        regarding regulatory issues list for FTX 2.0
                        asset purchase agreement
11/16/2023   SAQ        Conference with K. Hansen, E. Gilad, G.            0.60   1,160.00    696.00
                        Sasson, C. Daniel, E. Sibbitt, B. Kelly, B.
                        Levine, J. Song, D. Holden, M. Griffin, F.
                        Merola, N. Wong, B. Stevenson, T. Sadler,
                        and C. Xu regarding comments to FTX 2.0
                        draft asset purchase agreement
11/16/2023   TS21       Call with M. Griffin, C. Daniel, E. Gilad, B.      2.00   1,210.00   2,420.00
                        Kelly, K. Hansen, G. Sasson, N. Wong, D.
                        Holden, S. Quattrocchi, F. Merola, B.
                        Levine, B. Stevenson, C. Xu, J. Song, E.
                        Sibbitt regarding FTX 2.0 asset purchase
                        agreement (.6); correspond with J.
                        Iaffaldano regarding purchase agreement
                        (.1); analyze FTX 2.0 purchase agreement
                        (1.3)
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11/17/2023   BL10       Call with B. Kelly, T. Sadler, F. Merola and      1.20   1,330.00   1,596.00
                        C. Xu to discuss comments to stalking
                        horse APA (.5); call with K. Hansen, E.
                        Gilad, K. Pasquale, E. Sibbitt, B. Kelly, L.
                        Greenbacker, J. Song, T. Sadler, K. Fedler,
                        B. Stevenson, L. Tsao, N. Wong, D.
                        Holden, M. Griffin, S. Quattrocchi, F.
                        Merola, C. Xu, Jefferies and FTI to review
                        full team comments to stalking horse APA
                        for issues list (.7)
11/17/2023   BL10       Further review 6001 APA and comments              4.60   1,330.00   6,118.00
                        from specialist groups on same (1.1);
                        prepare summary of 6001 APA comments
                        (.4); review and revise C. Xu draft issues
                        chart regarding FTX 2.0 APA (2.7); prepare
                        comments on same (.4)
11/17/2023   BJS4       Further prepare know your customer                0.20   1,495.00    299.00
                        comments on the 2.0 asset purchase
                        agreement
11/17/2023   BJS4       Call with K. Hansen, K. Pasquale, E. Gilad,       0.70   1,495.00   1,046.50
                        E. Sibbitt, L. Tsao, J. Song, L. Greenbacker,
                        M. Griffin, D. Holden, S. Quattrocchi, K.
                        Fedler, F. Merola, B. Kelly, B. Levine, T.
                        Sadler, C. Xu, N. Wong on the 2.0 asset
                        purchase agreement
11/17/2023   BK12       Review FTX 2.0 APA (1.1); correspond              3.00   1,675.00   5,025.00
                        with E. Gilad re: same (0.2); call with C. Xu,
                        B. Levine, T. Sadler, and F. Merola re: FTX
                        2.0 APA (0.5); call with K. Hansen, E.
                        Gilad, K. Pasquale, B. Levine, E. Sibbitt, L.
                        Tsao, M. Griffin, L. Greenbacker, D.
                        Holden, J. Song, T. Sadler, F. Merola, B.
                        Stevenson, N. Wong, S. Quattrocchi, K.
                        Fedler, C. Xu re: FTX 2.0 APA comments
                        (0.7); follow-up analysis of FTX 2.0 APA
                        issues (0.5)
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Date         Initials   Description                                     Hours       Rate    Amount
11/17/2023   CX3        Telephone conference with K. Hansen, E.           0.70    940.00     658.00
                        Gilad, K. Pasquale, E. Sibbitt, B. Kelly, B.
                        Levine, L. Greenbacker, D. Holden, M.
                        Griffin, B. Stevenson, L. Tsao, N. Wong, J.
                        Song, T. Sadler, K. Fedler, S. Quattrocchi,
                        F. Merola, Jefferies and FTI on 2.0 APA
                        comments
11/17/2023   CX3        Review additional PH comments on FTX              1.60    940.00    1,504.00
                        2.0 APA (1.3); prepare summary regarding
                        same (.3)
11/17/2023   CX3        Review and revise corporate issues list           2.20    940.00    2,068.00
                        regarding FTX 2.0 APA (1.1); call with F.
                        Merola, B. Kelly, B. Levine and T. Sadler on
                        corporate issues list with respect to FTX 2.0
                        APA (0.5); supplement corporate issues list
                        (0.6)
11/17/2023   DMP4       Participate in telephone conference with K.       1.70   1,470.00   2,499.00
                        Hansen, E. Gilad, K. Pasquale, J. Song, T.
                        Sadler, K. Fedler, N. Wong, B. Stevenson,
                        L. Tsao, E. Sibbitt, B. Kelly, B. Levine, L.
                        Greenbacker, M. Griffin, S. Quattrocchi, F.
                        Merola, C. Xu, Jefferies and FTI regarding
                        collective comments to FTX 2.0 APA (.7);
                        review FTX 2.0 APA and updated
                        regulatory comments to the same (1.0)
11/17/2023   EG18       Analyze FTX 2.0 bidder APA issues (.3);           1.00   1,930.00   1,930.00
                        telephone conference with E. Sibbitt, B.
                        Kelly, B. Levine, K. Hansen, K. Pasquale,
                        B. Stevenson, L. Tsao, J. Song, K. Fedler,
                        N. Wong, L. Greenbacker, M. Griffin, D.
                        Holden, T. Sadler, F. Merola, S.
                        Quattrocchi, C. Xu regarding same (.7)
11/17/2023   EG18       Review certain FTX 2.0 APA provisions             4.10   1,930.00   7,913.00
                        and issues (0.7); analyze authority and
                        precedent regarding same (1.1); prepare
                        comments and specific, coordinated 2.0
                        APA review requests for UCC advisors
                        (2.3)
11/17/2023   ECS3       Analyze securities law issues related to 6001     2.00   1,595.00   3,190.00
                        bid terms
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11/17/2023   ECS3       Review and comment on FTX 2.0 APA                 0.70   1,595.00   1,116.50
                        issues list
11/17/2023   ECS3       Review and comment on FTX 2.0 asset               3.40   1,595.00   5,423.00
                        purchase agreement (2.7); call with K.
                        Hansen, E. Gilad, K. Pasquale, B. Kelly, B.
                        Levine, L. Tsao, M. Griffin, L.
                        Greenbacker, D. Holden, S. Quattrocchi, T.
                        Sadler, F. Merola, N. Wong, J. Song, B.
                        Stevenson, K. Fedler, C. Xu regarding 2.0
                        APA and 6001 (.7)
11/17/2023   FM7        Telephone conference with B. Kelly, B.            1.70   1,930.00   3,281.00
                        Levine, T. Sadler, and C. Xu regarding 6001
                        APA comments (0.5); review 6001 APA
                        issues list (0.3); review FTI due diligence
                        questions regarding reboot (0.2); telephone
                        conference with Jefferies, K. Hansen, K.
                        Pasquale, E. Gilad, B. Kelly, B. Levine, E.
                        Sibbitt, L. Tsao, M. Griffin, L.
                        Greenbacker, D. Holden, T. Sadler, S.
                        Quattrocchi, K. Fedler, N. Wong, B.
                        Stevenson, J. Song, C. Xu regarding 6001
                        APA comments (0.7)
11/17/2023   GS13       Review FTX 2.0 APA issues list                    0.60   1,675.00   1,005.00
11/17/2023   GK6        Review and revise U.S. jurisdictional matrix      3.40    940.00    3,196.00
                        with respect to definitions of control
                        persons of relevant bidders
11/17/2023   JI2        Review draft FTX 2.0 APA and provide              6.40   1,160.00   7,424.00
                        comments to same (6.2); correspond with
                        T. Sadler and B. Kelly re same (.2)
11/17/2023   JIS2       Telephone conference with K. Hansen, E.           0.80   1,750.00   1,400.00
                        Gilad, K. Pasquale, B. Kelly, B. Levine, E.
                        Sibbitt, L. Tsao, T. Sadler, N. Wong, S.
                        Quattrocchi, K. Fedler, B. Stevenson, M.
                        Griffin, L. Greenbacker, D. Holden, F.
                        Merola, C. Xu to review the FTX 2.0
                        purchase agreement issues (.7); review
                        follow up issues regarding same (.1)
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11/17/2023   KF6        Conference (portion) with K. Hansen, E.            0.50    855.00     427.50
                        Gilad, K. Pasquale, B. Kelly, B. Levine, E.
                        Sibbitt, D. Holden, L. Tsao, B. Stevenson,
                        N. Wong, J. Song, LK Greenbacker, M.
                        Griffin, S. Quattrocchi, T. Sadler, F.
                        Merola, C. Xu regarding assessment of FTX
                        2.0 APA
11/17/2023   KP17       Call with K. Hansen, E. Gilad, E. Sibbitt, B.      0.70   1,930.00   1,351.00
                        Kelly, B. Levine, L. Greenbacker, D.
                        Holden, M. Griffin, S. Quattrocchi, F.
                        Merola, C. Xu, B. Stevenson, L. Tsao, J.
                        Song, T. Sadler, K. Fedler, N. Wong,
                        Jefferies and FTI re 2.0 and 2.0 APA issues
11/17/2023   KH18       Analyze certain FTX 2.0 APA provisions             1.70   2,135.00   3,629.50
                        (.6); analyze 2.0 sale issues and regulatory
                        considerations (.4); call with K. Pasquale, E.
                        Gilad, F. Merola B. Kelly, B. Levine, T.
                        Sadler, J. Song, L. Tsao, E. Sibbitt, B.
                        Stevenson, N. Wong, M. Griffin, S.
                        Quattrocchi, C. Xu, D. Holden, L.
                        Greenbacker, K. Fedler regarding same (.7)
11/17/2023   LED        Review and revise regulatory and                   2.00   1,470.00   2,940.00
                        compliance comments to FTX 2.0 APA
                        (1.1); correspond with D. Holden regarding
                        same (.2); attend call with K. Hansen, E.
                        Gilad, K. Pasquale, B. Stevenson, N. Wong,
                        T. Sadler, J. Song, L. Tsao, E. Sibbitt, B.
                        Kelly, B. Levine, D. Holden, M. Griffin, S.
                        Quattrocchi, F. Merola, C. Xu, K. Fedler,
                        Jefferies and FTI regarding comments to
                        FTX 2.0 APA (.7)
11/17/2023   LT9        Call with K. Hansen, E. Gilad, K. Pasquale,        0.70   1,570.00   1,099.00
                        B. Kelly, B. Levine, E. Sibbitt, B. Stevenson,
                        N. Wong, S. Quattrocchi, K. Fedler, J.
                        Song, M. Griffin, L. Greenbacker, T. Sadler,
                        D. Holden, F. Merola, C. Xu to review FTX
                        2.0 asset purchase agreement
11/17/2023   LT9        Correspond with B. Stevenson on FTX 2.0            0.20   1,570.00    314.00
                        asset purchase agreement questions
11/17/2023   LT9        Review FTX 2.0 asset purchase agreement            1.10   1,570.00   1,727.00
                        and related questions
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Date         Initials   Description                                      Hours       Rate    Amount
11/17/2023   MEG9       Review FTX 2.0 APA issues list                     0.50   1,470.00    735.00
11/17/2023   MEG9       Call with K. Hansen, E. Gilad, K. Pasquale,        0.70   1,470.00   1,029.00
                        B. Kelly, B. Levine, E. Sibbitt, L. Tsao, J.
                        Song, T. Sadler, S. Quattrocchi, K. Fedler,
                        N. Wong, B. Stevenson, L. Greenbacker, D.
                        Holden, F. Merola, C. Xu on FTX 2.0 APA
11/17/2023   NKW1       Conference with K. Hansen, K. Pasquale,            1.10    855.00     940.50
                        E. Gilad, L. Tsao, C. Xu, B. Stevenson, F.
                        Merola, B. Kelly, B. Levine, T. Sadler, J.
                        Song, S. Quattrocchi, M. Griffin, D.
                        Holden, L. Greenbacker, K. Fedler, E.
                        Sibbitt regarding tax aspects of FTX 2.0
                        asset purchase agreement (.7); review and
                        revise tax issues list for FTX 2.0 asset
                        purchase agreement (.4)
11/17/2023   SAQ        Conference with K. Hansen, E. Gilad, K.            0.70   1,160.00    812.00
                        Pasquale, E. Sibbitt, B. Kelly, B. Levine, B.
                        Stevenson, L. Tsao, J. Song, T. Sadler, K.
                        Fedler, N. Wong, L. Greenbacker, D.
                        Holden, M. Griffin, F. Merola, C. Xu,
                        Jefferies and FTI regarding FTX 2.0 asset
                        purchase agreement
11/17/2023   SAQ        Revise regulatory issues list concerning draft     1.10   1,160.00   1,276.00
                        asset purchase agreement for FTX 2.0
11/17/2023   SAQ        Prepare correspondence to D. Holden, L.            0.20   1,160.00    232.00
                        Greenbacker, and K. Fedler regarding FTX
                        2.0 regulatory considerations for asset
                        purchase agreement
11/17/2023   TS21       Analyze FTX 2.0 purchase agreement (2.5);          5.10   1,210.00   6,171.00
                        call with B. Kelly, B. Levine, F. Merola, and
                        C. Xu regarding FTX 2.0 purchase
                        agreement (.5); call with K. Hansen, K.
                        Pasquale, E. Gilad, B. Kelly, B. Levine, E.
                        Sibbitt, L. Tsao, J. Song, M. Griffin, L.
                        Greenbacker, D. Holden, B. Stevenson, S.
                        Quattrocchi, K. Fedler, N. Wong, F.
                        Merola, C. Xu regarding purchase
                        agreement issues (.7); review and revise 2.0
                        APA issues list (1.4)
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11/18/2023   BL10       Review FTX 2.0 issues list (.2); prepare         0.50   1,330.00    665.00
                        comments on next steps regarding FTX 2.0
                        and APA (.3)
11/18/2023   BK12       Correspond with T. Sadler, B. Levine and         4.50   1,675.00   7,537.50
                        E. Gilad re: FTX 2.0 APA issues list (0.3);
                        review and supplement FTX 2.0 APA issues
                        list (2.5); review and revise updated draft
                        FTX 2.0 APA issues list from E. Gilad
                        (1.5); correspond with Y. Han re: same (.2)
11/18/2023   EG18       Draft parts of collective FTX 2.0 APA            3.10   1,930.00   5,983.00
                        issues list
11/18/2023   FM7        Review 6001 APA issues list                      0.30   1,930.00    579.00
11/18/2023   SAQ        Review correspondence from Debtors and           0.20   1,160.00    232.00
                        E. Gilad regarding FTX 2.0 asset purchase
                        agreement (.1); prepare correspondence to
                        L. Greenbacker regarding same (.1)
11/18/2023   TS21       Review and revise FTX 2.0 purchase               2.10   1,210.00   2,541.00
                        agreement issues list
11/19/2023   BK12       Review and respond to emails from E.             1.60   1,675.00   2,680.00
                        Gilad re: FTX 2.0 APA (0.6); review
                        updated 2.0 APA draft from H. Yaqi (0.7);
                        follow-up correspondence with E. Gilad re:
                        same (0.3)
11/19/2023   DMP4       Review correspondence from L.                    0.30   1,470.00    441.00
                        Greenbacker and S. Quattrocchi regarding
                        revised APA and comments to the same
11/19/2023   EG18       Correspond with E. Sibbitt, B. Kelly, B.         0.30   1,930.00    579.00
                        Levine, C. Daniel, T. Sadler regarding FTX
                        2.0 and regulatory analysis related to sale
11/19/2023   EG18       Correspond with B. Kelly regarding FTX           0.10   1,930.00    193.00
                        2.0 and 2.0 APA
11/19/2023   FM7        Review E. Gilad correspondence regarding         0.40   1,930.00    772.00
                        due diligence topics regarding 6001 APA
                        (0.2); review B. Kelly correspondence
                        regarding 6001 APA markup (0.2)
11/19/2023   KP17       Review 2.0 APA issues list and prepare           0.60   1,930.00   1,158.00
                        comments on same
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Date         Initials   Description                                      Hours       Rate    Amount
11/20/2023   BK12       Correspond with E. Gilad re: 2.0 APA               3.30   1,675.00   5,527.50
                        issues list (0.7); review A. Grossi email re:
                        Sidley diligence call (0.1); correspond with
                        T. Sadler re: same (0.1); analyze Debtor
                        counterproposal deck (0.4); correspond
                        with T. Shea and E. Gilad re: same (0.5);
                        review 2.0 reverse diligence questions and
                        related VDR contents (1.3); correspond
                        with E. Gilad and C. Xu re: same (0.2)
11/20/2023   CA14       Correspond with E. Sibbitt, L. Rubin, A.           1.00   1,270.00   1,270.00
                        Nizamian and G. Khoury re: certain FTX
                        2.0 APA terms (.3); review precedent terms
                        regarding same (.7)
11/20/2023   CD5        Review correspondence from Sullivan &              0.40   1,750.00    700.00
                        Cromwell, Rothschild regarding PH
                        comments to FTX 2.0 APA
11/20/2023   CX3        Review and comment on FTX 2.0 issues list          0.50    940.00     470.00
11/20/2023   EG18       Telephone conference with Jefferies, K.            0.50   1,930.00    965.00
                        Hansen regarding FTX 2.0 updates and sale
                        issues
11/20/2023   EG18       Conference with Jefferies, E. Sibbitt              2.10   1,930.00   4,053.00
                        regarding FTX 2.0 APA (.3); analyze 2.0
                        APA and bidder regulatory issues (1.8)
11/20/2023   EG18       Analyze Debtors' proposed response to              1.10   1,930.00   2,123.00
                        6001 (.4); correspond with Jefferies, B.
                        Kelly regarding Debtors' proposed response
                        to 6001 (.7)
11/20/2023   ECS3       Review counter response to 6001 (0.6);             1.50   1,595.00   2,392.50
                        prepare comments on same (0.4); review
                        related correspondence with Jefferies and E.
                        Gilad, B. Kelly (0.2); call with Jefferies, E.
                        Gilad regarding FTX 2.0 APA (0.3)
11/20/2023   FM7        Review E. Gilad correspondence regarding           0.50   1,930.00    965.00
                        6001 due diligence (0.2); review
                        correspondence from FTI (Risler) regarding
                        6001 due diligence topics (0.1); review E.
                        Gilad correspondence regarding reboot
                        update (0.2)
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Date         Initials   Description                                      Hours      Rate    Amount
11/20/2023   GK6        Analyze 6001 asset purchase agreement             3.20    940.00    3,008.00
                        representations and warranties (3.0);
                        correspond with E. Sibbitt, A. Nizamian,
                        and C. Anderson regarding the same (.2)
11/20/2023   GK6        Review and supplement U.S. jurisdictional         2.10    940.00    1,974.00
                        matrix as relates to control persons of FTX
                        2.0 bidders
11/20/2023   KH18       Analyze 2.0 APA and bidder issues (.6);           1.10   2,135.00   2,348.50
                        discussion with Jefferies, E. Gilad regarding
                        same (.5)
11/20/2023   MEG9       Review 2.0 APA issues list from J. Kang at        1.50   1,470.00   2,205.00
                        Rothschild (0.4); review draft 2.0 APA
                        shared with Sidley from Y. Han (1.1)
11/20/2023   SAQ        Prepare correspondence to L. Greenbacker          0.20   1,160.00    232.00
                        and C. Xu regarding conference with
                        Debtors concerning issues list for FTX 2.0
                        asset purchase agreement draft
11/20/2023   SAQ        Review Debtors' response to 6001 counter          0.10   1,160.00    116.00
                        proposal
11/20/2023   TS21       Correspond with E. Gilad, B. Kelly, C. Xu,        0.40   1,210.00    484.00
                        LK Greenbacker, C. Daniel, E. Sibbitt, L.
                        Tsao, B. Stevenson re diligence call related
                        to legal diligence for 6001 2.0 APA
11/21/2023   BK12       Correspond with E. Gilad, E. Sibbitt re:          3.50   1,675.00   5,862.50
                        reverse diligence issues related to 2.0 APA
                        and bidders (1.4); correspond with E. Gilad
                        re: 2.0 diligence call and related APA
                        matters (1.5); correspond with E. Gilad and
                        E. Sibbitt re: 2.0 bidder diligence tracker
                        and 6001 call agenda from C. Hodges
                        (S&C) (0.6)
11/21/2023   CX3        Review agenda for FTX 2.0 call with 6001          0.40    940.00     376.00
                        and debtors (.1); prepare notes regarding
                        FTX 2.0 due diligence for same (.3)
11/21/2023   DMP4       Review and respond to correspondence              0.30   1,470.00    441.00
                        from L. Greenbacker, B. Stevenson, and S.
                        Quattrocchi regarding regulatory questions
                        for reverse diligence call
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Date         Initials   Description                                      Hours      Rate    Amount
11/21/2023   EG18       Review FTX 2.0 reverse diligence and APA          3.10   1,930.00   5,983.00
                        issues (1.4); prepare specific, coordinated
                        review requests re same for UCC advisors
                        (.4); correspond with E. Sibbitt, B. Kelly
                        regarding reverse diligence issues related to
                        2.0 APA and bidders (1.3)
11/21/2023   ECS3       Analyze digital asset provisions of 6001          1.80   1,595.00   2,871.00
                        asset purchase agreement (0.6); review
                        against related precedent (1.2)
11/21/2023   ECS3       Review and comment on 6001 diligence              1.10   1,595.00   1,754.50
                        tracker and diligence
11/21/2023   FM7        Review B. Kelly correspondence regarding          0.60   1,930.00   1,158.00
                        Sidley due diligence telephone conference
                        regarding 6001 APA (0.2); review reboot
                        diligence tracker (0.2); review revised 6001
                        due diligence agenda (0.2)
11/21/2023   GK6        Analyze and supplement U.S. jurisdictional        1.50    940.00    1,410.00
                        matrix related to control persons of 2.0
                        bidders
11/21/2023   GK6        Analyze and comment on 6001 asset                 5.30    940.00    4,982.00
                        purchase agreement representations and
                        warranties (.6); analyze precedent asset
                        purchase agreements to formulate a
                        negotiation strategy (4.5); correspond with
                        E. Sibbitt, A. Nizamian, and C. Anderson
                        regarding the same (.2)
11/21/2023   KP17       Emails with E. Gilad, C. Daniel, L.               0.60   1,930.00   1,158.00
                        Greenbacker re FTX 2.0 APA issues (.3);
                        review information re same (.3)
11/21/2023   KH18       Analyze 2.0 bidder regulatory issues (.6)         0.90   2,135.00   1,921.50
                        correspond with E. Gilad, E. Sibbitt, B.
                        Kelly regarding same (.3)
11/21/2023   LED        Review diligence requests related to FTX          1.00   1,470.00   1,470.00
                        2.0 and 2.0 APA (.6); correspond with S.
                        Quattrocchi regarding same (.2); prepare
                        notes for diligence call with 6001 and
                        debtors (.2)
11/21/2023   LED        Review and revise 2.0 regulatory diligence        1.10   1,470.00   1,617.00
                        call agenda (.8); correspond with S.
                        Quattrocchi regarding same (.3)
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11/21/2023   LT9        Correspond with B. Kelly and B. Stevenson        0.20   1,570.00    314.00
                        on 6001 asset purchase agreement review
11/21/2023   LT9        Review and supplement list of issues for         0.30   1,570.00    471.00
                        6001 asset purchase agreement
11/21/2023   SAQ        Revise FTX 2.0 6001 due diligence call           0.60   1,160.00    696.00
                        agenda (.3); correspond with B. Kelly and L.
                        Greenbacker regarding same (.3)
11/21/2023   SAQ        Correspond with N. Moffatt and L.                0.40   1,160.00    464.00
                        Greenbacker regarding FCA and MICA
                        considerations in connection with 6001's
                        FTX 2.0 bid
11/21/2023   SAQ        Correspond with L. Greenbacker regarding         0.10   1,160.00    116.00
                        FTX 2.0 6001 diligence questions
11/21/2023   SAQ        Review consolidated bidder data request list     0.40   1,160.00    464.00
                        from Debtors
11/21/2023   TS21       Review and revise due diligence agenda           0.70   1,210.00    847.00
                        questions related to 6001 2.0 APA
11/22/2023   AAN1       Analyze state money transmission licensing       1.70   1,270.00   2,159.00
                        requirements for proposed FTX 2.0
                        operation
11/22/2023   AAN1       Analyze 6001 Fincen registration                 2.20   1,270.00   2,794.00
                        considerations
11/22/2023   AAN1       Review and comment on SEC request for            0.90   1,270.00   1,143.00
                        documents from digital asset companies
11/22/2023   AAN1       Review P-A consortium proposed                   0.80   1,270.00   1,016.00
                        acquisition of FTX 2.0 vehicle
11/22/2023   AAN1       Analyze 6005 proposed operation of FTX           1.10   1,270.00   1,397.00
                        2.0
11/22/2023   AAN1       Analyze 6006 financial sponsor bidder 2.0        0.90   1,270.00   1,143.00
                        considerations
11/22/2023   BK12       Review S&C agenda for reverse due                0.30   1,675.00    502.50
                        diligence call with 6001
11/22/2023   CA14       Review certain provisions in APA                 0.50   1,270.00    635.00
                        precedent in connection 6001 APA
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Date         Initials   Description                                     Hours      Rate    Amount
11/22/2023   EG18       Analyze 2.0 regulatory issues and prepare        1.80   1,930.00   3,474.00
                        outline re same for FTX 2.0 reverse
                        diligence telephone conference (1.4);
                        prepare comments and specific, coordinated
                        2.0 review requests regarding same for UCC
                        advisors (.4)
11/22/2023   ECS3       Review diligence documents and summaries         1.40   1,595.00   2,233.00
                        in advance of regulatory diligence call
11/22/2023   ECS3       Review 6001 asset purchase agreement             1.90   1,595.00   3,030.50
11/22/2023   FM7        Review Jefferies correspondence regarding        0.60   1,930.00   1,158.00
                        counterproposal to 6001 (0.2); review Sidley
                        comments to 6001 APA (0.4)
11/22/2023   GK6        Supplement U.S. jurisdictional matrix            2.50    940.00    2,350.00
                        related to control persons of FTX 2.0
                        bidders
11/22/2023   LED        Review and prepare notes regarding 2.0           0.50   1,470.00    735.00
                        APA regulatory issues for regulatory
                        diligence call with 6001 and debtors
11/22/2023   LT9        Correspond with B. Stevenson on 6001             0.20   1,570.00    314.00
                        asset purchase agreement
11/22/2023   LT9        Review documents related to 6001 asset           0.40   1,570.00    628.00
                        purchase agreement
11/22/2023   JM46       Respond to diligence responses from 6001         1.00   1,470.00   1,470.00
11/22/2023   SAQ        Prepare correspondence to M. Griffin, L.         0.20   1,160.00    232.00
                        Greenbacker, and K. Fedler regarding
                        analysis of 6001's FTX 2.0 regulatory
                        position
11/22/2023   SAQ        Prepare correspondence to N. Moffatt             0.10   1,160.00    116.00
                        regarding UK and EU regulatory
                        considerations concerning 6001's FTX 2.0
                        bid
11/24/2023   BJS4       Draft recommendations on know your               0.60   1,495.00    897.00
                        customer due diligence for FTX 2.0
11/24/2023   BK12       Correspond with T. Sadler, C. Xu and E.          2.00   1,675.00   3,350.00
                        Gilad re: S&C's markup of 2.0 APA and PH
                        issues list (0.9); review and comment on
                        priority diligence requests and UCC advisor
                        feedback on same (1.1)
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Date         Initials   Description                                        Hours      Rate    Amount
11/24/2023   CX3        Review revised 6001 APA (.9); update 6001           1.30    940.00    1,222.00
                        APA issues list (.4)
11/24/2023   EG18       Correspond with B. Kelly and T. Sadler              0.50   1,930.00    965.00
                        regarding FTX 2.0 due diligence and APA
                        (.3); analyze next steps in process for same
                        (.2)
11/24/2023   ECS3       Review and supplement 6001 priority                 1.00   1,595.00   1,595.00
                        regulatory due diligence requests
11/24/2023   FM7        Correspond with Sandler re 6001 APA                 0.20   1,930.00    386.00
11/24/2023   KP17       Review diligence lists and related comments         0.30   1,930.00    579.00
                        re FTX 2.0 bid
11/24/2023   SAQ        Prepare correspondence to L. Greenbacker,           0.50   1,160.00    580.00
                        B. Stevenson, and T. Sadler regarding
                        follow-up priority regulatory questions for
                        6001 in connection with FTX 2.0 (.2);
                        review and revise follow-up priority
                        regulatory questions from FTI and S&C for
                        6001's FTX 2.0 bid (.3)
11/24/2023   TS21       Analyze revised 2.0 asset purchase                  2.40   1,210.00   2,904.00
                        agreement and annotate APA issues list
11/25/2023   CD5        Respond to LK Greenbacker, B. Stevenson,            0.20   1,750.00    350.00
                        T. Sadler and S. Quattrocchi regarding the
                        6001 due diligence call and remaining due
                        diligence requests
11/25/2023   CD5        Review correspondence from LK                       0.50   1,750.00    875.00
                        Greenbacker, T. Sadler, B. Stevenson, S.
                        Quattrocchi regarding the 6001 due
                        diligence call and remaining due diligence
                        requests
11/25/2023   FM7        Revise 6001 due diligence list (0.2); analyze       0.50   1,930.00    965.00
                        redlined 6001 APA issues list (0.3)
11/25/2023   TS21       Continue analyzing revised 2.0 asset                0.70   1,210.00    847.00
                        purchase agreement and annotating APA
                        issues list (.5); correspond with B. Kelly, E.
                        Gilad, F. Merola and C. Xu regarding same
                        (.2)
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11/26/2023   LED        Review notes from S. Quattrocchi, M.                2.30   1,470.00   3,381.00
                        Griffin and D. Holden regarding 6001
                        diligence call (.8); prepare regulatory analysis
                        in connection with same (.7); prepare
                        comments to due diligence request list for
                        6001 (.6); correspond with S. Quattrocchi
                        regarding same (.2)
11/26/2023   SAQ        Prepare summary of regulatory takeaways             0.20   1,160.00    232.00
                        from due diligence conference with 6001
11/27/2023   AAN1       Analyze bidder’s proposed operation of              1.20   1,270.00   1,524.00
                        FTX 2.0
11/27/2023   AAN1       Analyze ATS exemption and classification            1.20   1,270.00   1,524.00
                        issues
11/27/2023   AAN1       Analyze 6002 proposed operation of FTX              0.80   1,270.00   1,016.00
                        2.0
11/27/2023   BK12       Correspond with T. Sadler and C. Xu re: 2.0         1.10   1,675.00   1,842.50
                        diligence summaries (0.7); review latest
                        debtor proposal to 2.0 bidder (0.4)
11/27/2023   CD5        Correspond with LK Greenbacker                      0.30   1,750.00    525.00
                        regarding the Fintech write-up on due
                        diligence for 6001 (.2); review
                        correspondence from C. Xu regarding same
                        (.1)
11/27/2023   CX3        Review and supplement PH fintech                    2.80    940.00    2,632.00
                        summary of FTX 2.0 diligence call with
                        bidder (6001)
11/27/2023   ECS3       Analyze and comment on structuring for              1.40   1,595.00   2,233.00
                        alternative 2.0 bids
11/27/2023   GK6        Analyze and supplement U.S. jurisdictional          3.50    940.00    3,290.00
                        matrix related to U.S. control persons of 2.0
                        bidders
11/27/2023   KF6        Review new diligence documents added to             0.70    855.00     598.50
                        2.0 bidder data room
11/27/2023   LED        Prepare summary of diligence call with 6001         1.50   1,470.00   2,205.00
                        and debtors (1.2); correspond with M.
                        Griffin and S. Quattrocchi regarding same
                        (.3)
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11/27/2023   MEG9       Review documents added to data room for            0.90   1,470.00   1,323.00
                        6003
11/27/2023   SAQ        Prepare follow up summary regarding 6001           0.60   1,160.00    696.00
                        2.0 regulatory matters
11/27/2023   SAQ        Prepare correspondence to K. Fedler                0.20   1,160.00    232.00
                        regarding 6003 FTX 2.0 regulatory diligence
                        (.1); review 6003 2023 launch plan and
                        regulatory supplement (.1)
11/28/2023   AAN1       Analyze seigniorage earning digital assets         2.30   1,270.00   2,921.00
                        and related securities law considerations
11/28/2023   AAN1       Review and comment on control persons              1.60   1,270.00   2,032.00
                        analysis and limitations for 2.0 bidders post-
                        transaction
11/28/2023   BJS4       Draft know your customer, anti-money               0.90   1,495.00   1,345.50
                        laundering, and fraud results from due
                        diligence for FTX 2.0
11/28/2023   BK12       Correspond with T. Sadler re: 2.0 diligence        0.30   1,675.00    502.50
                        summaries (0.1); review same (0.2)
11/28/2023   EG18       Analyze comments from Jefferies, FTI, C.           1.10   1,930.00   2,123.00
                        Daniel, B. Kelly, E. Sibbitt regarding
                        regulatory diligence related to 2.0 APA and
                        bidders (.9); correspond with C. Daniel, B.
                        Kelly, E. Sibbitt regarding same (.2)
11/28/2023   GK6        Review and supplement U.S. jurisdictional          5.70    940.00    5,358.00
                        matrix related to defining U.S. control
                        persons of 2.0 bidders (1.3); analyze
                        application of Regulation S to same (2.3);
                        analyze the commentary on Investment
                        Company Act of 1940 in connection with
                        same (2.1)
11/28/2023   KH18       Continue analyzing FTX 2.0 sale issues and         1.00   2,135.00   2,135.00
                        process
11/28/2023   TS21       Draft diligence summary re reverse 6001            4.10   1,210.00   4,961.00
                        diligence discussion in connection with
                        6001 asset purchase agreement (3.8);
                        correspond with B. Kelly and E. Gilad
                        regarding same (.3)
11/29/2023   EG18       Analyze and comment on FTX 2.0 sale                2.10   1,930.00   4,053.00
                        related issues
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11/29/2023   FM7        Review 6001 cap stack discovery                   0.10   1,930.00    193.00
11/29/2023   GK6        Prepare parts of U.S. jurisdictional matrix       6.30    940.00    5,922.00
                        related to defining U.S. control persons of
                        2.0 bidders (1.3); analyze impact of
                        Regulation S on same (2.3); analyze
                        interplay of Investment Company act of
                        1940 with same (2.1); correspond with A.
                        Nizamian and B. Stevenson regarding the
                        same (.6)
11/29/2023   KH18       Analyze 2.0 APA and related regulatory and        1.90   2,135.00   4,056.50
                        securities law considerations (1.1);
                        correspond with E. Gilad, E. Sibbitt, B.
                        Kelly regarding same (.8)
11/29/2023   LED        Review 2.0 APA (.7); correspond with B.           1.80   1,470.00   2,646.00
                        Stevenson regarding KYC approach (.3);
                        analyze potential approaches to regulatory
                        matters in 2.0 APA (.4); correspond with E.
                        Gilad regarding same (.4)
11/29/2023   SAQ        Prepare correspondence to L. Greenbacker          0.20   1,160.00    232.00
                        regarding international regulatory takeaways
                        from 6001 due diligence call
11/30/2023   AAN1       Analyze 2.0 asset purchase agreement in           2.10   1,270.00   2,667.00
                        connection with Voting Trust Exception to
                        Investment Company Act of 1940
11/30/2023   BK12       Correspond with E. Gilad, T. Sadler re:           1.50   1,675.00   2,512.50
                        bidder markup of 2.0 APA (0.3); review 2.0
                        APA markup (0.3); call with K. Hansen, E.
                        Gilad, E. Sibbitt, C. Daniel, L. Greenbacker,
                        M. Griffin, D. Holden, T. Sadler, S.
                        Quattrocchi, N. Wong, C. Xu re 2.0 process
                        (.9)
11/30/2023   CA14       Correspond with E. Sibbitt, A. Nizamian           1.30   1,270.00   1,651.00
                        and G. Khoury re: 6001 APA terms (.3);
                        review and provide comments to 6001 APA
                        (1.0)
11/30/2023   CD5        Correspond with LK Greenbacker                    0.30   1,750.00    525.00
                        regarding approach to 2.0 APA and related
                        comments
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Date         Initials   Description                                       Hours      Rate    Amount
11/30/2023   CD5        Participate in portion of call with K.             0.50   1,750.00    875.00
                        Hansen, E. Gilad, D. Holden, M. Griffin,
                        LK Greenbacker, E. Sibbitt, S. Quattrocchi,
                        N. Wong, B. Kelly, T. Sadler, C. Xu
                        regarding FTX 2.0 update and process
11/30/2023   CX3        Telephone conference with K. Hansen, E.            0.90    940.00     846.00
                        Gilad, E. Sibbitt, B. Kelly, C. Daniel, L.
                        Greenbacker, M. Griffin, D. Holden, T.
                        Sadler, S. Quattrocchi, N. Wong on FTX
                        2.0 process
11/30/2023   CX3        Review Sidley turn of FTX 2.0 APA (.6);            0.80    940.00     752.00
                        correspond with T. Sadler on same (.2)
11/30/2023   CX3        Review markup of 6001 APA and draft                5.80    940.00    5,452.00
                        issues list (5.3); correspond with T. Sadler
                        on same (0.5)
11/30/2023   DMP4       Participate in telephone conference with K.        0.90   1,470.00   1,323.00
                        Hansen, E. Gilad, E. Sibbitt, B. Kelly, C.
                        Daniel, L. Greenbacker, M. Griffin, N.
                        Wong, T. Sadler, S. Quattrocchi, C. Xu
                        regarding FTX 2.0 and 2.0 APA
11/30/2023   EG18       Discussions with K. Hansen regarding 2.0           1.60   1,930.00   3,088.00
                        APA process and regulatory issues (0.5);
                        analyze APA mark up from FTX 2.0 bidder
                        (1.1)
11/30/2023   EG18       Call with K. Hansen, E. Sibbitt, C. Daniel,        0.90   1,930.00   1,737.00
                        B. Kelly, D. Holden, M. Griffin, L.
                        Greenbacker, S. Quattrocchi, N. Wong, T.
                        Sadler, C. Xu regarding 2.0 APA and related
                        process
11/30/2023   ECS3       Review and supplement FTX regulatory               0.70   1,595.00   1,116.50
                        and legal due diligence requests for 6001
11/30/2023   ECS3       Review and comment on updated FTX 2.0              0.60   1,595.00    957.00
                        asset purchase agreement
11/30/2023   ECS3       Participate in FTX 2.0 process call with K.        0.90   1,595.00   1,435.50
                        Hansen, E. Gilad, C. Daniel, N. Wong, B.
                        Kelly, M. Griffin, L. Greenbacker, D.
                        Holden, T. Sadler, S. Quattrocchi, C. Xu
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11/30/2023   GK6        Correspond with E. Sibbitt, A. Nizamian            1.80    940.00    1,692.00
                        and B. Stevenson regarding the U.S.
                        jurisdictional matrix related to U.S. control
                        persons of 2.0 bidders (.6); analyze U.S.
                        jurisdictional matrix related to U.S. control
                        persons of 2.0 bidders (1.2)
11/30/2023   GK6        Correspond with E. Sibbitt and C.                  0.80    940.00     752.00
                        Anderson regarding 6001 asset purchase
                        agreement (.2); review edits to 6001 asset
                        purchase agreement (.6)
11/30/2023   JIS2       Review FTX 2.0 asset purchase agreement            0.50   1,750.00    875.00
11/30/2023   KH18       Debtor 2.0 call debrief with E. Gilad, B.          1.40   2,135.00   2,989.00
                        Kelly, C. Daniel, E. Sibbitt, D. Holden, LK
                        Greenbacker, M. Griffin, S. Quattrocchi, N.
                        Wong, T. Sadler, C. Xu (.9); further
                        conference with E. Gilad regarding 2.0
                        APA process and regulatory issues (.5)
11/30/2023   LED        Review and prepare comments on 2.0 APA             1.80   1,470.00   2,646.00
                        (.9); attend FTX 2.0 call with K. Hansen, E.
                        Gilad, T. Sadler, S. Quattrocchi, C. Daniel,
                        B. Kelly, E. Sibbitt, M. Griffin, N. Wong,
                        D. Holden, C. Xu (.9)
11/30/2023   MEG9       Call on 2.0 and 2.0 APA with K. Hansen, E.         0.90   1,470.00   1,323.00
                        Gilad, E. Sibbitt, B. Kelly, C. Daniel, L.
                        Greenbacker, D. Holden, T. Sadler, N.
                        Wong, S. Quattrocchi, C. Xu
11/30/2023   NKW1       Conference with K. Hansen, E. Gilad, B.            0.90    855.00     769.50
                        Kelly, C. Daniel, E. Sibbitt, D. Holden, LK
                        Greenbacker, M. Griffin, S. Quattrocchi, T.
                        Sadler, C. Xu regarding 2.0 APA process
                        call and next steps for discourse with
                        debtors related to 2.0 APA
11/30/2023   SAQ        Review and analyze revisions to FTX 2.0            0.20   1,160.00    232.00
                        APA
11/30/2023   SAQ        Conference with K. Hansen, E. Gilad, E.            0.90   1,160.00   1,044.00
                        Sibbitt, B. Kelly, C. Daniel, L. Greenbacker,
                        M. Griffin, D. Holden, T. Sadler, G. Silber,
                        N. Wong, B. Stevenson, C. Xu regarding
                        FTX 2.0 APA
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11/30/2023   TS21       Participate in part of FTX 2.0 sale process         0.50   1,210.00       605.00
                        call with K. Hansen, E. Gilad, B. Kelly, C.
                        Xu, E. Sibbitt, C. Daniel, LK Greenbacker,
                        M. Griffin, D. Holden, S. Quattrocchi, N.
                        Wong
             Subtotal: B215 Regulatory Matters                            461.70              676,333.00




B240   Tax Issues
11/06/2023   GS15       Post-debtor call debrief with S. Joffe (FTI)        0.30   1,650.00       495.00
                        re tax matters and update
11/16/2023   GS15       Review tax provisions of draft FTX 2.0              1.60   1,650.00     2,640.00
                        APA (.7); prepare tax issues list regarding
                        same (.7); call with N. Wong regarding same
                        (.2)
11/17/2023   FM7        Review N. Wong correspondence regarding             0.40   1,930.00       772.00
                        tax issues related to 2.0 APA (0.2); review
                        G. Silber correspondence regarding tax
                        provisions re 6001 APA (0.2)
11/17/2023   GS15       Analyze tax provisions and tax issues               2.20   1,650.00     3,630.00
                        related to FTX 2.0 APA (1.6); correspond
                        with N. Wong regarding same (.6)
11/20/2023   GS15       Post-debtor call analysis of 2.0 tax issues         0.70   1,650.00     1,155.00
11/20/2023   NKW1       Review tax disclosure statement regarding           1.30    855.00      1,111.50
                        golden share provision (1.2); correspond
                        with G. Silber, E. Gilad, C. Xu, B. Levine,
                        L. Tsao and B. Stevenson regarding pending
                        asset list from Sullivan & Cromwell for
                        asset purchase agreement (.1)
11/21/2023   GS15       Review draft APA and tax issues related to          0.90   1,650.00     1,485.00
                        same
11/24/2023   NKW1       Review correspondence from G. Silber                1.30    855.00      1,111.50
                        regarding open tax issues with 2.0 APA (.1);
                        analyze Lehman Brothers Holdings Inc.
                        ruling regarding cancellation of debt income
                        (.5); analyze Lifecare Chapter 11 case
                        regarding Section 363 and Internal Revenue
                        Code tax liability (.7)
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Date         Initials   Description                                      Hours      Rate     Amount
11/27/2023   GS15       Call and emails with S. Joffe (FTI) re            0.40   1,650.00     660.00
                        potential reorganization treatment of an
                        asset sale
11/30/2023   GS15       Review IRS taxes motion (.3); review tax          0.70   1,650.00    1,155.00
                        provisions in draft FTX 2.0 APA (.4)
11/30/2023   KP17       Analyze debtors' IRS estimation motion and        0.90   1,930.00    1,737.00
                        IRS claims
11/30/2023   NKW1       Correspond with G. Silber regarding 2.0           2.50    855.00     2,137.50
                        APA and related tax issues (.3); review 2.0
                        APA (1.8); draft tax issues list regarding
                        same (.4)
             Subtotal: B240 Tax Issues                                   13.20              18,089.50




B261   Investigations
11/01/2023   EJO        Review documents produced by the                  2.20    855.00     1,881.00
                        Debtors for investigation of 5053
11/01/2023   JS45       Draft parts of investigation report regarding     3.30   1,360.00    4,488.00
                        1009
11/01/2023   KP17       Analyze documents and potential claims re         2.30   1,930.00    4,439.00
                        [5142] (1.7); analyze documents and
                        potential claims re [3014] (.6)
11/01/2023   LM20       Draft memorandum re 5048 investigation            2.60    855.00     2,223.00
11/01/2023   LPD        Review documents produced by FTX for              3.10    855.00     2,650.50
                        potential causes of action re: 5009
11/01/2023   NMN        Follow-up correspondence with UnitedLex           0.20    940.00      188.00
                        re: 1009 production
11/01/2023   NMN        Correspond with UnitedLex re: searches re:        0.30    940.00      282.00
                        1009 documents
11/01/2023   NMN        Prepare parts of 1009 report (6.1);               6.20    940.00     5,828.00
                        correspond with J. Steed regarding same (.1)
11/02/2023   AY8        Conference with K. Catalano, L. Miliotes,         0.30    800.00      240.00
                        and L. Koch on UCC investigation
                        document review (.2); prepare notes
                        regarding investigative review (.1)
11/02/2023   IS6        Analyze Embed documents                           0.50   1,330.00     665.00
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Date         Initials   Description                                       Hours      Rate     Amount
11/02/2023   JS45       Prepare parts of 1009 report (2.9);                3.00   1,360.00    4,080.00
                        correspond with N. Nicholson Gaviria
                        regarding same (.1)
11/02/2023   KP17       Analyze additional documents from                  6.20   1,930.00   11,966.00
                        Debtors re [5048] investigation (2.8);
                        conference with L. Miliotes re same (.3);
                        review certain database documents re [3015]
                        (1.7); review certain database documents re
                        [3014] (1.4)
11/02/2023   KC27       Review UCC investigation issue (.1); attend        0.30    940.00      282.00
                        meeting with L. Miliotes, L. Koch and A.
                        Yu regarding review of investigation
                        documents (.2)
11/02/2023   LM20       Review documents from Debtors re 5048              2.30    855.00     1,966.50
                        investigation and certain related
                        employment matters (1.8); attend meeting
                        with K. Pasquale re same (.3); attend
                        meeting with L. Koch, K. Catalano, and A.
                        Yu re investigative document review (.2)
11/02/2023   LK19       Conference with K. Catalano, L. Miliotes           0.90    855.00      769.50
                        and A. Yu regarding UCC investigation and
                        related document review (0.2); correspond
                        with UnitedLex regarding documents
                        received from the Debtors (0.2); update
                        investigations and litigation presentation for
                        the Committee (0.5)
11/02/2023   LPD        Review documents produced by FTX for               8.90    855.00     7,609.50
                        potential causes of action re: 5009
11/02/2023   NMN        Prepare parts of 1009 report (2.1);                2.20    940.00     2,068.00
                        correspond with J. Steed regarding same (.1)
11/03/2023   KP17       Analyze certain documents re insider brief         2.80   1,930.00    5,404.00
                        (1.4); analyze certain documents re [5143]
                        (1.4)
11/03/2023   KP17       Analyze information re SBF conviction and          2.30   1,930.00    4,439.00
                        estate claims
11/03/2023   LPD        Review documents produced by FTX for               4.10    855.00     3,505.50
                        potential causes of action re: 5009
11/03/2023   NMN        Update FTX investigation memorandum                2.70    940.00     2,538.00
                        for potential causes of action
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11/03/2023   NJ2        Review documents of interest in data room          0.60    855.00     513.00
                        regarding 5010
11/04/2023   LPD        Review documents produced by FTX for               6.30    855.00    5,386.50
                        potential causes of action re: 5009
11/04/2023   NJ2        Review documents of interest in data room          1.10    855.00     940.50
                        regarding 5010
11/05/2023   KP17       Outline issues for memo re [5048]                  1.40   1,930.00   2,702.00
                        investigation (.8); review additional
                        information re [5048] (.6)
11/05/2023   LPD        Review documents produced by FTX for               3.90    855.00    3,334.50
                        potential causes of action re: 5009
11/06/2023   JS45       Telephone conference with L. Tsao                  1.00   1,360.00   1,360.00
                        regarding inquiry related to 1009 (.1);
                        supplement Committee 1009 report (.9)
11/06/2023   KP17       Preliminary review of Debtors' investigative       0.80   1,930.00   1,544.00
                        report re [1008]
11/06/2023   LT9        Telephone conference with N. Nicholson             0.10   1,570.00    157.00
                        Gaviria regarding inquiry related to 1009
11/06/2023   LT9        Draft correspondence with I. Sasson                0.10   1,570.00    157.00
                        regarding diligence on potential causes of
                        action
11/06/2023   LT9        Review and revise draft report on inquiry          1.90   1,570.00   2,983.00
                        into 1009
11/06/2023   LT9        Telephone conference with J. Steed                 0.10   1,570.00    157.00
                        regarding inquiry related to 1009
11/06/2023   LPD        Review documents produced by FTX for               0.10    855.00      85.50
                        potential causes of action re: 5009
11/06/2023   NMN        Prepare parts of 1009 report                       2.10    940.00    1,974.00
11/06/2023   NMN        Correspond with L. Tsao re: 1009 report            0.20    940.00     188.00
11/06/2023   NMN        Correspond with L. Tsao re: FTX                    0.10    940.00      94.00
                        investigation memorandum for potential
                        causes of action
11/06/2023   NMN        Conference with L. Tsao re: FTX                    0.10    940.00      94.00
                        investigation memorandum for potential
                        causes of action
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11/06/2023   NMN        Conduct targeted searches re: 1009 (1.2);          1.40    940.00    1,316.00
                        correspond with L. Tsao regarding findings
                        (.2)
11/06/2023   NJ2        Review documents of interest in data room          9.70    855.00    8,293.50
                        regarding 5010
11/07/2023   EJO        Review documents produced by the                   0.50    855.00     427.50
                        Debtors for investigation of 5053
11/07/2023   IS6        Analyze Quinn Emanuel memo re                      0.50   1,330.00    665.00
                        professional labiality
11/07/2023   KP17       Emails with Quinn Emanuel re Rule 2004             0.60   1,930.00   1,158.00
                        target [2008] (.2); review revised protective
                        order re same (.2); emails with L. Koch re
                        same (.2)
11/07/2023   LM20       Draft background section of 5048                   1.90    855.00    1,624.50
                        investigative memorandum (1.3); review
                        documents produced by Debtors and
                        additional sources re same (.6)
11/07/2023   LT9        Prepare parts of investigation report              2.50   1,570.00   3,925.00
                        regarding prepetition inquiry
11/07/2023   LK19       Correspond with J. Palmerson (QE) and R.           0.70    855.00     598.50
                        Poppiti (YCST) regarding protective order
                        addendum for [2008] and related
                        documents (0.3); review and comment on
                        protective order addendum for [2008] and
                        related documents (0.4)
11/07/2023   NMN        Conduct targeted searches re: 1009 (.9);           1.10    940.00    1,034.00
                        correspond with L. Tsao regarding findings
                        (.2)
11/07/2023   NMN        Correspond with L. Tsao re: 1009 report            0.50    940.00     470.00
11/07/2023   NMN        Analyze issue regarding specific 1009 (.6);        0.80    940.00     752.00
                        correspond with L. Tsao regarding same
                        analysis (.2)
11/07/2023   NMN        Draft memoranda regarding 1009                     2.40    940.00    2,256.00
                        interviews
11/07/2023   NJ2        Review documents of interest in data room          9.40    855.00    8,037.00
                        regarding 5010
11/08/2023   EJO        Prepare memo to I. Sasson and K. Pasquale          2.00    855.00    1,710.00
                        discussing investigation into 5053
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11/08/2023   EJO        Review documents produced by the                     1.00    855.00     855.00
                        Debtors for investigation of 5053
11/08/2023   KP17       Analyze information re SBF trial evidence            1.60   1,930.00   3,088.00
                        (.8); review certain trial exhibits re same (.8)
11/08/2023   LM20       Draft 5048 investigative memorandum                  5.70    855.00    4,873.50
                        (3.1); review documents produced by the
                        Debtors re same (1.4); further prepare the
                        5048 investigative memorandum (1.2)
11/08/2023   LK19       Correspond with J. Palmerson (QE) and                0.40    855.00     342.00
                        UnitedLex regarding production from
                        [2003]
11/08/2023   LPD        Review documents produced by FTX for                 4.90    855.00    4,189.50
                        potential causes of action re: 5009
11/08/2023   NMN        Continue drafting memoranda regarding                7.80    940.00    7,332.00
                        1009 interviews
11/08/2023   NJ2        Review documents of interest in data room            5.40    855.00    4,617.00
                        regarding 5010
11/09/2023   FM7        Review L. Koch correspondence re venture             0.20   1,930.00    386.00
                        investment investigation targets
11/09/2023   KP17       Review draft investigation memo re [5048;            1.70   1,930.00   3,281.00
                        1013] (.3); conference with L. Miliotes re
                        same (.2); analyze certain documents re
                        [1009] investigation (1.2)
11/09/2023   LM20       Meet with K. Pasquale re 5048 investigative          0.30    855.00     256.50
                        memorandum (.2); follow up revisions to
                        same (.1)
11/09/2023   LK19       Correspond with I. Sasson and C. Xu                  0.20    855.00     171.00
                        regarding sale of venture assets for
                        investigation update
11/09/2023   LPD        Review documents produced by FTX for                 3.50    855.00    2,992.50
                        potential causes of action re: 5009
11/09/2023   NMN        Further draft memoranda regarding 1009               6.30    940.00    5,922.00
                        interviews
11/09/2023   NJ2        Review documents of interest in data room            5.60    855.00    4,788.00
                        regarding 5010
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11/10/2023   KP17       Review and revise draft investigation memo         6.70   1,930.00   12,931.00
                        re [5048; 1013] (3.4); review cited
                        documents re same (1.5); analyze
                        documents from Debtors re [5144] (1.8)
11/10/2023   LM20       Review and revise investigative                    1.80    855.00     1,539.00
                        memorandum re 5048 (1.5); correspond
                        with M. Laskowski re same (.2); correspond
                        with K. Pasquale re same (.1)
11/10/2023   LT9        Draft investigation report regarding               4.20   1,570.00    6,594.00
                        prepetition inquiry
11/10/2023   LPD        Review documents produced by FTX for               4.90    855.00     4,189.50
                        potential causes of action re: 5009
11/10/2023   NMN        Update memoranda regarding 1009                    0.20    940.00      188.00
                        interviews
11/11/2023   JS45       Telephone conference with L. Tsao on               1.00   1,360.00    1,360.00
                        1009 interviews (.3); revise report regarding
                        1009 (.7)
11/11/2023   LT9        Review and revise draft report of 1009             0.90   1,570.00    1,413.00
11/11/2023   LT9        Telephone conference with J. Steed on              0.30   1,570.00     471.00
                        report of 1009 and related interviews
11/11/2023   LPD        Review documents produced by FTX for               0.90    855.00      769.50
                        potential causes of action re: 5009
11/11/2023   NMN        Correspond with L. Tsao re: 1009 report            0.10    940.00       94.00
11/12/2023   IS6        Review and revise 5048 investigation memo          1.20   1,330.00    1,596.00
11/12/2023   KP17       Revise draft memo re [5048; 1013]                  0.40   1,930.00     772.00
                        investigation
11/13/2023   JS45       Review and revise 1009 report                      1.00   1,360.00    1,360.00
11/13/2023   KP17       Analyze select documents re [5144] (2.4);          7.10   1,930.00   13,703.00
                        analyze investigation reports, referenced
                        and related documents re [1009] (4.7)
11/13/2023   LM20       Review and revise 5048 memorandum (.7);            1.00    855.00      855.00
                        prepare exhibits re same (.3)
11/13/2023   LT9        Review 5048 investigative report                   0.40   1,570.00     628.00
11/13/2023   LT9        Correspond with K. Pasquale regarding              0.10   1,570.00     157.00
                        5048 investigative report
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11/13/2023   LT9        Review and revise report of 1009 and               1.40   1,570.00   2,198.00
                        findings
11/13/2023   NMN        Correspond with L. Tsao re: 1009 report            0.10    940.00      94.00
11/13/2023   NMN        Correspond with J. Steed re: 1009 report           0.10    940.00      94.00
11/13/2023   NMN        Update and supplement 1009 report                  3.60    940.00    3,384.00
11/13/2023   NMN        Correspond with Z. Muller and M. Mandell           0.10    940.00      94.00
                        re: prepetition productions
11/14/2023   IS6        Meeting with K. Pasquale re S&C                    0.30   1,330.00    399.00
                        investigation
11/14/2023   KP17       Conference with I. Sasson re [1009]                1.90   1,930.00   3,667.00
                        investigation (.3); review additional database
                        documents re same (1.3); conference with
                        L. Miliotes re [5048] investigation (.3)
11/14/2023   LM20       Review documents produced by Debtors re            3.60    855.00    3,078.00
                        5030 investment (3.3); meeting with K.
                        Pasquale re 5048 memo (.3)
11/14/2023   LT9        Review and revise investigative report             1.00   1,570.00   1,570.00
                        regarding 1009
11/14/2023   LT9        Correspond with K. Pasquale on                     0.10   1,570.00    157.00
                        investigative report regarding 1009
11/14/2023   LT9        Correspond with J. Steed on investigative          0.20   1,570.00    314.00
                        report regarding 1009
11/14/2023   LK19       Update investigations and litigation report        0.40    855.00     342.00
                        for the Committee
11/14/2023   LK19       Correspond with L. Duffy regarding UCC             0.10    855.00      85.50
                        investigation
11/14/2023   NMN        Revise 1009 report                                 0.20    940.00     188.00
11/14/2023   NMN        Update and supplement 1009 report (.7);            0.80    940.00     752.00
                        correspond with L. Tsao and J. Steed
                        regarding same (.1)
11/14/2023   NMN        Correspond with L. Tsao re: 1009 report            0.20    940.00     188.00
11/15/2023   KP17       Review and revise draft                            0.60   1,930.00   1,158.00
                        investigation/litigation deck
11/15/2023   LPD        Review documents produced by FTX for               1.80    855.00    1,539.00
                        potential causes of action re: 5009
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11/16/2023   KP17       Analyze certain documents re [5131/5132]          2.20   1,930.00   4,246.00
                        per creditor inquiry
11/16/2023   NMN        Correspond with L. Tsao re: 1009 report           0.10    940.00      94.00
11/17/2023   KP17       Analyze certain database documents per            1.80   1,930.00   3,474.00
                        Committee inquiries re [5082, 5094]
11/17/2023   KP17       Emails with FTI re 5082 token                     0.20   1,930.00    386.00
11/17/2023   LT9        Correspond with B. Stevenson on anti-             0.80   1,570.00   1,256.00
                        money laundering questions
11/17/2023   LT9        Draft correspondence to E. Gilad on anti-         0.60   1,570.00    942.00
                        money laundering questions
11/17/2023   LK19       Meet-and-confer with A. Alden (QE), J.            0.50    855.00     427.50
                        Palmerson (QE), and [1007] regarding rule
                        2004 discovery requests (0.3); prepare
                        summary notes for K. Pasquale and I.
                        Sasson regarding same (0.2)
11/17/2023   NMN        Update FTX investigation memorandum               2.40    940.00    2,256.00
                        for potential causes of action
11/18/2023   LPD        Review documents produced by FTX for              1.80    855.00    1,539.00
                        potential causes of action re: 5009
11/20/2023   KP17       Analyze additional documents re [1009]            4.90   1,930.00   9,457.00
                        (2.4); analyze certain recently produced
                        documents from Rule 2004 targets [2009;
                        1011] (2.5)
11/20/2023   LM20       Review documents produced by Debtors re           1.10    855.00     940.50
                        5030 investigation
11/20/2023   LPD        Review documents produced by FTX for              0.70    855.00     598.50
                        potential causes of action re: 5009
11/20/2023   NMN        Conference with L. Dinner (ULX) re:               0.30    940.00     282.00
                        review of FTX productions
11/20/2023   NMN        Follow-up correspondence with UnitedLex           0.10    940.00      94.00
                        re: review of FTX productions
11/20/2023   NMN        Correspond with L. Miliotes re: FTX               0.10    940.00      94.00
                        investigation memorandum for potential
                        causes of action
11/21/2023   LT9        Correspond with K. Pasquale on 1009               0.10   1,570.00    157.00
                        inquiry
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11/22/2023   KP17       Analyze certain documents, information re         3.30   1,930.00     6,369.00
                        [5009, 3018]
11/27/2023   RJ1        Review documents produced by Debtors re           1.70    855.00      1,453.50
                        5119
11/27/2023   KP17       Continue analysis of certain documents re         2.80   1,930.00     5,404.00
                        [5009; 3018]
11/27/2023   LM20       Review documents produced by the                  4.60    855.00      3,933.00
                        Debtors re 5030 related to Committee
                        investigation (2.3); review Quinn Emmanuel
                        memorandum re same (.5); draft parts of
                        Committee investigative memorandum re
                        same (1.8)
11/28/2023   RJ1        Review documents produced by debtors re           1.10    855.00       940.50
                        5119
11/28/2023   KP17       Analyze select documents from Rule 2004           2.60   1,930.00     5,018.00
                        production [2008; 2009]
11/28/2023   LM20       Draft 5030 memorandum (2.2); analyze              3.00    855.00      2,565.00
                        certain sources re same (.8)
11/28/2023   LT9        Correspond with K. Pasquale on                    0.20   1,570.00      314.00
                        investigation issues and meeting with Quinn
                        Emanuel
11/29/2023   RJ1        Review documents produced by debtors              1.40    855.00      1,197.00
                        regarding 5119
11/29/2023   EJO        Review documents produced by the                  2.80    855.00      2,394.00
                        Debtors for investigation of 5144
11/29/2023   KP17       Analyze select database documents at              2.60   1,930.00     5,018.00
                        Committee member request re [5145; 5022]
11/29/2023   LM20       Review documents re investigation of 5084         3.70    855.00      3,163.50
                        and 5140 investments
11/30/2023   EJO        Review documents produced by the                  2.00    855.00      1,710.00
                        Debtors for investigation of 5144
             Subtotal: B261 Investigations                              253.40              298,188.00




B310   Claims Administration and Objections
11/09/2023   EG18       Analyze plan and sale KYC issues                  1.10   1,930.00     2,123.00
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Date         Initials   Description                                       Hours      Rate    Amount
11/10/2023   ML30       Correspond with L. Miliotes re certain             0.30    540.00     162.00
                        claims (.1); research regarding same (.2)
11/12/2023   KP17       Analyze claims data from Debtors re claims         0.80   1,930.00   1,544.00
                        reconciliation issues
11/13/2023   FM7        Analyze Debtor omnibus claims summary              0.20   1,930.00    386.00
11/13/2023   JI2        Analyze data/chart from Debtors regarding          1.60   1,160.00   1,856.00
                        omnibus claims objections
11/13/2023   KP17       Analyze claims data from debtors                   0.50   1,930.00    965.00
11/14/2023   GS13       Review Debtors' claims reconciliation              0.80   1,675.00   1,340.00
                        documents
11/14/2023   JI2        Analyze excel file regarding omnibus claims        1.60   1,160.00   1,856.00
                        objections (1.3); correspond with K.
                        Pasquale and L. Koch re same (.3)
11/14/2023   KP17       Review debtors' five omnibus claims                1.10   1,930.00   2,123.00
                        objections (.7); analyze Rheingans-Yoo
                        response to claim objection (.4)
11/14/2023   KP17       Further analyze data re claims reconciliation      0.50   1,930.00    965.00
11/14/2023   LK19       Analyze omnibus claims objections filed by         1.60    855.00    1,368.00
                        the Debtors (1.2); summarize same for K.
                        Hansen, K. Pasquale, E. Gilad, G. Sasson
                        (0.4)
11/15/2023   FM7        Review KYC breakout of claims (0.2);               0.40   1,930.00    772.00
                        review C/U/D analysis of debtors'
                        amended schedules (0.2)
11/16/2023   KP17       Analyze FTI and A&M decks re claims and            0.80   1,930.00   1,544.00
                        recovery analysis
11/17/2023   FM7        Review correspondence from FTI                     0.20   1,930.00    386.00
                        (deBrignac) regarding KYC/AMI due
                        diligence
11/17/2023   GS13       Review claims deck (.7); telephone                 1.20   1,675.00   2,010.00
                        conference with FTI, K. Pasquale, and J.
                        Iaffaldano regarding same (.5)
11/17/2023   JI2        Call with K. Pasquale, G. Sasson, M. Diaz          0.50   1,160.00    580.00
                        (FTI) and B. Bromberg (FTI) re claims
                        issues
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11/17/2023   KP17       Call with FTI, G. Sasson, and J. Iaffaldano       1.80   1,930.00    3,474.00
                        re KYC claim issues (.5); analyze precedent
                        re same (1.3)
11/27/2023   KP17       Review Green Healthy House creditor               2.60   1,930.00    5,018.00
                        response to claim objection (.1); analyze
                        research results re [customer property] (2.5)
11/28/2023   FM7        Review claims overview                            0.30   1,930.00     579.00
11/28/2023   LT9        Correspond with B. Stevenson on KYC               0.30   1,570.00     471.00
                        issues
11/29/2023   KP17       Analyze revised claims data from Debtors          0.60   1,930.00    1,158.00
11/29/2023   KH18       Analyze claims update (0.4); analyze and          1.10   2,135.00    2,348.50
                        comment on debtors' claims objections
                        (0.7)
11/30/2023   EG18       Review Debtors' IRS claim estimation              0.70   1,930.00    1,351.00
                        motion (.5); discussions with K. Hansen
                        regarding same (.2)
11/30/2023   KH18       Review and comment on debtors' IRS                0.90   2,135.00    1,921.50
                        claims estimation motion (0.7); discussion
                        with E. Gilad regarding same (0.2)
11/30/2023   LM20       Review and summarize Debtors' motion for          1.80    855.00     1,539.00
                        entry of an order establishing a schedule
                        and procedure for estimating IRS claims
                        and declaration in support of the same
11/30/2023   LT9        Correspond with B. Stevenson on KYC               0.20   1,570.00     314.00
                        issues
             Subtotal: B310 Claims Administration and                    23.50              38,154.00
                       Objections




B320   Plan and Disclosure Statement (including Business Plan)
11/01/2023   AAN1       Review and comment on Form 10 vs Form             0.80   1,270.00    1,016.00
                        N2 disclosures in connection with FTX
                        restructuring
11/01/2023   CD5        Correspond with LK Greenbacker, S.                0.20   1,750.00     350.00
                        Quattrocchi, M. Griffin and E. Gilad
                        regarding start of RRT trading
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11/01/2023   CD5        Review correspondence from E. Gilad                 0.10   1,750.00    175.00
                        regarding start of RRT trading
11/01/2023   EG18       Telephone conference with K. Hansen, K.             0.60   1,930.00   1,158.00
                        Pasquale, G. Sasson regarding DS and plan
                        timeline
11/01/2023   ECS3       Analyze and comment on securities law               1.10   1,595.00   1,754.50
                        issues for in-kind distributions
11/01/2023   GS13       Review and revise draft plan timeline (.6);         1.80   1,675.00   3,015.00
                        review Ad Hoc Group checklist regarding
                        plan (.4); correspond with I. Sasson
                        regarding same (.2); meet with K. Hansen,
                        E. Gilad, and K. Pasquale to discuss plan
                        timeline (.6)
11/01/2023   KP17       Conference with K. Hansen, E. Gilad, G.             0.60   1,930.00   1,158.00
                        Sasson re plan timeline and related
                        Committee strategy
11/01/2023   KH18       Call with K. Pasquale, G. Sasson, E. Gilad          0.60   2,135.00   1,281.00
                        regarding plan and 2.0 timeline
11/02/2023   EG18       Analyze and comment on certain plan and             1.30   1,930.00   2,509.00
                        DS provisions
11/02/2023   ECS3       Analyze and comment on proposed pre-                1.70   1,595.00   2,711.50
                        effective date RRT trading analysis
11/03/2023   AAN1       Analyze global securities law framework for         0.60   1,270.00    762.00
                        FTX restructuring
11/03/2023   AAN1       Analyze application of Regulation S to FTX          0.60   1,270.00    762.00
                        restructuring
11/03/2023   GS13       Review revised terms of plan (.8); review           1.20   1,675.00   2,010.00
                        proposed plan timelines (.4)
11/06/2023   AAN1       Analyze no action letters addressing Section        2.40   1,270.00   3,048.00
                        1145 exemption of bankruptcy trading
                        claims (1.7); analyze issues under section
                        1145 exemption (.4); prepare comments on
                        same (.3)
11/06/2023   BK12       Call with E. Sibbitt re: pre-effective date         0.40   1,675.00    670.00
                        RRT
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11/06/2023   ECS3       Analyze and comment on tokenizing                 1.00   1,595.00   1,595.00
                        bankruptcy claim structuring (.8);
                        correspond with G. Khoury regarding same
                        (.2)
11/06/2023   ECS3       Call with B. Kelly regarding pre-effective        0.40   1,595.00    638.00
                        date RRT
11/06/2023   ECS3       Review and comment on pre-effective date          1.20   1,595.00   1,914.00
                        claims trading structuring and analysis
11/06/2023   FM7        Review letter from customers regarding            0.20   1,930.00    386.00
                        RRT
11/06/2023   KH18       Correspond with K. Pasquale, E. Gilad, G.         0.70   2,135.00   1,494.50
                        Sasson regarding DS and related plan
                        process
11/07/2023   GK6        Correspond with E. Sibbitt and A.                 0.30    940.00     282.00
                        Nizamian regarding Delaware law
                        blockchain governance precedents (.1);
                        correspond with E. Sibbitt and A. Nizamian
                        regarding global securities law framework
                        related to FTX restructuring (.2)
11/08/2023   AAN1       Analyze and prepare comments on Section           1.90   1,270.00   2,413.00
                        1145 exemption of bankruptcy claims from
                        securities regulations
11/08/2023   DA15       Analyze precedent Delaware companies              0.70    800.00     560.00
                        that have implemented blockchain
                        technology in creating and administering
                        corporate records and stock ledger
11/08/2023   EG18       Analyze RSA and RSA term sheet                    0.80   1,930.00   1,544.00
11/08/2023   EG18       Prepare DS, plan and sale timeline                0.60   1,930.00   1,158.00
11/08/2023   ECS3       Review and comment on section 1145                2.00   1,595.00   3,190.00
                        analysis for pre-plan confirmation
                        distributions (1.7); correspond with G.
                        Khoury and A. Nizamian regarding same
                        (.3)
11/08/2023   GK6        Analyze application of Section 1145 and           4.60    940.00    4,324.00
                        timing of same in the bankruptcy process
                        (4.3); correspond with E. Sibbitt and A.
                        Nizamian regarding the same (.3)
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Date         Initials   Description                                       Hours      Rate    Amount
11/08/2023   LK19       Correspond with G. Sasson and E. Gilad             0.20    855.00     171.00
                        regarding RSA milestones
11/09/2023   KP17       Call with creditor's counsel re plan issues        0.50   1,930.00    965.00
11/10/2023   AAN1       Analyze and comment on differentiation of          1.80   1,270.00   2,286.00
                        Rule 405 and Rule 902 securities definitions
11/10/2023   AAN1       Prepare parts of Section 1145 exemption            1.80   1,270.00   2,286.00
                        memorandum
11/10/2023   KH18       Analyze DS and 2.0 related issues (.6);            1.00   2,135.00   2,135.00
                        analyze 2.0 process and plan confirmation
                        (.4)
11/11/2023   ECS3       Review and comment on pre-plan                     2.00   1,595.00   3,190.00
                        confirmation securities distribution analysis
                        under 1145 and related no-action letters
                        (1.6); correspond with G. Khoury and A.
                        Nizamian regarding same (0.4)
11/12/2023   KP17       Analyze letter from certain customers re           0.70   1,930.00   1,351.00
                        plan provisions
11/13/2023   DA15       Analyze precedent Delaware companies               4.40    800.00    3,520.00
                        that have implemented blockchain
                        technology in creating and administering
                        corporate records and stock ledger
11/13/2023   GK6        Analyze application of EU global securities        3.50    940.00    3,290.00
                        law and their exemptions in connection
                        with FTX restructuring
11/13/2023   KP17       Call with creditor's counsel re plan issues        0.50   1,930.00    965.00
11/14/2023   GK6        Review and comment on companies using              2.90    940.00    2,726.00
                        blockchain technology to maintain
                        corporate records (2.7); correspond with E.
                        Sibbitt regarding the same (.2)
11/14/2023   GK6        Correspond with K. Burkov regarding                0.30    940.00     282.00
                        matrix relating to European Union offering
                        of securities law and exemptions
11/14/2023   KH18       Analyze interplay between FTX 2.0 sale             1.40   2,135.00   2,989.00
                        process and plan and related timing
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Date         Initials   Description                                        Hours      Rate    Amount
11/14/2023   LK19       Correspond with K. Pasquale regarding               1.60    855.00    1,368.00
                        response to creditor letter regarding plan
                        provisions (0.2); prepare follow-up notes
                        regarding same (0.2); draft letter response to
                        customer creditor group (1.2)
11/15/2023   EG18       Review debtors' plan and sale timeline deck         1.00   1,930.00   1,930.00
                        (0.6); correspond with K. Pasquale, F.
                        Merola regarding same (0.4)
11/15/2023   FM7        Review plan effective date timetable                0.20   1,930.00    386.00
11/15/2023   KP17       Analyze debtors' proposed plan timeline             0.20   1,930.00    386.00
11/17/2023   AAN1       Analyze SEC bankruptcy claim no action              2.80   1,270.00   3,556.00
                        letters for securities classification
11/17/2023   AAN1       Analyze Public Company registration vs              2.10   1,270.00   2,667.00
                        investment company registration
                        considerations
11/17/2023   AAN1       Analyze Coinbase and 5009 SEC                       2.70   1,270.00   3,429.00
                        complaints for digital asset securities
                        classification status
11/17/2023   GK6        Analyze case law and statutory authority            2.60    940.00    2,444.00
                        regarding matrix regarding European Union
                        offering of securities law and exemptions
11/17/2023   JI2        Analyze issues re allocation of digital assets      2.10   1,160.00   2,436.00
                        into recovery silos under Debtors' draft
                        plan
11/17/2023   KH18       Analyze plan and DS timing in connection            1.80   2,135.00   3,843.00
                        with FTX 2.0 sale (.9); analyze customer
                        priority issues related to plan (.9)
11/18/2023   JI2        Analyze digital asset recovery silo allocation      4.60   1,160.00   5,336.00
                        under Debtors' draft plan (4.2); correspond
                        with K. Pasquale re same (.4)
11/22/2023   GK6        Conference with K. Burkov regarding a               0.60    940.00     564.00
                        global EU offering for securities law and
                        exemptions (.4); follow up analysis of same
                        per K. Burkov comments (.2)
11/22/2023   KB16       Attend call with G. Khoury to discuss the           0.40   1,360.00    544.00
                        EU and UK framework on offering
                        securities and relevant exemptions
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Date           Initials   Description                                         Hours            Rate      Amount
11/27/2023     KP17       Analyze crypto estimation issues (.6);                 0.90    1,930.00         1,737.00
                          prepare notes regarding crypto estimation
                          issues and process (.3)
11/28/2023     AAN1       Analyze pre-plan exemption for issuance of             1.10    1,270.00         1,397.00
                          bankruptcy claims as non-securities
11/28/2023     AAN1       Review and comment on underwriter                      1.30    1,270.00         1,651.00
                          definition comparison between Chapter 11
                          and Section(2)(a)(11) definitions
11/28/2023     AAN1       Analyze precedent and authority regarding              1.60    1,270.00         2,032.00
                          SEC no-action letters on pre-plan
                          exemptions
11/30/2023     AAN1       Analyze and comment on share transfer                  1.60    1,270.00         2,032.00
                          considerations and bylaw vs investor rights
                          agreement precedence
11/30/2023     EG18       Review draft plan and RSA term sheet                   1.70    1,930.00         3,281.00
11/30/2023     EG18       Review Debtors' customer solicitation deck             0.20    1,930.00          386.00
11/30/2023     JI2        Review and revise draft plan                           6.60    1,160.00         7,656.00
11/30/2023     KP17       Analyze debtors' draft revised plan of                 6.90    1,930.00       13,317.00
                          reorganization (4.3); analyze legal precedent
                          re certain plan terms (2.2); analyze debtors'
                          deck re solicitation process (.4)
               Subtotal: B320 Plan and Disclosure Statement                    94.00                   130,412.50
                         (including Business Plan)



       Total                                                                 1,594.20                 2,182,070.00

                                                Timekeeper Summary

ID      Timekeeper Name                 Title                      Hours                Rate                  Fee
KH18    Kris Hansen                     Partner                     57.60          2,135.00             122,976.00
EG18    Erez Gilad                      Partner                   113.70           1,930.00             219,441.00
FM7     Frank Merola                    Partner                     47.20          1,930.00              91,096.00
KP17    Ken Pasquale                    Partner                   202.60           1,930.00             391,018.00
KP17    Ken Pasquale                    Partner                       3.00          965.00                2,895.00
MLS7    Michael L. Spafford             Partner                       6.80         1,930.00              13,124.00
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ALZ2    Arthur L. Zwickel         Partner                   0.50    1,905.00           952.50
CD5     Chris Daniel              Partner                  15.90    1,750.00         27,825.00
JIS2    Jane I. Song              Partner                   4.70    1,750.00          8,225.00
JM59    Jaime Madell              Partner                   8.70    1,750.00         15,225.00
GS13    Gabe Sasson               Partner                  31.70    1,675.00         53,097.50
BK12    Brian Kelly               Partner                  55.60    1,675.00         93,130.00
ECS3    Eric C. Sibbitt           Partner                  65.40    1,595.00     104,313.00
LT9     Leo Tsao                  Partner                  22.60    1,570.00         35,482.00
JM16    Jacqueline (Jackie) May   Of Counsel                0.80    1,700.00          1,360.00
GS15    Gary Silber               Of Counsel               11.10    1,650.00         18,315.00
RVJ     Randall V. Johnston       Of Counsel                1.20    1,520.00          1,824.00
BJS4    Braddock J. Stevenson     Of Counsel                8.70    1,495.00         13,006.50
DMP4    Diane M. Holden           Of Counsel               10.30    1,470.00         15,141.00
LED     Lauren-Kelly E. D.        Of Counsel               50.00    1,470.00         73,500.00
        Greenbacker
MEG9    Meagan E. Griffin         Of Counsel               31.70    1,470.00         46,599.00
JM46    Nina Moffatt              Of Counsel                2.00    1,470.00          2,940.00
KAT2    Katherine A. Traxler      Of Counsel                0.90    1,055.00           949.50
JS45    Jeremy M. Steed           Associate                 9.30    1,360.00         12,648.00
KB16    Konstantin Burkov         Associate                 0.40    1,360.00           544.00
IS6     Isaac Sasson              Associate                25.20    1,330.00         33,516.00
IS6     Isaac Sasson              Associate                 4.00     665.00           2,660.00
BL10    Bob Levine                Associate                25.30    1,330.00         33,649.00
CA14    Chris Anderson            Associate                 4.00    1,270.00          5,080.00
AAN1    Andrew A. Nizamian        Associate                80.10    1,270.00     101,727.00
TS21    Tess Sadler               Associate                35.30    1,210.00         42,713.00
JI2     Jack Iaffaldano           Associate            118.90       1,160.00     137,924.00
SAQ     Sarah A. Quattrocchi      Associate                22.90    1,160.00         26,564.00
KC27    Kristin Catalano          Associate                 2.40     940.00           2,256.00
CX3     Christine Xu              Associate                58.50     940.00          54,990.00
GK6     Gabriel Khoury            Associate                92.00     940.00          86,480.00
CC38    Claire E. Connor          Associate                 0.50     940.00            470.00
NMN     Natasha M. Nicholson      Associate                42.80     940.00          40,232.00
        Gaviria
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KF6     Kayla Fedler            Associate                   6.20        855.00          5,301.00
NJ2     Nina John               Associate                  31.80        855.00         27,189.00
RJ1     Chala Jackson           Associate                   4.20        855.00          3,591.00
LPD     Logan P. Duffy          Associate                  44.90        855.00         38,389.50
NKW1    Nicole K. Wong          Associate                  11.00        855.00          9,405.00
LK19    Leonie Koch             Associate                  85.00        855.00         72,675.00
LK19    Leonie Koch             Associate                   2.00        427.50           855.00
LM20    Lanie Miliotes          Associate                  33.80        855.00         28,899.00
EJO     Erik J. Oakley          Associate                  10.50        855.00          8,977.50
AY8     Annie (Xue) Yu          Associate                  10.40        800.00          8,320.00
DA15    Dan Ankenman            Associate                   5.10        800.00          4,080.00
ML30    Mat Laskowski           Paralegal                  72.00        540.00         38,880.00
MM57    Michael Magzamen        Paralegal                   3.00        540.00          1,620.00

Costs incurred and advanced

Date         Description                                           Quantity   Rate      Amount
11/07/2023 Photocopy Charges (Color)                                209.00    0.50       104.50
11/01/2023 Westlaw                                                                        48.46
11/02/2023 Local - Meals - Grubhub Holdings Inc. f/k/a                                    20.00
           Seamlessweb (USD) (JPMSUA); Invoice # SL-190-
           80 dated 11/05/2023; Leonie Koch; Location: New
           York; Dinner working late at the office on matter.;
           Order # 213324237039765 dated 11/02/2023
11/02/2023 Lexis/On Line Search                                                           35.25
11/02/2023 Westlaw                                                                      351.48
11/06/2023 Lexis/On Line Search                                                         110.21
11/06/2023 Lexis/On Line Search                                                         141.00
11/06/2023 Westlaw                                                                        56.57
11/06/2023 Westlaw                                                                        56.57
11/06/2023 Westlaw                                                                        84.85
11/07/2023 Westlaw                                                                        28.28
11/07/2023 Computer Search (Other)                                                      132.39
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11/08/2023 Taxi/Ground Transportation - Ken Pasquale;                                 432.00
           11/05/2023; train fare expense for travel to/from
           Wilmington, DE / NY for client court hearing
11/08/2023 Westlaw                                                                    141.42
11/09/2023 Westlaw                                                                     84.85
11/12/2023 Computer Search (Other)                                                     16.02
11/13/2023 Computer Search (Other)                                                     23.58
11/14/2023 Westlaw                                                                     28.28
11/14/2023 Computer Search (Other)                                                       0.63
11/16/2023 Computer Search (Other)                                                       1.08
11/17/2023 Computer Search (Other)                                                       8.10
11/21/2023 Computer Search (Other)                                                       5.22
11/24/2023 Westlaw                                                                     28.30
11/28/2023 Lexis/On Line Search                                                       211.51
11/28/2023 Computer Search (Other)                                                       0.63
11/29/2023 Lexis/On Line Search                                                       105.75
11/29/2023 Westlaw                                                                    113.14
11/29/2023 Computer Search (Other)                                                       1.26
11/30/2023 UnitedLex Invoices - Unitedlex Corp, Invoice#                            87,024.75
           092456 Dated 11/30/23, UnitedLex – DSAI
           November 2023 Charges – Outside Professional
           Services
11/30/2023 Westlaw                                                                    141.42
11/30/2023 Computer Search (Other)                                                       0.18
12/05/2023 Taxi/Ground Transportation - Isaac Sasson;                                 212.00
           11/08/2023; train fare expense for travel to New
           York, NY from Philadelphia after client hearing
12/05/2023 Taxi/Ground Transportation - Ken Pasquale;                                 212.00
           11/08/2023; train fare expense for travel from
           Philadelphia to NY after oral argument in Third
           Circuit Court of Appeals
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12/05/2023 Taxi/Ground Transportation - Ken Pasquale;                                  31.23
           11/08/2023; From/To: courthouse/train station;
           Service Type: Uber; taxi expense for car ride from
           courthouse to Philadelphia Amtrak train station
           with I. Sasson
12/05/2023 Taxi/Ground Transportation - Ken Pasquale;                                 403.48
           11/08/2023; From/To: office/courthouse ; Service
           Type: Uber; taxi expense for car ride with I. Sasson
           from NYC to Philadelphia courthouse
12/05/2023 Taxi/Ground Transportation - Isaac Sasson;                                  67.86
           11/08/2023; From/To: meeting/home; Service
           Type: Lyft; taxi expense from meeting to home
Total Costs incurred and advanced                                                 $90,464.25

            Current Fees and Costs                                            $2,272,534.25
            Total Balance Due - Due Upon Receipt                              $2,272,534.25
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                               EXHIBIT B



                 Expense Summary for the Fee Period

                      Category                          Amount

  Computer Search                                         $1,956.43

  Taxi/Ground Transportation                              $1,358.57

  In-house Color Reproduction Charges (209 copies
                                                            $104.50
  at $0.50 per page)

  Meals                                                      $20.00

  Outside Professional Services                          $87,024.75

  TOTAL:                                                 $90,464.25
